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                 UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA and
STATE OF WEST VIRGINIA,

                  Plaintiffs,
                                         Civil Action No. 5:23-CV-59
                                                          ______
            v.

HONEYWELL INTERNATIONAL INC. &
OLIN CORPORATION,

                  Defendants.



                                CONSENT DECREE
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        WHEREAS, the United States of America (“United States”), on behalf of the
Administrator of the United States Environmental Protection Agency (“EPA”), filed a complaint
in this matter under sections 106 and 107 of the Comprehensive Environmental Response,
Compensation, and Liability Act (“CERCLA”).

        WHEREAS, the United States in its complaint seeks, inter alia: (1) reimbursement of
costs incurred by EPA and the Department of Justice (“DOJ”) for response actions at the Hanlin-
Allied-Olin Superfund Site in Moundsville, West Virginia (“Site”), together with accrued
interest; and (2) performance by the defendants of a response action at the Site consistent with
the National Contingency Plan, 40 C.F.R. part 300 (“NCP”).

        WHEREAS, in accordance with the NCP and section 121(f)(1)(F) of CERCLA, EPA
notified the State of West Virginia (“State”) on July 21, 2021, of negotiations with potentially
responsible parties (“PRPs”) regarding the implementation of the remedial design and remedial
action (“RD/RA”) for the Site, and EPA has provided the State with an opportunity to participate
in such negotiations and to be a party to this Consent Decree (“Decree”).

        WHEREAS, the State has also filed a complaint against the defendants in this Court
alleging that the defendants are liable to the State under section 107 of CERCLA; the West
Virginia Hazardous Waste Management Act, W. Va. Code § 22-18-1 et seq.; the West Virginia
Hazardous Waste Emergency Response Fund Act, W. Va. Code § 22-19-1 et seq.; and all
relevant rules promulgated according to these Acts.

        WHEREAS, in accordance with section 122(j)(1) of CERCLA, EPA notified the United
States Department of the Interior and the Natural Resources Section of the National Oceanic and
Atmospheric Administration on July 21, 2021, of negotiations with PRPs regarding the release of
hazardous substances that may have resulted in injury to the natural resources under federal
trusteeship and encouraged the trustee(s) to participate in the negotiation of this Decree.

        WHEREAS, the defendants that have entered into this Decree (“Settling Defendants”) do
not admit any liability to Plaintiffs arising out of the transactions or occurrences alleged in the
complaints, nor do they acknowledge that the release or threatened release of hazardous
substance(s) at or from the Site constitutes an imminent and substantial endangerment to the
public health or welfare or the environment.

       WHEREAS, in accordance with section 105 of CERCLA, EPA listed the Site on the
National Priorities List (“NPL”), set forth at 40 C.F.R. part 300, Appendix B, by publication in
the Federal Register on July 22, 1999, 55 Fed. Reg. 39878.

        WHEREAS, in response to a release or a substantial threat of a release of hazardous
substances at or from the Site, Settling Defendants completed a Remedial Investigation for the
Site on July 6, 2018, and a Feasibility Study for the Site on March 5, 2020, in accordance with
40 C.F.R. § 300.430.

       WHEREAS, in accordance with section 117 of CERCLA and 40 C.F.R § 300.430(f),
EPA published notice of the completion of the Feasibility Study and of the proposed plan for
remedial action on July 10, 2020, in a major local newspaper of general circulation. EPA


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provided an opportunity for written and oral comments from the public on the proposed plan for
remedial action. A copy of the transcript of the public meeting and comments received are
available to the public as part of the administrative record upon which the Division Director for
the Superfund and Emergency Management Division, EPA Region 3, based the selection of the
response action.

        WHEREAS, EPA selected a remedial action to be implemented at the Site, which is
embodied in a final Record of Decision (“Record of Decision”), executed on June 23, 2021, on
which the State has given its concurrence. The Record of Decision includes a summary of
responses to the public comments. Notice of the final plan was published in accordance with
section 117(b) of CERCLA.

       WHEREAS, based on the information currently available, EPA and the State have
determined that the Work will be properly and promptly conducted by Settling Defendants if
conducted in accordance with this Decree.

        WHEREAS, the Parties recognize, and the Court by entering this Decree finds, that this
Decree has been negotiated by the Parties in good faith, that implementation of this Decree will
expedite the cleanup of the Site and will avoid prolonged and complicated litigation between the
Parties, and that this Decree is fair, reasonable, in the public interest, and consistent with
CERCLA.

       NOW, THEREFORE, it is hereby ORDERED and DECREED as follows:

                           I.      JURISDICTION AND VENUE
        1.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.
§§ 1331, 1367, and 1345, and sections 106, 107 and 113(b) of CERCLA, and personal
jurisdiction over the Parties. Venue lies in this District under section 113(b) of CERCLA and
28 U.S.C. §§ 1391(b), and 1395(a), because the Site is located in this judicial district. This Court
retains jurisdiction over the subject matter of this action and over the Parties for the purpose of
resolving disputes arising under this Decree, entering orders modifying this Decree, or
effectuating or enforcing compliance with this Decree. Settling Defendants may not challenge
the terms of this Decree or this Court’s jurisdiction to enter and enforce this Decree.

                                   II.    PARTIES BOUND

        2.      This Decree is binding upon the United States and the State and upon Settling
Defendants and their successors. Unless the United States and the State otherwise consent,
(a) any change in ownership or corporate or other legal status of any Settling Defendant,
including any transfer of assets, or (b) any Transfer of the Site or any portion thereof, does not
alter any of Settling Defendants’ obligations under this Decree. Settling Defendants’
responsibilities under this Decree cannot be assigned except under a modification executed in
accordance with ¶ 74.

       3.       In any action to enforce this Decree, Settling Defendants may not raise as a
defense the failure of any of their officers, directors, employees, agents, contractors,



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subcontractors, or any person representing Settling Defendants to take any action necessary to
comply with this Decree. Settling Defendants shall provide notice of this Decree to each person
representing Settling Defendants with respect to the Site or the Work. Settling Defendants shall
provide notice of this Decree to each contractor performing any Work and shall ensure that
notice of the Decree is provided to each subcontractor performing any Work.

                                     III.   DEFINITIONS

       4.       Subject to the next sentence, terms used in this Decree that are defined in
CERCLA or the regulations promulgated under CERCLA have the meanings assigned to them in
CERCLA and the regulations promulgated under CERCLA. Whenever the terms set forth below
are used in this Decree, the following definitions apply:

        “CERCLA” means the Comprehensive Environmental Response, Compensation, and
Liability Act, 42 U.S.C. §§ 9601-9675.

         “Consent Decree” or “Decree” means this consent decree, all appendixes attached hereto
(listed in Section XIX), and all deliverables incorporated into the Decree under ¶ 7.6 of the
SOW. If there is a conflict between a provision in Sections I through XXIV and a provision in
any appendix or deliverable, the provision in Sections I through XXIV controls.

        “Day” or “day” means a calendar day. In computing any period under this Decree, the
day of the event that triggers the period is not counted and, where the last day is not a working
day, the period runs until the close of business of the next working day. “Working day” means
any day other than a Saturday, Sunday, or federal or State holiday.

       “DOJ” means the United States Department of Justice.

       “Effective Date” means the date upon which the Court’s approval of this Decree is
recorded on its docket.

       “EPA” means the United States Environmental Protection Agency.

        “Fund” means the Hazardous Substance Superfund established under section 9507 of the
Internal Revenue Code, 26 I.R.C. § 9507.

         “Future Response Costs” means all costs (including direct, indirect, payroll, contractor,
travel, and laboratory costs) that the United States: (a) pays between August 31, 2021 and the
Effective Date; and (b) pays after the Effective Date in implementing, overseeing, or enforcing
this Decree, including: (i) in developing, reviewing and approving deliverables generated under
this Decree; (ii) in overseeing Settling Defendants’ performance of the Work; (iii) in assisting or
taking action to obtain access or use restrictions under ¶ 12.a; (iv) in securing, implementing,
monitoring, maintaining, or enforcing Institutional Controls, including any compensation paid;
(v) in taking action under ¶ 22 (Access to Financial Assurance); (vi) in taking response action
described in ¶ 58 because of Settling Defendants’ failure to take emergency action under ¶ 5.5 of
the SOW; (vii) in implementing a Work Takeover under ¶ 9; (viii) in implementing community
involvement activities including the cost of any technical assistance grant provided under
section 117(e) of CERCLA; (ix) in enforcing this Decree, including all costs paid under


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Section XII (Dispute Resolution) and all litigation costs; and (x) in conducting periodic reviews
in accordance with section 121(c) of CERCLA. Future Response Costs also includes all Interest
accrued after February 1, 2022, on EPA’s unreimbursed costs (including Past Response Costs)
under section 107(a) of CERCLA.

        “Including” or “including” means “including but not limited to.”

         “Institutional Controls” means Proprietary Controls (i.e., easements or covenants running
with the land that (i) limit land, water, or other resource use, provide access rights, or both and
(ii) are created under common law or statutory law by an instrument that is recorded, or for
which notice is recorded, in the appropriate land records office) and state or local laws,
regulations, ordinances, zoning restrictions, or other governmental controls or notices that:
(a) limit land, water, or other resource use to minimize the potential for human exposure to
Waste Material at or in connection with the Site; (b) limit land, water, or other resource use to
implement, ensure noninterference with, or ensure the protectiveness of the Remedial Action;
(c) provide information intended to modify or guide human behavior at or in connection with the
Site; or (d) any combination thereof.

        “Interest” means interest at the rate specified for interest on investments of the Fund, as
provided under section 107(a) of CERCLA, compounded annually on October 1 of each year.
The applicable rate of interest will be the rate in effect at the time the interest accrues. The rate of
interest is subject to change on October 1 of each year. As of the date of lodging of this Decree,
rates are available online at https://www.epa.gov/superfund/superfund-interest-rates.

       “National Contingency Plan” or “NCP” means the National Oil and Hazardous
Substances Pollution Contingency Plan promulgated under section 105 of CERCLA, codified at
40 C.F.R. part 300, and any amendments thereto.

       “Operable Unit 1” shall mean the Interim Remedial Action for the south plant alluvial
groundwater, and the final remedy for the shallow soils, former mercury cell building area, and
Hanlin area sewers.

        “Owner Settling Defendants” means the following Settling Defendants who own or
control all or a portion of the Site: Honeywell International Inc. and Olin Corporation.

       “Paragraph” or “¶” means a portion of this Decree identified by an Arabic numeral or an
upper- or lower-case letter.

        “Parties” means the United States, the State, and Settling Defendants.

         “Past Response Costs” means all costs (including direct, indirect, payroll, contractor,
travel, and laboratory costs) that the United States paid in connection with the Site through
August 31, 2021, plus all interest on such costs accrued under section 107(a) of CERCLA
through such date.

       “Performance Standards” means the cleanup levels and other measures of achievement of
the remedial action objectives, as set forth in the Record of Decision.



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       “Plaintiffs” means the United States and the State.

       “RCRA” means the Solid Waste Disposal Act, 42 U.S.C. §§ 6901-6992k (also known as
the Resource Conservation and Recovery Act).

        “Record of Decision” means the EPA decision document that memorializes the selection
of the remedial action relating to Operable Unit 1 at the Site signed on June 24, 2021, by the
Regional Administrator, EPA Region 3, and all attachments thereto. The Record of Decision is
attached as Appendix A.

       “Remedial Action” means the remedial action selected in the Record of Decision.

       “Remedial Design” means those activities to be undertaken by Settling Defendants to
develop plans and specifications for implementing the Remedial Action as set forth in the SOW.

       “Scope of the Remedy” means the scope of the remedy set forth in ¶ 1.3 of the SOW.

       “Section” means a portion of this Decree identified by a Roman numeral.

       “Settling Defendants” means the settling defendants identified in Appendix D. As used in
this Decree, this definition means all settling defendants, collectively, and each settling
defendant, individually.

        “Site” means the Hanlin-Allied-Olin Superfund Site, comprising approximately 221
acres, located at State Route 2 in Moundsville, Marshall County, West Virginia, and depicted
generally on the map attached as Appendix C.

      “Special Account” means the special account, within the Fund, established for the Site by
EPA under section 122(b)(3) of CERCLA.

       “State” means the State of West Virginia.

         “State Future Response Costs” means “response costs” as used in section 107(a) of
CERCLA that are incurred by the State pursuant to this Consent Decree associated with the Site
as it relates to Operable Unit 1 after the Effective Date.

        “Statement of Work” or “SOW” means the document attached as Appendix B, which
describes the activities Settling Defendants must perform to implement and maintain the
effectiveness of the Remedial Action.

       “Transfer” means to sell, assign, convey, lease, mortgage, or grant a security interest in,
or where used as a noun, a sale, assignment, conveyance, or other disposition of any interest by
operation of law or otherwise.

       “United States” means the United States of America and each department, agency, and
instrumentality of the United States, including EPA.




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        “Waste Material” means (a) any “hazardous substance” under section 101(14) of
CERCLA; (b) any pollutant or contaminant under section 101(33) of CERCLA; (c) any “solid
waste” under section 1004(27) of RCRA; and (d) any “hazardous waste” under section 22-18-
3(6) of the West Virginia Hazardous Waste Management Act, W. Va. Code § 22-18-1 et seq.

      “Work” means all obligations of Settling Defendants under Sections V (Performance of
the Work) through VIII (Indemnification and Insurance).

       “Work Takeover” means EPA’s assumption of the performance of any of the Work in
accordance with ¶ 11.

                                     IV.     OBJECTIVES
        5.     The objectives of the Parties in entering into this Decree are to protect public
health, welfare, and the environment through the design, implementation, and maintenance of a
response action at the Site by Settling Defendants, to pay response costs of Plaintiffs, and to
resolve and settle the claims of Plaintiffs against Settling Defendants as provided in this Decree.

                        V.      PERFORMANCE OF THE WORK

       6.      Settling Defendants shall finance, develop, implement, operate, maintain, and
monitor the effectiveness of the Remedial Action all in accordance with the SOW, any modified
SOW and all EPA-approved, conditionally approved, or modified deliverables as required by the
SOW or modified SOW.

       7.      Nothing in this Decree and no EPA approval of any deliverable required under
this Decree constitutes a warranty or representation by EPA or the State that completion of the
Work will achieve the Performance Standards.

        8.     Settling Defendants’ obligations to finance and perform the Work and to pay
amounts due under this Decree are joint and several. In the event of the insolvency of any
Settling Defendant or the failure by any Settling Defendant to participate in the implementation
of the Decree, the remaining Settling Defendants shall complete the Work and make the
payments.

       9.      Modifications to the Remedial Action and Further Response Actions

               a.       Nothing in this Decree limits EPA’s authority to modify the Remedial
Action or to select further response actions for the Site in accordance with the requirements of
CERCLA and the NCP. Nothing in this Decree limits Settling Defendants’ rights, under
sections 113(k)(2) or 117 of CERCLA, to comment on any modified or further response actions
proposed by EPA.

              b.      If EPA modifies the Remedial Action in order to achieve or maintain the
Performance Standards, or both, or to carry out and maintain the effectiveness of the Remedial
Action, and such modification is consistent with the Scope of the Remedy, then Settling
Defendants shall implement the modification as provided in ¶ 9.c.



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                c.      Upon receipt of notice from EPA that it has modified the Remedial Action
as provided in ¶ 9.b and requesting that Settling Defendants implement the modified Remedial
Action, Settling Defendants shall implement the modification, subject to their right to initiate
dispute resolution under Section XII within 30 days after receipt of EPA’s notice. Settling
Defendants shall modify the SOW, or related work plans, or both in accordance with the
Remedial Action modification or, if Settling Defendants invoke dispute resolution, in accordance
with the final resolution of the dispute. The Remedial Action modification, the approved
modified SOW, and any related work plans will be deemed to be incorporated into and
enforceable under this Decree.

        10.   Compliance with Applicable Law. Nothing in this Decree affects Settling
Defendants’ obligations to comply with all applicable federal and state laws and regulations.
Settling Defendants must also comply with all applicable or relevant and appropriate
requirements of all federal and state environmental laws as set forth in the Record of Decision
and the SOW. The activities conducted in accordance with this Decree, if approved by EPA, will
be deemed to be consistent with the NCP as provided under section 300.700(c)(3)(ii).

       11.     Work Takeover

                a.     If EPA determines that Settling Defendants (i) have ceased to perform any
of the Work required under this Section; (ii) are seriously or repeatedly deficient or late in
performing the Work required under this Section; or (iii) are performing the Work required under
this Section in a manner that may cause an endangerment to human health or the environment,
EPA may issue a notice of Work Takeover to Settling Defendants, including a description of the
grounds for the notice and a period of time (“Remedy Period”) within which Settling Defendants
must remedy the circumstances giving rise to the notice. The Remedy Period will be 20 days,
unless EPA determines in its unreviewable discretion that there may be an endangerment, in
which case the Remedy Period will be 10 days.

                b.    If, by the end of the Remedy Period, Settling Defendants do not remedy to
EPA’s satisfaction the circumstances giving rise to the notice of Work Takeover, EPA may
notify Settling Defendants and, as it deems necessary, commence a Work Takeover.

                c.     EPA may conduct the Work Takeover during the pendency of any dispute
under Section XII but shall terminate the Work Takeover if and when: (i) Settling Defendants
remedy, to EPA’s satisfaction, the circumstances giving rise to the notice of Work Takeover; or
(ii) upon the issuance of a final determination under Section XII (Dispute Resolution) that EPA
is required to terminate the Work Takeover.

                          VI.    PROPERTY REQUIREMENTS
       12.     Agreements Regarding Access and Noninterference

                a.       As used in this Section, “Affected Property” means any real property,
including the Site, where EPA determines, at any time, that access; land, water, or other resource
use restrictions; Institutional Controls; or any combination thereof, are needed to implement the
Remedial Action.



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                b.     Settling Defendants shall use best efforts to secure from the owner(s),
other than an Owner Settling Defendant, of all Affected Property, an agreement, enforceable by
Settling Defendants and by Plaintiffs, requiring such owner to provide Plaintiffs and Settling
Defendants, and their respective representatives, contractors, and subcontractors with access at
all reasonable times to such owner’s property to conduct any activity regarding the Decree,
including the following:

               (1)     implementing the Work and overseeing compliance with the Decree;

               (2)     conducting investigations of contamination at or near the Site;

               (3)     assessing the need for, planning, or implementing additional response
                       actions at or near the Site;

               (4)     determining whether the Site is being used in a manner that is prohibited
                       or restricted, or that may need to be prohibited or restricted under the
                       Decree; and

               (5)     implementing, monitoring, maintaining, reporting on, and enforcing any
                       land, water, or other resource use restrictions and Institutional Controls.

                c.      Further, each agreement required under ¶ 12.b must commit the owner to
refrain from using its property in any manner that EPA, after consultation with the State,
determines will pose an unacceptable risk to human health or to the environment as a result of
exposure to Waste Material, or will interfere with or adversely affect the implementation,
integrity, or protectiveness of the Remedial Action including the following:

               (1)     Prohibit the residential use of the Site;

               (2)     Ensure that any new structure constructed at the Site include engineering
                       controls (e.g. vapor barriers) in the design, or demonstrate that the vapor
                       intrusion pathway is not complete;

               (3)     Prohibit any actions inconsistent with an established soil management plan
                       approved by EPA, in consultation with WVDEP;

               (4)     Prohibit disturbance of any remedial component, such as the GWTP
                       building, monitoring and extractions wells, and the concrete cap at the
                       former mercury cell building; and

               (5)     Prohibit potable use of Site-wide alluvial groundwater.

               d.      As used in this Section, “best efforts” means the efforts that a reasonable
person in the position of Settling Defendants would use to achieve the goal in a timely manner,
including the cost of employing professional assistance and the payment of reasonable sums of
money to secure access and/or use restriction agreements.




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                e.      Settling Defendants shall provide to EPA and the State a copy of each
agreement required under ¶ 12.b. If Settling Defendants cannot accomplish what is required
through best efforts in a timely manner, they shall notify EPA, and include a description of the
steps taken to achieve the requirements. If the United States deems it appropriate, it may assist
Settling Defendants, or take independent action, to obtain such access or use restrictions.

        13.     Access and Noninterference by Owner Settling Defendant. The Owner Settling
Defendant shall: (a) provide Plaintiffs and the Settling Defendants, and their representatives,
contractors, and subcontractors with access at all reasonable times to the Site to conduct any
activity regarding the Decree, including those listed in ¶ 12.b; and (b) refrain from using the Site
in any manner that EPA, after consultation with the State, determines will pose an unacceptable
risk to human health or to the environment because of exposure to Waste Material, or will
interfere with or adversely affect the implementation, integrity, or protectiveness of the Remedial
Action, including the restrictions listed in ¶ 12.c.

         14.     If EPA determines in a decision document prepared in accordance with the NCP
that Institutional Controls in the form of state or local laws, regulations, ordinances, zoning
restrictions, or other governmental controls or notices are appropriate, Settling Defendants shall
cooperate with EPA’s and the State’s efforts to secure and ensure compliance with such
Institutional Controls.

        15.     Notice to Successors-in-Title

               a.       Owner Settling Defendant shall, within 60 days after the Effective Date,
submit for EPA approval a notice to be recorded regarding its property at the Site in the
appropriate land records. The notice must: (1) include a proper legal description of the property;
(2) provide notice to all successors-in-title: (i) that the property is part of, or affected by, the Site;
(ii) that EPA has selected a remedy for the Site; and (iii) that potentially responsible parties have
entered into a Decree requiring implementation of such remedy; and (3) identify the U.S. District
Court in which the Decree was filed, the name and civil action number of this case, and the
Effective Date of the Decree. Owner Settling Defendant shall record the notice within 10 days
after EPA’s approval of the notice and submit to EPA, within 10 days thereafter, a certified copy
of the recorded notice.

               b.      Owner Settling Defendant shall, prior to entering into a contract to
Transfer any of its property that is part of the Site, or 60 days prior to a Transfer of such
property, whichever is earlier:

                (1)     notify the proposed transferee that EPA has selected a remedy regarding
                        the Site, that potentially responsible parties have entered into a Consent
                        Decree requiring implementation of such remedy, and that the United
                        States District Court has entered the Decree (identifying the name and
                        civil action number of this case and the date the Court entered the Decree);
                        and




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                (2)     notify EPA and the State of the name and address of the proposed
                        transferee and provide EPA and the State with a copy of the notice that it
                        provided to the proposed transferee.

        16.     Notwithstanding any provision of the Decree, EPA and the State retain all of their
access authorities and rights, as well as all of their rights to require land, water, or other resource
use restrictions and Institutional Controls, including related enforcement authorities, under
CERCLA, RCRA, and any other applicable statute or regulations.

                              VII.    FINANCIAL ASSURANCE
        17.     To ensure completion of the Work required under Section V, Settling Defendants
shall secure financial assurance, initially in the amount of $7,536,000 (“Estimated Cost of the
Work”), for the benefit of EPA. The financial assurance must: (i) be one or more of the
mechanisms listed below, in a form substantially identical to the relevant sample documents
available from EPA; and (ii) be satisfactory to EPA. As of the date of lodging of this Decree, the
sample documents can be found under the “Financial Assurance - Settlements” category on the
Cleanup Enforcement Model Language and Sample Documents Database at
https://cfpub.epa.gov/compliance/models/. Settling Defendants may use multiple mechanisms if
they are limited to surety bonds guaranteeing payment, letters of credit, trust funds, insurance
policies, or some combination thereof. The following are acceptable mechanisms:

                a.      a surety bond guaranteeing payment, performance of the Work, or both,
that is issued by a surety company among those listed as acceptable sureties on federal bonds as
set forth in Circular 570 of the U.S. Department of the Treasury;

                b.      an irrevocable letter of credit, payable to EPA or at the direction of EPA,
that is issued by an entity that has the authority to issue letters of credit and whose letter-of-credit
operations are regulated and examined by a federal or state agency;

                c.      a trust fund established for the benefit of EPA that is administered by a
trustee that has the authority to act as a trustee and whose trust operations are regulated and
examined by a federal or state agency;

                d.       a demonstration by one or more Settling Defendants that they meet the
relevant test criteria of ¶ 18, accompanied by a standby funding commitment that requires the
affected Settling Defendants to pay funds to or at the direction of EPA, up to the amount
financially assured through the use of this demonstration in the event of a Work Takeover; or

               e.      a guarantee to fund or perform the Work executed in favor of EPA by a
company: (1) that is a direct or indirect parent company of a Settling Defendant or has a
“substantial business relationship” (as defined in 40 C.F.R. § 264.141(h)) with a Settling
Defendant; and (2) demonstrates to EPA’s satisfaction that it meets the financial test criteria of
¶ 18.

      18.     Settling Defendants seeking to provide financial assurance by means of a
demonstration or guarantee under ¶ 17.d or 17.e must, within 30 days after the Effective Date:



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               a.     demonstrate that:

               (1)    the affected Settling Defendant or guarantor has:

                      i.      two of the following three ratios: a ratio of total liabilities to net
                              worth less than 2.0; a ratio of the sum of net income plus
                              depreciation, depletion, and amortization to total liabilities greater
                              than 0.1; and a ratio of current assets to current liabilities greater
                              than 1.5; and

                      ii.     net working capital and tangible net worth each at least six times
                              the sum of the Estimated Cost of the Work and the amounts, if any,
                              of other federal, state, or tribal environmental obligations
                              financially assured through the use of a financial test or guarantee;
                              and

                      iii.    tangible net worth of at least $10 million; and

                      iv.     assets located in the United States amounting to at least 90 percent
                              of total assets or at least six times the sum of the Estimated Cost of
                              the Work and the amounts, if any, of other federal, state, or tribal
                              environmental obligations financially assured through the use of a
                              financial test or guarantee; or

               (2)    the affected Settling Defendant or guarantor has:

                      i.      a current rating for its senior unsecured debt of AAA, AA, A, or
                              BBB as issued by Standard and Poor’s or Aaa, Aa, A or Baa as
                              issued by Moody’s; and

                      ii.     tangible net worth at least six times the sum of the Estimated Cost
                              of the Work and the amounts, if any, of other federal, state, or
                              tribal environmental obligations financially assured through the
                              use of a financial test or guarantee; and

                      iii.    tangible net worth of at least $10 million; and

                      iv.     assets located in the United States amounting to at least 90 percent
                              of total assets or at least six times the sum of the Estimated Cost of
                              the Work and the amounts, if any, of other federal, state, or tribal
                              environmental obligations financially assured through the use of a
                              financial test or guarantee; and

                 b.     submit to EPA for the affected Settling Defendant or guarantor: (1) a copy
of an independent certified public accountant’s report of the entity’s financial statements for the
latest completed fiscal year, which must not express an adverse opinion or disclaimer of opinion;
and (2) a letter from its chief financial officer and a report from an independent certified public
accountant substantially identical to the sample letter and reports available from EPA. As of the


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date of lodging of this Decree, a sample letter and report is available under the “Financial
Assurance - Settlements” subject list category on the Cleanup Enforcement Model Language and
Sample Documents Database at https://cfpub.epa.gov/compliance/models/.

       19.    Settling Defendants providing financial assurance by means of a demonstration or
guarantee under ¶ 17.d or 17.e must also:

                a.      annually resubmit the documents described in ¶ 18.b within 90 days after
the close of the affected Settling Defendant’s or guarantor’s fiscal year;

               b.      notify EPA within 30 days after the affected Settling Defendant or
guarantor determines that it no longer satisfies the relevant financial test criteria and
requirements set forth in this Section; and

               c.      provide to EPA, within 30 days of EPA’s request, reports of the financial
condition of the affected Settling Defendant or guarantor in addition to those specified in ¶ 18.b;
EPA may make such a request at any time based on a belief that the affected Settling Defendant
or guarantor may no longer meet the financial test requirements of this Section.

       20.      Settling Defendants shall, within 30 days after the Effective Date, seek EPA’s
approval of the form of Settling Defendants’ financial assurance. Within 30 days after such
approval, Settling Defendants shall secure all executed or otherwise finalized mechanisms or
other documents consistent with the EPA-approved form of financial assurance and shall submit
such mechanisms and documents to the Regional Financial Management Officer, to DOJ, and to
EPA and the State in accordance with ¶ 72.

        21.     Settling Defendants shall diligently monitor the adequacy of the financial
assurance. If any Settling Defendant becomes aware of any information indicating that the
financial assurance provided under this Section is inadequate or otherwise no longer satisfies the
requirements of this Section, such Settling Defendant shall notify EPA of such information
within seven days. If EPA determines that the financial assurance provided under this Section is
inadequate or otherwise no longer satisfies the requirements of this Section, EPA will notify the
affected Settling Defendant of such determination. Settling Defendants shall, within 30 days after
notifying EPA or receiving notice from EPA under this Paragraph, secure and submit to EPA for
approval a proposal for a revised or alternative financial assurance mechanism that satisfies the
requirements of this Section. EPA may extend this deadline for such time as is reasonably
necessary for the affected Settling Defendant, in the exercise of due diligence, to secure and
submit to EPA a proposal for a revised or alternative financial assurance mechanism, not to
exceed 60 days. Settling Defendants shall follow the procedures of ¶ 23 in seeking approval of,
and submitting documentation for, the revised or alternative financial assurance mechanism.
Settling Defendants’ inability to secure financial assurance in accordance with this Section does
not excuse performance of any other requirement of this Decree.

       22.     Access to Financial Assurance

              a.     If EPA issues a notice of a Work Takeover under ¶ 11.b, then, in
accordance with any applicable financial assurance mechanism including the related standby



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funding commitment, EPA may require that any funds guaranteed be paid in accordance with
¶ 22.d.

                b.      If EPA is notified that the issuer of a financial assurance mechanism
intends to cancel the mechanism, and the affected Settling Defendant fails to provide an
alternative financial assurance mechanism in accordance with this Section at least 30 days prior
to the cancellation date, the funds guaranteed under such mechanism must be paid prior to
cancellation in accordance with ¶ 22.d.

               c.      If, upon issuance of a notice of a Work Takeover under ¶ 11.b, either:
(1) EPA is unable for any reason to promptly secure the resources guaranteed under any
applicable financial assurance mechanism including the related standby funding commitment,
whether in cash or in kind, to continue and complete the Work; or (2) the financial assurance is a
demonstration or guarantee under ¶ 17.d or 17.e, then EPA is entitled to demand an amount, as
determined by EPA, sufficient to cover the cost of the remaining Work to be performed. Settling
Defendants shall, within 30 days after such demand, pay the amount demanded as directed by
EPA.

                 d.     Any amounts required to be paid under this ¶ 22 must be, as directed by
EPA: (i) paid to EPA in order to facilitate the completion of the Work by EPA or by another
person; or (ii) deposited into an interest-bearing account, established at a duly chartered bank or
trust company that is insured by the FDIC, in order to facilitate the completion of the Work by
another person. If payment is made to EPA, EPA may deposit the payment into the Fund or into
the Special Account to be retained and used to conduct or finance response actions at or in
connection with the Site, or to be transferred by EPA to the Fund.

        23.      Modification of Amount, Form, or Terms of Financial Assurance. Beginning
after the first anniversary of the Effective Date, and no more than once per calendar year,
Settling Defendants may submit a request to change the form, terms, or amount of the financial
assurance mechanism. Any such request must be submitted to EPA in accordance with ¶ 20, and
must include an estimate of the cost of the remaining Work, an explanation of the bases for the
cost calculation, and a description of the proposed changes, if any, to the form or terms of the
financial assurance. EPA will notify Settling Defendants of its decision regarding the request.
Settling Defendants may initiate dispute resolution under Section XII regarding EPA’s decision
within 30 days after receipt of the decision. Settling Defendants may modify the form, terms, or
amount of the financial assurance mechanism only: (a) in accordance with EPA’s approval; or
(b) in accordance with any resolution of a dispute under Section XII. Settling Defendants shall
submit to EPA, within 30 days after receipt of EPA’s approval or consistent with the terms of the
resolution of the dispute, documentation of the change to the form, terms, or amount of the
financial assurance instrument.

        24.     Release, Cancellation, or Discontinuation of Financial Assurance. Settling
Defendants may release, cancel, or discontinue any financial assurance provided under this
Section only: (a) if EPA issues a Certification of Work Completion under ¶ 5.10 of the SOW;
(b) in accordance with EPA’s approval of such release, cancellation, or discontinuation; or (c) if
there is a dispute regarding the release, cancellation or discontinuance of any financial assurance,



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in accordance with the agreement, final administrative decision, or final judicial decision
resolving such dispute under Section XII.

                    VIII. INDEMNIFICATION AND INSURANCE

       25.     Indemnification

                a.      Plaintiffs do not assume any liability by entering into this Decree or by
virtue of any designation of Settling Defendants as EPA’s and the State’s authorized
representatives under section 104(e)(1) of CERCLA. Settling Defendants shall indemnify and
save and hold harmless Plaintiffs and their officials, agents, employees, contractors,
subcontractors, and representatives for or from any claims or causes of action arising from, or on
account of, negligent or other wrongful acts or omissions of Settling Defendants, their officers,
directors, employees, agents, contractors, subcontractors, and any persons acting on Settling
Defendants’ behalf or under their control, in carrying out activities under this Decree, including
any claims arising from any designation of Settling Defendants as EPA’s and the State’s
authorized representatives under section 104(e)(1) of CERCLA. Further, Settling Defendants
agree to pay Plaintiffs all costs they incur including attorneys’ fees and other expenses of
litigation and settlement arising from, or on account of, claims made against Plaintiffs based on
negligent or other wrongful acts or omissions of Settling Defendants, their officers, directors,
employees, agents, contractors, subcontractors, and any persons acting on their behalf or under
their control in carrying out activities under with this Decree. Plaintiffs may not be held out as
parties to any contract entered into by or on behalf of Settling Defendants in carrying out
activities under this Decree. The Settling Defendants and any such contractor may not be
considered an agent of Plaintiffs.

               b.      Either Plaintiff shall give Settling Defendants notice of any claim for
which such Plaintiff plans to seek indemnification in accordance with this ¶ 25, and shall consult
with Settling Defendants prior to settling such claim.

        26.     Settling Defendants covenant not to sue and shall not assert any claim or cause of
action against Plaintiffs for damages or reimbursement or for set-off of any payments made or to
be made to Plaintiffs, arising from or on account of any contract, agreement, or arrangement
between any one or more of Settling Defendants and any person for performance of Work or
other activities on or relating to the Site, including claims on account of construction delays. In
addition, Settling Defendants shall indemnify and save and hold Plaintiffs harmless with respect
to any claims for damages or reimbursement arising from or on account of any contract,
agreement, or arrangement between any one or more of Settling Defendants and any person for
performance of work at or relating to the Site, including claims on account of construction
delays.

        27.     Insurance. Settling Defendants shall secure, by no later than 15 days before
commencing any on-site Work, the following insurance: (a) commercial general liability
insurance with limits of liability of $6 million per occurrence and automobile liability insurance
with limits of liability of $6 million per accident. The insurance policy must name Plaintiffs as
additional insureds with respect to all liability arising out of the activities performed by or on
behalf of Settling Defendants under this Decree. Settling Defendants shall maintain this


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insurance until the first anniversary after issuance of EPA’s Certification of Remedial Action
Completion under ¶ 5.8 of the SOW. In addition, for the duration of this Decree, Settling
Defendants shall satisfy, or shall ensure that their contractors or subcontractors satisfy, all
applicable laws and regulations regarding the provision of worker’s compensation insurance for
all persons performing the Work on behalf of Settling Defendants in furtherance of this Decree.
Prior to commencement of the Work, Settling Defendants shall provide to EPA certificates of
such insurance. Settling Defendants shall resubmit such certificates each year on the anniversary
of the Effective Date. Each submittal of a certificate shall be accompanied by an attestation
signed by the Vice President, Risk Management (or agent with authority to attest on behalf of the
Settling Defendants) containing the following statement:

       To the best of my knowledge, after reasonable investigation and review of SD’s
       insurance policies and coverage, I certify that SD has insurance coverage that provides
       (a) commercial general liability insurance with limits of liability of at least $6 million per
       occurrence and (b) automobile liability insurance with limits of liability of at least
       $6 million per accident and that such coverage limits shall not be reduced and/or withheld
       pursuant to any deductible, endorsement, or other provision set forth in the corresponding
       insurance policy and is not provided on a claims-made basis. Additionally, I certify that
       the United States is an additional insured under such insurance policies with respect to all
       liability arising out of the activities performed by or on behalf of Settling Defendants
       under this Decree. I am aware that there are significant penalties for submitting false
       information, including the possibility of fine and imprisonment for knowing violations.

If Settling Defendants demonstrate by evidence satisfactory to EPA that any contractor or
subcontractor maintains insurance equivalent to that described above, or insurance covering the
same risks but in a lesser amount, then, with respect to that contractor or subcontractor, Settling
Defendants need provide only that portion of the insurance described above that is not
maintained by the contractor or subcontractor. If Settling Defendants use a contractor or
subcontractor to satisfy the insurance requirements described above, Settling Defendants shall
provide to EPA certificates of such insurance and a copy of each insurance policy. Settling
Defendants shall resubmit such certificates and copies of policies each year on the anniversary of
the Effective Date.

If a claim against the United States arises out of the activities performed by or on behalf of
Settling Defendants under this Decree that potentially triggers the insurance coverage addressed
in this paragraph, the United States, as an additional insured, shall be provided with copies of the
insurance policies. Settling Defendants shall ensure that all submittals to EPA under this
Paragraph identify the Hanlin-Allied-Olin Superfund Site in Moundsville, West Virginia, and the
civil action number of this case.

                      IX.     PAYMENTS FOR RESPONSE COSTS
        28.    Payment for Past Response Costs. Within 30 days after the Effective Date,
Settling Defendants shall pay EPA, in reimbursement of Past Response Costs in connection with
the Site, $534,165.00. The Financial Litigation Unit (“FLU”) of the United States Attorney’s
Office for the Northern District of West Virginia shall provide to Settling Defendants, in
accordance with ¶ 72, instructions for making this payment, including a Consolidated Debt


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Collection System (“CDCS”) reference number. Settling Defendants shall make such payment at
https://www.pay.gov in accordance with the FLU’s instructions, including references to the
CDCS Number. Settling Defendants shall send notices of this payment to DOJ and EPA in
accordance with ¶ 72. If the payment required under this Paragraph is late, Settling Defendants
shall pay, in addition to any stipulated penalties owed under Section XIII, an additional amount
for Interest accrued from the Effective Date until the date of payment.

       29.     Payments by Settling Defendants for Future Response Costs

                 a.     Periodic Bills. On a periodic basis, EPA will send Settling Defendants a
bill for Future Response Costs, including a “SCORPIOS Report” or other standard cost summary
listing direct and indirect costs paid by EPA, its contractors, subcontractors, and DOJ. Settling
Defendants may initiate a dispute under Section XII regarding a Future Response Cost billing,
but only if the dispute relates to one or more of the following issues: (i) whether EPA has made
an arithmetical error; (ii) whether EPA has included a cost item that is not within the definition
of Future Response Costs; or (iii) whether EPA has paid excess costs as a direct result of an EPA
action that was inconsistent with a specific provision or provisions of the NCP. Settling
Defendants must specify in the Notice of Dispute the contested costs and the basis for the
objection.

                 b.     Payment of Bill. Settling Defendants shall pay the bill, or if they initiate
dispute resolution, the uncontested portion of the bill, if any, within 60 days after receipt of the
bill. Settling Defendants shall pay the contested portion of the bill determined to be owed, if any,
within 60 days after the determination regarding the dispute. Each payment for: (i) the
uncontested bill or portion of bill, if late, and; (ii) the contested portion of the bill determined to
be owed, if any, must include an additional amount for Interest accrued from the date of receipt
of the bill through the date of payment. Settling Defendants shall make payment at
https://www.pay.gov using the “EPA Miscellaneous Payments Cincinnati Finance Center” link,
and including references to the Site/Spill ID and DJ numbers listed in ¶ 72 and the purpose of the
payment. Settling Defendants shall send notices of this payment to DOJ and EPA in accordance
with ¶ 72.

                c.     Periodic Payments to State. The State will send Settling Defendants a
bill requiring payment of State Future Response Costs that includes a cost invoice on a periodic
basis. Settling Defendants shall make all payments within sixty (60) days after Settling
Defendant’s receipt of each bill requiring payment, unless such cost invoice is disputed by
Settling Defendants, in which case such dispute is subject to the same dispute resolution
procedure as set forth in ¶ 29(a). Settling Defendants shall make all payments to the State
required by this Paragraph by wire transfer, Automated Clearing House, or official bank check(s)
made payable to the West Virginia Department of Environmental Protection. If Settling
Defendants choose to utilize either wire transfer or Automated Clearing House methods of
payment, Settling Defendant shall contact the State to obtain the necessary transfer information.
Settling Defendants shall send the bank check(s) to the following address:

                       West Virginia Department of Environmental Protection
                       Office of Environmental Remediation
                       Attn: Greg Null


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                        601 57th St. SE
                        Charleston, West Virginia 25304

        30.    Deposit of Payments. EPA may, in its unreviewable discretion, deposit the
amounts paid under ¶¶ 28 and 29.b, in the Fund, in the Special Account, or both. EPA may, in its
unreviewable discretion, retain and use any amounts deposited in the Special Account to conduct
or finance response actions at or in connection with the Site, or transfer those amounts to the
Fund.

              X.      DISBURSEMENT OF SPECIAL ACCOUNT FUNDS
        31.      Creation of the Disbursement Special Account and Agreement to Disburse
Funds to Settling Defendants. Within 30 days after the Effective Date, EPA will establish the
Hanlin-Allied-Olin Disbursement Special Account (“Disbursement Special Account”) and shall
transfer $1,700,000 from the Special Account to the Disbursement Special Account. Subject to
the terms and conditions set forth in this Section, EPA agrees to make the funds in the
Disbursement Special Account, including Interest Earned on the funds in the Disbursement
Special Account, available for disbursement to Settling Defendants as partial reimbursement for
performance of the Work. EPA shall disburse funds from the Disbursement Special Account to
Settling Defendants in accordance with the procedures and milestones for phased disbursement
set forth in this Section. For purposes of this Paragraph, “Interest Earned” means interest earned
on amounts in the Hanlin-Allied-Olin Disbursement Special Account, which will be computed
monthly at a rate based on the annual return on investments of the EPA Hazardous Substance
Superfund. The applicable rate of interest will be the rate in effect at the time the interest
accrues.

        32.     Timing and Amount of Disbursements. Within 120 days after EPA’s receipt of
a Cost Summary and Certification, as defined by ¶ 34.b, or if EPA has requested additional
information under ¶ 34.b or a revised Cost Summary and Certification under ¶ 34.d, within
120 days after receipt of the additional information or revised Cost Summary and Certification,
and subject to the conditions set forth in this Section, EPA shall disburse the funds from the
Disbursement Special Account at the completion of the following milestones, and in the amounts
set forth below:

           Milestone                                      Funds to be Disbursed
1. EPA approval of RD work plan                    Up to 30% of funds from the Disbursement Special
                                                   Account as supported by Cost Summary
2. EPA approval of the RA work plan                Up to 30% of funds from the Disbursement Special
                                                   Account as supported by Cost Summary
3. EPA certification of construction completion    40% of funds from the Disbursement Special
                                                   Account as supported by Cost Summary


        33.     EPA shall disburse the funds from the Disbursement Special Account to Settling
Defendants pursuant to instructions for electronic funds transfer, which the Settling Defendants
shall provide to EPA no later than the day the Settling Defendants submit their Cost Summary
and Certification to EPA.


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       34.     Requests for Disbursement of Special Account Funds

               a.     Within 120 days after issuance of EPA’s written confirmation that a
milestone of the Work, as defined in ¶ 32, has been satisfactorily completed, Settling Defendants
shall submit to EPA a Cost Summary and Certification, as defined in ¶ 34.b, covering the Work
performed up to the date of completion of that milestone. Settling Defendants shall not include in
any submission costs included in a previous Cost Summary and Certification following
completion of an earlier milestone of the Work if those costs have been previously sought or
reimbursed in accordance with ¶ 32.

                b.     Each Cost Summary and Certification must include a complete and
accurate written cost summary and certification of the necessary costs incurred and paid by
Settling Defendants for the Work covered by the particular submission, excluding costs not
eligible for disbursement under ¶ 35. Each Cost Summary and Certification must contain the
following statement signed by the Vice President, Global Remediation and Site Redevelopment
of a Settling Defendant, an Independent Certified Public Accountant, or other specified
independent person acceptable to EPA:

       To the best of my knowledge, after thorough investigation and review of Settling
       Defendants’ documentation of costs incurred and paid for Work performed in accordance
       with this Decree [insert, as appropriate: “up to the date of completion of milestone 1,”
       “between the date of completion of milestone 1 and the date of completion of
       milestone 2,” or “between the date of completion of milestone 2 and the date of
       completion of the milestone 3,”] I certify that the information contained in or
       accompanying this submission is true, accurate, and complete. I am aware that there are
       significant penalties for knowingly submitting false information, including the possibility
       of fine and imprisonment.

                c.     The Vice President, Global Remediation and Site Redevelopment of a
Settling Defendant, Independent Certified Public Accountant, or other specified independent
person acceptable to EPA shall also provide EPA a list of the documents that he or she reviewed
in support of the Cost Summary and Certification. Upon request by EPA, Settling Defendants
shall submit to EPA any additional information that EPA deems necessary for its review and
approval of a Cost Summary and Certification.

                d.       If EPA finds that a Cost Summary and Certification includes an
arithmetical error, costs excluded under ¶ 35, costs that are inadequately documented, or costs
submitted in a prior Cost Summary and Certification, EPA will notify Settling Defendants and
provide them an opportunity to cure the deficiency by submitting a revised Cost Summary and
Certification. If Settling Defendants fail to cure the deficiency within 30 days after being notified
of, and given the opportunity to cure, the deficiency, EPA will recalculate Settling Defendants’
costs eligible for disbursement for that submission and disburse the corrected amount to Settling
Defendants in accordance with the procedures in ¶ 32. Settling Defendants may dispute EPA’s
recalculation under this Paragraph in accordance with Section XII. In no event may Settling
Defendants be disbursed funds from the Disbursement Special Account in excess of amounts
properly documented in a Cost Summary and Certification accepted or modified by EPA.



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         35.    Costs Excluded from Disbursement. The following costs are excluded from,
and may not be sought by Settling Defendants for, disbursement from the Disbursement Special
Account: (a) response costs paid in accordance with Section IX; (b) any other payments made by
Settling Defendants to the United States in accordance with this Decree, including any Interest or
stipulated penalties paid in accordance with Sections IX or XIII; (c) attorneys’ fees and costs,
except for reasonable attorneys’ fees and costs necessarily related to obtaining access or
institutional controls as required by Section VI; (d) costs of any response activities Settling
Defendants perform that are not required under, or approved by EPA under, this Decree;
(e) costs related to Settling Defendants’ litigation, settlement, development of potential
contribution claims, or identification of defendants; (f) internal costs of Settling Defendants,
including salaries, travel, or in-kind services, except for those costs that represent the work of
employees of Settling Defendants directly performing the Work; (g) any costs incurred by
Settling Defendants before the Effective Date or (h) any costs incurred by Settling Defendants
under Section XII.

        36.     Termination of Disbursements. EPA’s obligation to disburse funds from the
Disbursement Special Account under this Decree terminates upon EPA’s determination that
Settling Defendants: (a) have knowingly submitted a materially false or misleading Cost
Summary and Certification; (b) have submitted a materially inaccurate or incomplete Cost
Summary and Certification, and have failed to correct the materially inaccurate or incomplete
Cost Summary and Certification within 30 days after being notified of, and given the opportunity
to cure, the deficiency; or (c) failed to submit a Cost Summary and Certification as required by
¶ 34 within 120 days (or such longer period as EPA agrees) after being notified that EPA intends
to terminate its obligation to make disbursements under this Section because of Settling
Defendants’ failure to submit the Cost Summary and Certification as required by ¶ 34. EPA’s
obligation to disburse funds from the Disbursement Special Account also terminates upon EPA’s
assumption of performance of any portion of the Work in accordance with ¶ 9, when such
assumption of performance of the Work is not challenged by Settling Defendants or, if
challenged, is upheld under Section XII. Settling Defendants may dispute EPA’s termination of
special account disbursements under Section XII.

         37.     Recapture of Disbursements. Upon termination of disbursements from the
Disbursement Special Account under ¶ 36, if EPA has previously disbursed funds from the
Disbursement Special Account for activities specifically related to the reason for termination,
e.g., discovery of a materially false or misleading submission after disbursement of funds based
on that submission, EPA shall submit a bill to Settling Defendants for those amounts already
disbursed from the Disbursement Special Account specifically related to the reason for
termination, plus Interest on that amount covering the period from the date of disbursement of
the funds by EPA to the date of repayment of the funds by Settling Defendants. Within 60 days
after receipt of EPA’s bill, Settling Defendants shall reimburse the Fund for the total amount
billed. Payment must be made in accordance with ¶ 29.b. Upon receipt of payment, EPA may, in
its sole discretion, deposit all or any portion thereof in the Special Account, the Disbursement
Special Account, or the Fund.

       38.    Balance of Special Account Funds. After EPA issues its written Certification of
Remedial Action Completion in accordance with this Decree and after EPA completes all
disbursement to Settling Defendants in accordance with this Section, if any funds remain in the


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Disbursement Special Account, EPA may, in its sole discretion, transfer such funds to the
Special Account or to the Fund.

                                  XI.    FORCE MAJEURE

        39.    “Force majeure,” for purposes of this Decree, means any event arising from
causes beyond the control of Settling Defendants, of any entity controlled by Settling
Defendants, or of Settling Defendants’ contractors that delays or prevents the performance of any
obligation under this Decree despite Settling Defendants’ best efforts to fulfill the obligation.
Given the need to protect public health and welfare and the environment, the requirement that
Settling Defendants exercise “best efforts to fulfill the obligation” includes using best efforts to
anticipate any potential force majeure and best efforts to address the effects of any potential
force majeure (a) as it is occurring and (b) following the potential force majeure such that the
delay and any adverse effects of the delay are minimized to the greatest extent possible. “Force
majeure” does not include financial inability to complete the Work or a failure to achieve the
Performance Standards.

         40.     If any event occurs for which Settling Defendants will or may claim a force
majeure, Settling Defendants shall notify EPA’s Project Coordinator by email. The deadline for
the initial notice is 5 days after the date Settling Defendants first knew or should have known
that the event would likely delay performance. Settling Defendants shall be deemed to know of
any circumstance of which any contractor of, subcontractor of, or entity controlled by Settling
Defendants knew or should have known. Within 14 days thereafter, Settling Defendants shall
send a further notice to EPA and the State that includes: (i) a description of the event and its
effect on Settling Defendants’ completion of the requirements of the Decree; (ii) a description of
all actions taken or to be taken to prevent or minimize the adverse effects or delay; (iii) the
proposed extension of time for Settling Defendants to complete the requirements of the Decree;
(iv) a statement as to whether, in the opinion of Settling Defendants, such event may cause or
contribute to an endangerment to public health or welfare, or the environment; and (v) all
available proof supporting their claim of force majeure. Failure to comply with the notice
requirements herein regarding an event precludes Settling Defendants from asserting any claim
of force majeure regarding that event, provided, however, that if EPA, despite late or incomplete
notice, is able to assess to its satisfaction whether the event is a force majeure under ¶ 39 and
whether Settling Defendants have exercised their best efforts under ¶ 39, EPA may, in its
unreviewable discretion, excuse in writing Settling Defendants’ failure to submit timely or
complete notices under this Paragraph.

        41.     EPA, after a reasonable opportunity for review and comment by the State, will
notify Settling Defendants of its determination whether Settling Defendants are entitled to relief
under ¶ 39, and, if so, the duration of the extension of time for performance of the obligations
affected by the force majeure. An extension of the time for performance of the obligations
affected by the force majeure shall not, of itself, extend the time for performance of any other
obligation. Settling Defendants may initiate dispute resolution under Section XII regarding
EPA’s determination within 15 days after receipt of the determination. In any such proceeding,
Settling Defendants have the burden of proving that they are entitled to relief under ¶ 39 and that
their proposed extension was or will be warranted under the circumstances.



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        42.      The failure by EPA to timely complete any activity under the Decree or the SOW
is not a violation of the Decree, provided, however, that if such failure prevents Settling
Defendants from timely completing a requirement of the Decree, Settling Defendants may seek
relief under this Section.

                              XII.    DISPUTE RESOLUTION

        43.     Unless otherwise provided in this Decree, Settling Defendants must use the
dispute resolution procedures of this Section to resolve any dispute arising under this Decree.
Settling Defendants shall not initiate a dispute challenging the Record of Decision. The United
States may enforce any requirement of the Decree that is not the subject of a pending dispute
under this Section.

         44.     A dispute will be considered to have arisen when one or more parties sends a
written notice of dispute (“Notice of Dispute”) in accordance with ¶ 72. Disputes arising under
this Decree must in the first instance be the subject of informal negotiations between the parties
to the dispute. The period for informal negotiations may not exceed 20 days after the dispute
arises, unless the parties to the dispute otherwise agree. If the parties cannot resolve the dispute
by informal negotiations, the position advanced by EPA, and the State if such dispute involves a
State claim, is binding unless Settling Defendants initiate formal dispute resolution under ¶ 45.
By agreement of the parties, mediation may be used during this informal negotiation period to
assist the parties in reaching a voluntary resolution or narrowing of the matters in dispute.

       45.     Formal Dispute Resolution

                a.     Statements of Position. Settling Defendants may initiate formal dispute
resolution by serving on the Plaintiffs, within 20 days after the conclusion of informal dispute
resolution under ¶ 44, an initial Statement of Position regarding the matter in dispute. The
Plaintiffs’ responsive Statements of Position are due within 20 days after receipt of the initial
Statement of Position. All Statements of Position must include supporting factual data, analysis,
opinion, and other documentation. A reply, if any, is due within 14 days after receipt of the
response. If appropriate, EPA may extend the deadlines for filing statements of position for up to
45 days and may allow the submission of supplemental statements of position.

                b.     Formal Decision. The Director of the Superfund & Emergency
Management Division, EPA Region 3, will issue a formal decision resolving the dispute
(“Formal Decision”) based on the statements of position and any replies and supplemental
statements of position. The Formal Decision is binding on Settling Defendants unless they timely
seek judicial review under ¶ 46.

               c.      Compilation of Administrative Record. EPA shall compile an
administrative record regarding the dispute, which must include all statements of position,
replies, supplemental statements of position, and the Formal Decision.

       46.     Judicial Review

                a.     Settling Defendants may obtain judicial review of the Formal Decision by
filing, within 20 days after receiving it, a motion with the Court and serving the motion on all


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Parties. The motion must describe the matter in dispute and the relief requested. The parties to
the dispute shall brief the matter in accordance with local court rules.

                b.      Review on the Administrative Record. Judicial review of disputes
regarding the following issues must be on the administrative record: (i) the adequacy or
appropriateness of deliverables required under the Decree; (ii) the adequacy of the performance
of the Remedial Action; (iii) whether a Work Takeover is warranted under ¶ 11;
(iv) determinations about financial assurance under Section VII; (v) EPA’s selection of modified
or further response actions; (vi) any other items requiring EPA approval under the Decree; and
(vii) any other disputes that the Court determines should be reviewed on the administrative
record. For all of these disputes, Settling Defendants bear the burden of demonstrating that the
Formal Decision was arbitrary and capricious or otherwise not in accordance with law.

               c.      Judicial review of any dispute not governed by ¶ 46.b shall be governed
by applicable principles of law.

        47.    Escrow Account. For disputes regarding a Future Response Cost billing, Settling
Defendants shall: (a) establish, in a duly chartered bank or trust company, an interest-bearing
escrow account that is insured by the Federal Deposit Insurance Corporation (“FDIC”); (b) remit
to that escrow account funds equal to the amount of the contested Future Response Costs; and
(c) send to EPA, in accordance with ¶ 72, copies of the correspondence and of the payment
documentation (e.g., the check) that established and funded the escrow account, including the
name of the bank, the bank account number, and a bank statement showing the initial balance in
the account. EPA may, in its unreviewable discretion, waive the requirement to establish the
escrow account. Settling Defendants shall cause the escrow agent to pay the amounts due to EPA
and the State under ¶ 29, if any, by the deadline for such payment in ¶ 29. Settling Defendants
are responsible for any balance due under ¶ 29 after the payment by the escrow agent.

        48.    The initiation of dispute resolution procedures under this Section does not extend,
postpone, or affect in any way any requirement of this Decree, except as EPA agrees, or as
determined by the Court. Stipulated penalties with respect to the disputed matter will continue to
accrue, but payment is stayed pending resolution of the dispute, as provided in ¶ 51.

                            XIII. STIPULATED PENALTIES

      49.     Unless the noncompliance is excused under Section XI (Force Majeure), Settling
Defendants are liable to the United States for the following stipulated penalties:

               a.     for any failure: (i) to pay any amount due under Section IX; (ii) to
establish and maintain financial assurance in accordance with Section VII; (iii) to submit timely
or adequate deliverables under Section 8 of the SOW.

             Period of Noncompliance       Penalty Per Noncompliance Per Day
               1st through 14th day                      $3,000
              15th through 30th day                      $5,000
               31st day and beyond                      $10,000




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               b.     for any failure to submit timely or adequate deliverables required by this
Decree other than those specified in ¶ 49.a:

             Period of Noncompliance        Penalty Per Noncompliance Per Day
               1st through 14th day                       $2,000
              15th through 30th day                       $4,000
               31st day and beyond                        $7,000

        50.     Work Takeover Penalty. If EPA commences a Work Takeover, Settling
Defendants are liable for a stipulated penalty in the amount of $250,000. This stipulated penalty
is in addition to the remedy available to EPA under ¶ 22 (Access to Financial Assurance) to fund
the performance of the Work by EPA.

        51.    Accrual of Penalties. Stipulated penalties accrue from the date performance is
due, or the day a noncompliance occurs, whichever is applicable, until the date the requirement is
completed or the final day of the correction of the noncompliance. Nothing in this Decree
prevents the simultaneous accrual of separate penalties for separate noncompliances with this
Decree. Stipulated penalties accrue regardless of whether Settling Defendants have been notified
of their noncompliance, and regardless of whether Settling Defendants have initiated dispute
resolution under Section XII, provided, however, that no penalties will accrue as follows:

                a.   with respect to a submission that EPA subsequently determines is deficient
under ¶ 7.6 of the SOW, during the period, if any, beginning on the 31st day after EPA’s receipt
of such submission until the date that EPA notifies Settling Defendants of any deficiency;

               b.       with respect to a matter that is the subject of dispute resolution under
Section XII, during the period, if any, beginning on the 21st day after the later of the date that
EPA’s Statement of Position is received or the date that Settling Defendants’ reply thereto (if
any) is received until the date of the Formal Decision under ¶ 45.b; or

               c.      with respect to a matter that is the subject of judicial review by the Court
under ¶ 46, during the period, if any, beginning on the 31st day after the Court’s receipt of the
final submission regarding the dispute until the date that the Court issues a final decision
regarding such dispute.

        52.     Demand and Payment of Stipulated Penalties. EPA may send Settling
Defendants a demand for stipulated penalties. The demand will include a description of the
noncompliance and will specify the amount of the stipulated penalties owed. Settling Defendants
may initiate dispute resolution under Section XII within 30 days after receipt of the demand.
Settling Defendants shall pay the amount demanded or, if they initiate dispute resolution, the
uncontested portion of the amount demanded, within 30 days after receipt of the demand.
Settling Defendants shall pay the contested portion of the penalties determined to be owed, if
any, within 30 days after the resolution of the dispute. Each payment for: (a) the uncontested
penalty demand or uncontested portion, if late; and (b) the contested portion of the penalty
demand determined to be owed, if any, must include an additional amount for Interest accrued
from the date of receipt of the demand through the date of payment. Settling Defendants shall
make payment at https://www.pay.gov using the link for “EPA Miscellaneous Payments


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Cincinnati Finance Center,” including references to the Site/Spill ID and DJ numbers listed in
¶ 72, and the purpose of the payment. Settling Defendants shall send a notice of this payment to
DOJ and EPA, in accordance with ¶ 72 and to the EPA Regional Hearing Clerk at
R3_Hearing_Clerk@epa.gov. The payment of stipulated penalties and Interest, if any, does not
alter any obligation by Settling Defendants under the Decree.

        53.     Nothing in this Decree limits the authority of the United States or the State: (a) to
seek any remedy otherwise provided by law for Settling Defendants’ failure to pay stipulated
penalties or interest; or (b) to seek any other remedies or sanctions available by virtue of Settling
Defendants’ non-compliances with this Decree or of the statutes and regulations upon which it is
based, including penalties under section 122(l) of CERCLA, provided, however, that the United
States may not seek civil penalties under section 122(l) of CERCLA for any noncompliance for
which a stipulated penalty is provided for in this Decree, except in the case of a willful
noncompliance with this Decree.

       54.    Notwithstanding any other provision of this Section, the United States may, in its
unreviewable discretion, waive any portion of stipulated penalties that have accrued under
this Decree.

                           XIV. COVENANTS BY PLAINTIFFS
        55.     Covenants for Settling Defendants. Subject to ¶ 57, the United States covenants
not to sue or to take administrative action against Settling Defendants under sections 106 and
107(a) of CERCLA regarding the Work, Past Response Costs, and Future Response Costs.

       56.       The covenants under ¶ 55: (a) take effect upon the Effective Date; (b) are c
onditioned on the satisfactory performance by Settling Defendants of the requirements of this
Decree; (c) extend to the successors of each Settling Defendant but only to the extent that the
alleged liability of the successor of the Settling Defendant is based solely on its status as a
successor of the Settling Defendant; and (d) do not extend to any other person.

        57.     General Reservations. Notwithstanding any other provision of this Decree, the
Plaintiffs reserve, and this Decree is without prejudice to, all rights against Settling Defendants
regarding the following:

               a.      liability for failure by Settling Defendants to meet a requirement of this
Decree;

               b.    liability arising from the past, present, or future disposal, release, or threat
of release of Waste Material outside of the Site;

             c.    liability based on Settling Defendants’ ownership of the Site when such
ownership commences after Settling Defendants’ signature of this Decree;

               d.     liability based on Settling Defendants’ operation of the Site when such
operation commences after Settling Defendants’ signature of this Decree and does not arise
solely from Settling Defendants’ performance of the Work;



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                e.     liability based on Settling Defendants’ transportation, treatment, storage,
or disposal, or arrangement for transportation, treatment, storage, or disposal of Waste Material
at or in connection with the Site, after signature of this Decree by Settling Defendants, other than
as provided in the Record of Decision, under this Decree, or ordered by EPA;

                f.     liability for additional operable units at the Site or the final response
action, other than those portions of the final response action constituting Work;

               g.      liability, prior to achievement of Performance Standards, for additional
response actions that EPA determines are necessary to achieve and maintain Performance
Standards or to carry out and maintain the effectiveness of the Remedial Action, but that are not
covered by ¶ 9.b; and

               h.         criminal liability.

        58.      Subject to ¶ 55, nothing in this Decree limits any authority of Plaintiffs to take,
direct, or order all appropriate action to protect human health and the environment or to prevent,
abate, respond to, or minimize an actual or threatened release of Waste Material on, at, or from
the Site, or to request a Court to order such action.

                    XV.     COVENANTS BY SETTLING DEFENDANTS
       59.     Covenants by Settling Defendants

               a.      Subject to ¶ 60, Settling Defendants covenant not to sue and shall not
assert any claim or cause of action against the United States or the State under CERCLA,
section 7002(a) of RCRA, the United States Constitution, the Tucker Act, 28 U.S.C. § 1491, the
Equal Access to Justice Act, 28 U.S.C. § 2412, the West Virginia Constitution, the West Virginia
Hazardous Waste Management Act, W. Va. Code § 22-18-1 et seq., the West Virginia
Hazardous Waste Emergency Response Fund Act, W. Va. Code § 22-19-1 et seq., or at common
law regarding the Work, past response actions relating to the Site, Past Response Costs, and
Future Response Costs, and State Future Response Costs.

               b.      Subject to ¶ 60, Settling Defendants covenant not to seek reimbursement
from the Fund through CERCLA or any other law for costs of the Work and past response
actions regarding the Site, Past Response Costs, Future Response Costs, State Past Response
Costs, and State Future Response Costs.

        60.     Settling Defendants’ Reservation. The covenants in ¶ 59 do not apply to any
claim or cause of action brought, or order issued, after the Effective Date by the United States or
the State to the extent such claim, cause of action, or order is within the scope of a reservation
under ¶ 57.a through 57.g.

                 XVI. EFFECT OF SETTLEMENT; CONTRIBUTION

        61.     The Parties agree and the Court finds that: (a) the complaint filed by the United
States in this action is a civil action within the meaning of section 113(f)(1) of CERCLA; (b) this
Decree constitutes a judicially approved settlement under which each Settling Defendant has, as


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of the Effective Date, resolved its liability to the United States within the meaning of
sections 113(f)(2) and 113(f)(3)(B) of CERCLA and to the State within the meaning of
section 107 of CERCLA, W. Va. Code § 22-18-1 et seq., and W. Va. Code § 22-19-1 et seq., and
all relevant rules promulgated according to these Acts as it relates to Operable Unit 1; and
(c) each Settling Defendant is entitled, as of the Effective Date, to protection from contribution
actions or claims as provided by section 113(f)(2) of CERCLA, or as may be otherwise provided
by law, for the “matters addressed” in this Decree. The “matters addressed” in this Decree are the
Work, Past Response Costs, Future Response Costs, and State Future Response Costs, provided,
however, that if either Plaintiff exercises its rights under the reservations in ¶ 57.a through 57.h,
the “matters addressed” in this Decree will no longer include those response costs or response
actions that are within the scope of the exercised reservation.

         62.    Each Settling Defendant shall, with respect to any suit or claim brought by it for
matters related to this Decree, notify DOJ and EPA and the State no later than 60 days prior to
the initiation of such suit or claim. Each Settling Defendant shall, with respect to any suit or
claim brought against it for matters related to this Decree, notify DOJ and EPA and the State
within 10 days after service of the complaint on such Settling Defendant. In addition, each
Settling Defendant shall notify DOJ and EPA and the State within 10 days after service or receipt
of any Motion for Summary Judgment and within 10 days after receipt of any order from a court
setting a case for trial.

        63.     Res Judicata and Other Defenses. In any subsequent administrative or judicial
proceeding initiated against any Settling Defendant by either Plaintiff for injunctive relief,
recovery of response costs, or other appropriate relief relating to the Site, Settling Defendants
shall not assert, and may not maintain, any defense or claim based upon the principles of waiver,
claim preclusion (res judicata), issue preclusion (collateral estoppel), claim-splitting, or other
defenses based upon any contention that the claims raised by the United States or the State in the
subsequent proceeding were or should have been brought in the instant case.

        64.    Nothing in this Decree diminishes the right of the United States under
section 113(f)(2) and (3) of CERCLA to pursue any person not a party to this Decree to obtain
additional response costs or response action and to enter into settlements that give rise to
contribution protection pursuant to section 113(f)(2).

                                         XVII. RECORDS
         65.     Settling Defendant Certification. Each Settling Defendant certifies individually
that: (a) to the best of its knowledge and belief, after thorough inquiry it has not altered,
mutilated, discarded, destroyed or otherwise disposed of any records, documents or other
information relating to its potential liability under CERCLA regarding the Site, since the earlier
of notification of potential liability by the United States or the State or the filing of suit against it
regarding the Site; and (b) it has fully complied with any and all EPA and State requests for
information under sections 104(e) and 122(e) of CERCLA, and section 3007 of RCRA, and the
W Va. Hazardous Waste Management Act, W. Va. Code § 22-18-1 et seq.




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       66.     Retention of Records and Information

                 a.     Settling Defendants shall retain, and instruct their contractors and agents
to retain, the following documents and electronically stored data (“Records”) until 10 years after
the Certification Completion of the Work under SOW ¶ 5.8 (the “Record Retention Period”):

               (1)     All records regarding Settling Defendants’ liability under CERCLA
                       regarding the Site;

               (2)     All reports, plans, permits, and documents submitted to EPA in
                       accordance with this Decree, including all underlying research and data;
                       and

               (3)     All data developed by, or on behalf of, Settling Defendants in the course
                       of performing the Remedial Action.

                b.      Honeywell International Inc. and Olin Corporation shall retain all Records
regarding the liability of any person under CERCLA regarding the Site during the Record
Retention Period.

               c.      At the end of the Record Retention Period, Settling Defendants shall
notify EPA that it has 90 days to request the Settling Defendants’ Records subject to this Section.
Settling Defendants shall retain and preserve their Records subject to this Section until 90 days
after EPA’s receipt of the notice. These record retention requirements apply regardless of any
corporate record retention policy.

        67.    Settling Defendants shall provide to EPA and the State, upon request, copies of all
Records and information required to be retained under this Section. Settling Defendants shall
also make available to EPA and the State, for purposes of investigation, information gathering,
or testimony, their employees, agents, or representatives with knowledge of relevant facts
concerning the performance of the Work.

       68.     Privileged and Protected Claims

                 a.     Settling Defendants may assert that all or part of a record requested by
Plaintiffs is privileged or protected as provided under federal law, in lieu of providing the record,
provided that Settling Defendants comply with ¶ 68.b, and except as provided in ¶ 68.c.

                 b.      If Settling Defendants assert a claim of privilege or protection, they shall
provide Plaintiffs with the following information regarding such record: its title; its date; the
name, title, affiliation (e.g., company or firm), and address of the author, of each addressee, and
of each recipient; a description of the record’s contents; and the privilege or protection asserted.
If a claim of privilege or protection applies only to a portion of a record, Settling Defendants
shall provide the record to Plaintiffs in redacted form to mask the privileged or protected portion
only. Settling Defendants shall retain all records that they claim to be privileged or protected
until Plaintiffs have had a reasonable opportunity to dispute the privilege or protection claim and
any such dispute has been resolved in Settling Defendants’ favor.



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                c.     Settling Defendants shall not make any claim of privilege or protection
regarding: (1) any data regarding the Site, including all sampling, analytical, monitoring,
hydrogeologic, scientific, chemical, radiological or engineering data, or the portion of any other
record that evidences conditions at or around the Site; or (2) the portion of any record that
Settling Defendants are required to create or generate in accordance with this Decree.

         69.    Confidential Business Information (CBI) Claims. Settling Defendants may
claim that all or part of a record provided to Plaintiffs under this Section is CBI to the extent
permitted by and in accordance with section 104(e)(7) of CERCLA and 40 C.F.R. § 2.203(b).
Settling Defendants shall segregate and shall clearly identify all records or parts thereof
submitted under this Decree for which they claim is CBI by labeling each page or each electronic
file “claimed as confidential business information” or “claimed as CBI.” Records that Settling
Defendants claim to be CBI will be afforded the protection specified in 40 C.F.R. part 2,
subpart B. If no CBI claim accompanies records when they are submitted to EPA and the State,
or if EPA notifies Settling Defendants that the records are not entitled to confidential treatment
under the standards of section 104(e)(7) of CERCLA or 40 C.F.R. part 2, subpart B, the public
may be given access to such records without further notice to Settling Defendants.

       70.     In any proceeding under this Decree, validated sampling or monitoring data
generated in accordance with the SOW and reviewed and approved by EPA, if relevant to the
proceeding, is admissible as evidence, without objection.

        71.     Notwithstanding any provision of this Decree, Plaintiffs retain all of their
information gathering and inspection authorities and rights, including enforcement actions
related thereto, under CERCLA, RCRA, and any other applicable statutes or regulations.

                      XVIII.          NOTICES AND SUBMISSIONS
        72.     All agreements, approvals, consents, deliverables, modifications, notices,
notifications, objections, proposals, reports, waivers, and requests specified in this Decree must
be in writing unless otherwise specified. Whenever a notice is required to be given or a report or
other document is required to be sent by one Party to another under this Decree, it must be sent
as specified below. All notices under this Section are effective upon receipt, unless otherwise
specified. In the case of emailed notices, there is a rebuttable presumption that such notices are
received on the same day that they are sent. Any Party may change the method, person, or
address applicable to it by providing notice of such change to all Parties.


                     As to DOJ: via email to:
                                eescdcopy.enrd@usdoj.gov
                                Re: DJ # 90-11-3-12417




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                   As to EPA: via email to:
                              Paul Leonard, Director
                              Superfund & Emergency Mgmt. Div. at
                              leonard.paul@epa.gov

                                   AND

                                  Lisa Denmark, EPA Project Coordinator at
                                  denmark.lisa@epa.gov
                                  Re: Site/Spill ID # 03FD

                                  AND

                                  R3_ORC_mailbox@epa.gov

            As to the Regional via email to:
        Financial Management cinwd_acctsreceivable@epa.gov
                       Officer: Re: Site/Spill ID # 03FD

               As to the State:   William F. Huggins, Jr. WVDEP Project Coordinator
                                  at william.huggins@wv.gov
                                  Re: WVD024185373

                                  AND

                                  Jason McDougal, WVDEP Program Manager
                                  jason.s.mcdougal@wv.gov
                                  Re: -WVD024185373

                                  AND

                                  Casey Korbini, WVDEP Deputy Director for
                                  Remediation Programs
                                  Ccsey.e.korbini@wv.gov
                                  Re: -WVD024185373

                As to Settling via email to:
                 Defendants: Prashant.Gupta@Honeywell.com

                                   XIX. APPENDIXES
      73.    The following appendixes are attached to and incorporated into this Decree:

      “Appendix A” is the Record of Decision.



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       “Appendix B” is the SOW.

       “Appendix C” is the description and map of the Site.

       “Appendix D” is the complete list of Settling Defendants.

                          XX.    MODIFICATIONS TO DECREE

        74.     Except as provided in ¶ 9 of the Decree and ¶ 7.6 of the SOW (Approval of
Deliverables), nonmaterial modifications to Sections I through XXIV and the Appendixes must
be in writing and are effective when signed (including electronically signed) by the Parties.
Material modifications to Sections I through XXIV and the Appendixes must be in writing,
signed (which may include electronically signed) by the Parties, and are effective upon approval
by the Court. As to changes to the remedy, a modification to the Decree, including the SOW, to
implement an amendment to the Record of Decision that “fundamentally alters the basic
features” of the Remedial Action within the meaning of 40 C.F.R. § 300.435(c)(2)(ii) will be
considered a material modification.

                                    XXI. SIGNATORIES

        75.     The undersigned representative of the United States, the undersigned
representative of the State, and each undersigned representative of a Settling Defendant certifies
that he or she is fully authorized to enter into the terms and conditions of this Decree and to
execute and legally bind such Party to this document.

                             XXII. PRE-ENTRY PROVISIONS
        76.     If for any reason the Court should decline to approve this Decree in the form
presented, this agreement, except for ¶ 77 and ¶ 78, is voidable at the sole discretion of any Party
and its terms may not be used as evidence in any litigation between the Parties.

       77.      This Decree will be lodged with the Court for at least 30 days for public notice
and comment in accordance with section 122(d)(2) of CERCLA and 28 C.F.R. § 50.7. The
United States may withdraw or withhold its consent if the comments regarding the Decree
disclose facts or considerations that indicate that the Decree is inappropriate, improper, or
inadequate.

       78.     Settling Defendants agree not to oppose or appeal the entry of this Decree.

                                XXIII.         INTEGRATION
        79.    This Decree constitutes the entire agreement among the Parties regarding the
subject matter of the Decree and supersedes all prior representations, agreements, and
understandings, whether oral or written, regarding the subject matter of the Decree.




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                            XXIV.          FINAL JUDGMENT

       80.    Upon entry of this Decree by the Court, this Decree constitutes a final judgment
under Fed. R. Civ. P. 54 and 58 among the Parties.

SO ORDERED this ___ day of ___________, 20__.




                                                 ___________________________________

                                                 United States District Judge




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Signature Page for Consent Decree in U.S. v. Honeywell International Inc. and Olin Corporation
(N.D.W.V.)


                                       FOR THE UNITED STATES:




                                        NATHANIEL               Digitally signed by NATHANIEL
                                                                DOUGLAS
           2-22-2023
           ____________
                                        DOUGLAS                 Date: 2023.02.17 15:32:28 -05'00'
                                       _________________________________
           Dated                       Nathaniel Douglas
                                       Deputy Section Chief
                                       U.S. Department of Justice
                                       Environment and Natural Resources Division
                                       Environmental Enforcement Section



                                       _________________________________
                                       Jason A. Dunn
                                       Senior Attorney
                                       U.S. Department of Justice
                                       Environment and Natural Resources Division
                                       Environmental Enforcement Section
                                       P.O. Box 7611
                                       Washington, DC 20044-7611




                                       William Ihlenfeld
                                       United States Attorney



                                       _________________________________
                                       Stephanie K. Savino
                                       Assistant United States Attorney
                                       United States Attorney’s Office
                                       P.O. Box 591
                                       Wheeling, WV 26003




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Signature Page for Consent Decree in U.S. v. Honeywell International Inc. and Olin Corporation
(N.D.W.V.)


                                       FOR THE U.S. ENVIRONMENTAL
                                       PROTECTION AGENCY:




                                                        Digitally signed by Diana

                                       Diana Esher Esher
                                                   Date: 2023.02.08
                                                        14:46:49 -05'00'

                                       Diana Esher
                                       Deputy Regional Administrator
                                       U.S. Environmental Protection Agency
                                       Region 3



                                                      Digitally signed by CECIL
                                       CECIL          RODRIGUES

                                       RODRIGUES      Date: 2023.02.02
                                       _________________________________
                                                      13:25:58 -05'00'

                                       Cecil Rodrigues
                                       Regional Counsel
                                       U.S. Environmental Protection Agency
                                       Region 3




                                       JEFFERIE Digitally   signed by
                                                    JEFFERIE GARCIA

                                       GARCIA       Date: 2023.01.24
                                       _________________________________
                                                    08:54:39 -05'00'

                                       Jefferie E. Garcia
                                       Senior Assistant Regional Counsel
                                       U.S. Environmental Protection Agency
                                       Region 3




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Signature Page for Consent Decree in U.S. v. Honeywell International Inc. and Olin Corporation
(N.D.W.V.)


                                       FOR THE STATE OF WEST VIRGINIA:




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                                                                            _ _____
           Dated                       Robert Rice,
                                              Rice Deputy Secretary
                                                              Secretary and Direc
                                                                              Director
                                       W. Va. Dept. of Environmental Protection,
                                       Division of Land Restoration




                                                    Digitally signed by Jonathan C.
                                        Jonathan C. Frame
           1/12/23
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           Dated                       Jon C. Frame, Counsel
                                       W. Va. Dept. of Environmental Protection,
                                       Division of Land Restoration




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Signature Page for Consent Decree in U.S. v. Honeywell International Inc. and Olin Corporation
(N.D.W.V.)


                                FOR: HONEYWELL INTERNATIONAL INC.




           ___________                  ___________________________________
           Dated              Name:
                               Title:
                             Address:


        If the Decree is not approved by the Court within 60 days after the date of lodging, and
the United States requests, this Settling Defendant agrees to accept service of the complaint by
mail, and to execute a waiver of service of a summons under Rule 4 of the Federal Rules of Civil
Procedure and any applicable local rules of this Court. This Settling Defendant hereby
designates the agent below to accept service of the complaint by mail and to execute the
Rule 4 waiver of service. This Settling Defendant understands that it does not need to file an
answer to the complaint until it has executed the waiver of service or otherwise has been served
with the complaint.


                    Name:
                     Title:
                  Company:
                   Address:

                      Phone:
                       email:




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              EXHIBIT A
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                     RECORD OF DECISION

       HANLIN-ALLIED-OLIN SUPERFUND SITE
               OPERABLE UNIT 1
                       MOUNDSVILLE,
               MARSHALL COUNTY, WEST VIRGINIA




         U.S. ENVIRONMENTAL PROTECTION AGENCY
          REGION 3, PHILADELPHIA, PENNSYLVANIA

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LIST OF ACRONYMS
AOC        Administrative Order on Consent
AR         Administrative Record
ARARs      Applicable or Relevant and Appropriate Requirements
CERCLA     Comprehensive Environmental Response, Compensation, and Liability Act
C.F.R.     Code of Federal Regulations
CMP        chloromethane products
COC        chemicals of concern
COPC       Contaminants of Potential Concern
COPEC      Contaminants of Potential Ecological Concern
CR         Cancer Risk
CTE        Central Tendency Exposure
DNAPL      Dense Non-aqueous Phase Liquid
DWWM       Division of Water and Waste Management
EU         Exposure Unit
EPA        U.S. Environmental Protection Agency
ERA        Ecological Risk Assessment
FYR        Five-Year Review
FS         Feasibility Study
Gpm        gallons per minute
GWTP       Groundwater Treatment Plant
HHRA       human health risk assessment
HI         Hazard Index
HQ         Hazard Quotient
IC         Institutional Control
ISCO       In Situ Chemical Oxidation
LOAEL      Lowest Observed Adverse Effect Level
MCC        Moundsville Country Club
MCL        Maximum Contaminant Level
mg/kg      milligrams per kilogram
MSL        mean sea level
NCP        National Oil and Hazardous Substances Pollution Contingency Plan
NPDES      National Pollutant Discharge Elimination System
NPL        National Priorities List
O&M        operation and maintenance
ORP        oxidation-reduction potential
OSDF       On-site Disposal Facility
OU         operable unit
PAH        Polycyclic Aromatic Hydrocarbons
PCB        Polychlorinated Biphenyls
PCS        Pollution Control Standards
PRAP       Proposed Remedial Action Plan
RACR       Remedial Action Completion Report
RAO        Remedial Action Objective
RSL        Regional Screening Levels
RI         Remedial Investigation


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RG          remedial goal
ROD         Record of Decision
RSL         Regional Screening Level
RVI         Remote Visual Inspection
SLERA       screening level ecological risk assessment
SF          square feet
SMA         Soil Management Area
SVE         soil vapor extraction
SVOC        Semi-Volatile Organic Contaminants
SWMU        Solid Waste Management Units
TAL         Target Analyte List
TBC         advisories, criteria, or guidance “to be considered”
μg/L        micrograms per liter
μg/m3       micrograms per cubic meter
U.S.C.      United States Code
VOC         volatile organic compound
WVDEP       West Virginia Department of Environmental Protection




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                        I.    DECLARATION

        HANLIN-ALLIED-OLIN SUPERFUND SITE
                 OPERABLE UNIT 1
               RECORD OF DECISION

                    MOUNDSVILLE,
            MARSHALL COUNTY, WEST VIRGINIA
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                     RECORD OF DECISION
             HANLIN-ALLIED-OLIN SUPERFUND SITE
                    OPERABLE UNIT 1 (OU1)
         MOUNDSVILLE, MARSHALL COUNTY, WEST VIRGINIA

                                     DECLARATION

1.0    SITE NAME AND LOCATION
Hanlin-Allied-Olin Superfund Site
Operable Unit 1 (OU1)
Route 2
Moundsville, Marshall County, West Virginia
EPA ID Number WV024185373

2.0    STATEMENT OF BASIS AND PURPOSE
This Record of Decision (ROD) identifies the remedy selected (Selected Remedy) by the U.S.
Environmental Protection Agency (EPA) for the Hanlin-Allied-Olin Superfund Site (the Site).
The Interim and Final Remedial Actions selected in this ROD were chosen in accordance with
the Comprehensive Environmental Response, Compensation, and Liability Act of 1980, as
amended (CERCLA), 42 U.S.C. §§ 9601-9675, and to the extent practicable, the National Oil
and Hazardous Substances Pollution Contingency Plan (NCP), 40 C.F.R Part 300 et seq., as
amended.

This decision document is based on the Administrative Record (AR) for the Site, which was
developed in accordance with Section 113(k) of CERCLA, 42 U.S.C. § 9613(k). This AR file is
available for review online at https://semspub.epa.gov/src/collection/03/AR66453, at the EPA
Region III Records Center in Philadelphia, Pennsylvania, and at the Moundsville-Marshall
County Public Library, 700 Fifth Street, Moundsville, WV 26041 (304-845-6911). The AR
Index identifies each document contained in the AR upon which the Selected Remedy is based.
The signed ROD will become part of the AR for the Site.

The State of West Virginia has concurred with the Selected Remedy.

3.0    ASSESSMENT OF THE SITE
The Site is located in Moundsville, Marshall County, West Virginia along the Ohio River and is
depicted on Figure 1. The Site includes the following three areas, as shown by the yellow lines
on Figure 1:

       • Hanlin Area, located in the southern portion of the Site, is approximately 201 acres;
       • Allied Park Area, located in the northwestern portion of the Site, is approximately 44
       acres; and

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       • Olin Area, located on the northeastern portion of the Site, is approximately 137 acres.

On August 22, 2011, Olin Corporation sold its property to Caiman Energy, which redeveloped
the property for use as a natural gas processing facility; the facility was sold to Williams Partners
on April 30, 2012. Despite this development, for the purposes of the Remedial
Investigation/Feasibility Study (RI/FS) and this ROD, the northeastern parcel is still referred to
as the Olin Area. Environmental assessments for OU1 have occurred under multiple owners,
contractors, and regulatory frameworks. The Human Health Risk Assessment considered the Site
based on exposure units as seen on Figure 2.

4.0    DESCRIPTION OF INTERIM AND FINAL REMEDIAL ACTIONS
The actions presented in this ROD constitute an interim remedial approach for South Plant
alluvial groundwater and a final remedy for Shallow Soils, the former Mercury Cell Building
area, and Hanlin Area sewers for OU1 at the Site. Additional information is needed to screen and
evaluate alternatives for bedrock groundwater, Site-wide alluvial groundwater and the Ohio
River, which are all part of OU2. The final remedy for Site-wide groundwater (including South
Plant alluvial groundwater covered under this interim remedial action and bedrock groundwater)
and the Ohio River will be selected in a future decision document.

The final remedial actions include the following: Stabilization of Operations Area Soils,
Excavation of Floodplain Wet Soils, and Cover of General Floodplain Soils for Shallow Soils. It
uses treatment to the maximum extent practicable, it is readily implementable, and the alternative
is cost-effective by excavating only the floodplain wet soils while covering other soils located in
the floodplain. The Former Mercury Cell Building remedy is Capping which will utilize a
concrete cover along with Institutional Controls. The remedy for the Sewers is Grouting with
Partial Excavation as Necessary. This remedy includes grout injections into existing sewer lines
and disposal of sewer lines that cannot hold grout to specified standards. The Interim Remedial
Action for the South Plant Groundwater is Upgraded Groundwater Extraction and Treatment (+
SVE) to the existing treatment plant. A process is included which allows for more than one
technology to be evaluated and installed at the existing plant.

These Interim and Final Remedial Actions are capable of permanently reducing the toxicity,
mobility, and volume of contaminants in groundwater and soil on the Site. The estimated cost to
implement the Interim and Final Remedial Actions is approximately $19 million and $2.9
million, respectively, over a 30-year period including operations and maintenance.

5.0    STATUTORY DETERMINATIONS
The Final Remedial Actions selected by this ROD (Shallow Soils, the former Mercury Cell
Building area, and Hanlin Area sewers) meet the mandates of CERCLA § 121 and the regulatory
requirements of the NCP. This Final Remedial Action is protective of human health and the
environment, is cost effective, complies with Federal and State requirements that are applicable
or relevant and appropriate to the Final Remedial Action (ARARs), and utilizes permanent
solutions and alternative treatment technologies to the maximum extent practicable. This remedy

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also satisfies the statutory preference for treatment as a principal element of the remedy (i.e.,
reduction of the toxicity, mobility, or volume of hazardous substances). In accordance with
CERCLA § 121(c), a remedy review will be conducted within 5 years after initiation of the Final
Remedial Action to ensure it continues to provide adequate protection of human health and the
environment. Five-Year Reviews (FYRs) will be conducted at least every 5 years after the date
of the initiation of the Final Remedial Action and will continue until hazardous substances are no
longer present above levels that allow for unlimited use and unrestricted exposure.

The Interim Remedial Action (South Plant alluvial groundwater) selected by this ROD is
protective of human health and the environment in the short term and is intended to provide
adequate protection until a final ROD for OU2 is signed; complies with those Federal and State
ARARs for this limited-scope action; and is cost-effective. Although the Interim Remedial
Action is not intended to address fully the statutory mandate for permanence and treatment to the
maximum extent practicable, it does utilize treatment and thus supports that statutory mandate.
Because this Interim Remedial Action does not constitute the final remedy for groundwater, the
statutory preference for remedies that employ treatment that reduces toxicity, mobility, or
volume as a principal element, although partially addressed in this remedy, will be addressed by
the final response action for OU2. Because this Interim Remedial Action will result in hazardous
substances remaining on-site above health-based levels, a review will be conducted to ensure that
the remedy continues to provide adequate protection of human health and the environment
within five years after commencement of the remedial action. Because this ROD selects an
Interim Remedial Action, review of this Site and remedy will be ongoing as EPA continues to
develop remedial alternatives for OU2.

6.0    ROD CERTIFICATION CHECKLIST
The information in the chart immediately below is included in the Decision Summary (Part II) of
this ROD. Additional information can be found in the AR file for the Site.

                             ROD CERTIFICATION CHECKLIST
 Information                                            Location
 Chemicals of concern (COCs) and respective             Section 7.0
 concentrations
 Baseline risk represented by the COCs                  Section 7.1
 Performance Standards established for COCs and the Section 12.1
 basis for these levels
 How source materials constituting principal threat are Section 11.0
 addressed
 Current and reasonably anticipated future land use     Section 6.0
 assumptions and potential future beneficial uses of
 groundwater
 Potential future land and groundwater uses that will   Section 6.0
 be available at the Site as a result of the Final
 Remedial Action



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 Estimated capital, annual operation and maintenance,    Section 10.7
 and total present worth costs, discount rate, and the
 number of years over which the remedial action cost
 estimates are projected
 Key factors that led to selecting the Final Remedial    Section 10
 Action

7.0    AUTHORIZING SIGNATURE
This ROD documents the Interim and Final Remedial Actions for OU1 of the Hanlin-Allied-Olin
Superfund Site. EPA selected these Interim and Final Remedial Actions with the concurrence of
the West Virginia Department of Environmental Protection (WVDEP).

Approved by:                                                    Date:


______________________________________                     -XQH
                                                          ______________________
Linda Dietz, Acting Director
Superfund & Emergency Management Division
EPA Region III




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                    II.   DECISION SUMMARY

        HANLIN-ALLIED-OLIN SUPERFUND SITE
                 OPERABLE UNIT 1
               RECORD OF DECISION

                    MOUNDSVILLE,
            MARSHALL COUNTY, WEST VIRGINIA
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1.0    SITE NAME, LOCATION AND DESCRIPTION
The Site is located about two miles southwest of the town of Moundsville, Marshall County,
West Virginia along the Ohio River and is depicted on Figure 1. The Site includes the following
three areas, as shown by the yellow lines on Figure 1:

       • Hanlin Area, located in the southern portion of the Site, is approximately 201 acres;
       • Allied Park Area, located in the northwestern portion of the Site, is approximately 44
       acres; and
       • Olin Area, located on the northeastern portion of the Site, is approximately 137 acres.

EPA is the lead agency for the Site and the WVDEP is the support agency.

2.0    SITE HISTORY, PREVIOUS CLEANUP ACTIVITIES AND
       ENFORCEMENT ACTIVITIES
2.1   SITE HISTORY

Allied Chemical Corporation and its successors, including Allied Signal, Inc. and AlliedSignal,
Inc., (collectively “Allied”), all of which are predecessors of Honeywell International, Inc.
(Honeywell), owned and operated the entire Site from 1953 to May 1980. In 1980, Allied sold
the southern portion of the Site (South Plant) to LCP Chemicals–West Virginia (LCP-WV). In
1981, Allied sold the northeastern portion of its facility to Olin and retained the northwest
portion of the Site, referred to as “Allied Park”. The latter two areas, namely the Allied Park and
Olin Areas, comprise the North Plant Area. In 1990, LCP-WV underwent a name change to
Hanlin Chemicals–West Virginia (Hanlin Chemicals). Honeywell, acquired by Allied in 1999
(thereafter known as Honeywell), reacquired the Hanlin Area of the Site in 2001.

During the facility production years, the North and South Plants had distinctly different
processes. The North Plant primarily produced aniline, nitrobenzene, methylene dianiline
(MDA), dinitrotoluene (DNT), diaminotoluene (TDA), and toluene diisocyanate (TDI); other
products included fumaric, maleic, and malic acids. At one time, acetylene was also produced in
the North Plant. The South Plant produced chloromethanes and, using the chlor-alkali (mercury
cell) process, other products including chlorine, sodium hydroxide, and hydrogen. Olin operated
the MDA/DNT/TDA/TDI production area of the North Plant from 1981 until production was
shut down in 1984. Olin conducted a phased decommissioning of the facilities,
and by 1989, the equipment had been removed and all buildings demolished. The Olin Area has
been redeveloped and was sold to Williams Partners in 2012 and is still referred to as the Olin
Area.

Manufacturing operations in the Hanlin Area (see Figure 3) ceased in 1991. The Hanlin and
Allied Park areas underwent various decommissioning and demolition activities as a non-time
critical removal action pursuant to an administrative order on consent (AOC) issued by EPA to



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AlliedSignal, Inc. in 1995 (Allied 1995 AOC). The majority of the Hanlin Area former process
structures have been demolished, although Site maintenance and office buildings remain. Figures
3 and 4 show the Hanlin and Olin process-related areas, respectively, while Figure 5 shows the
current Site features and excavation areas.

2.2 REGULATORY HISTORY AND PREVIOUS INVESTIGATIONS

       2.2.1 State Enforcement Actions

The State of West Virginia has a long history of involvement with the Site. During operations at
the Site in the 1970s, 1980s, and early 1990s, the West Virginia Department of Natural
Resources (“WVDNR,” prior to the formation and existence of the WVDEP) issued numerous
National Pollutant Discharge Elimination System (“NPDES”) and Water Resources Department
/Water Commission permits to Allied, Hanlin, and Olin for discharge of wastewater to retention
ponds and the Ohio River. Both the North and South Plants were also subject to West Virginia
Water Resource and Industrial Waste Permits. On October 22, 1981, the West Virginia Division
of Water Resources entered into a consent decree with Allied requiring it, among other things, to
perform certain studies and submit a proposal for closing inactive facilities.

On December 28, 1988, WVDNR completed a Preliminary Assessment and Site Investigation on
the Olin and Hanlin Areas. On December 30, 1988, WVDNR issued Order Number HW-147-88
(“1988 WV Order”) to LCP-WVA, for violations of the West Virginia Hazardous Waste
Management Regulations, including, among other things, failure to conduct a groundwater
monitoring program and violations of hazardous waste storage regulations. The 1988 WV Order
required LCP-WVA to come into compliance and to pay a penalty amount of $9,500. On August
14, 2000, WVDEP issued Consent Order 4330 (“2000 WV Order”) to Honeywell. Effective
September 8, 2000, the 2000 WV Order focused on containment of impacted groundwater and
surface water. Honeywell submitted a Compliance Schedule and Conceptual Design pursuant to
the 2000 WV Order in October 2000. Honeywell installed the necessary extraction wells for both
broad-plume containment and targeted source-area remediation, implemented stormwater
sampling and constructed appropriate treatment facilities. Note that operation and maintenance
(“O&M”) data, including routine well sampling data for extraction and monitoring wells, have
been incorporated into the Site RI dataset.

The groundwater treatment plant (GWTP) required by the 2000 WV Order includes a soil vapor
extraction (SVE) system, which was required by Administrative Order by Consent for Removal
Response Action, Docket No. CERCLA-03-2003-0188DC (“2002 Honeywell AOC”). The
groundwater treatment system primarily consists of three main treatment components: (i) a
clarifier system, to settle out mercury-bearing solids from extraction wells with higher mercury
concentrations; (ii) an air stripper, to remove VOCs from all water streams; and (iii) a catalytic
oxidizer, to treat VOCs in the vapor phase from both the groundwater and soil vapor extraction.
The GWTP became operational in October 2002 and has undergone upgrades, most notably in
2017, when the current clarifier system was installed. Influent water from sources with relatively
high solids and mercury are processed through the clarifier prior to entry into the air stripper.
The clarifier system includes three parallel pairs of sludge settling/storage tanks, which
concentrate the clarifier sludge without the need for manual decanting prior to off-Site disposal.

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Groundwater is pumped from a total of 12 mercury removal wells, source area wells, and
hydraulic control wells installed in 2001 and distributed through the South Plant; the extracted
water is treated in the GWTP. Typical treatment plant flows are 442 gallons per minute 1 (gpm).
The SVE system includes eight wells installed in 2009 and 2013. The SVE wells are located in
the former chloromethane products (CMP) area. The SVE system draws approximately 200 to
300 standard cubic feet per minute of soil gas. Water from these wells is treated through bag
filters for sediment removal, and then combined with the condensate from a vapor-liquid
separator. The combined liquid stream is then discharged to the equalization tank for VOC
treatment through the GWTP. Vapor from the SVE wells is combined with the vapor stream
from the GWTP air stripper for treatment via the catalytic oxidizer and a combined quench
chamber and caustic scrubber system.

Waste streams for the combined GWTP and SVE system include the following:

        • Treated wastewater flows to the stilling pond then is ultimately discharged to the Ohio
        River via Outfall 001 per the 2000 WV Order, which is not specific to State statutory
        limits.
        • Air emissions from the catalytic oxidizer, which will be evaluated to be in compliance
        with ARARs during the Interim Remedial Action.
        • Non-hazardous sludges from the clarifier system.
        • Bag filters used to filter SVE condensate, which contain characteristically hazardous
        sediment due to solvent presence.
        • Non-hazardous Stilling Pond sediments removed and disposed off-Site approximately
        every five years to maintain pond capacity.

All wastes disposed of off-Site are transported to appropriately licensed facilities for disposal.
The treated water is ultimately discharged to the Ohio River in accordance with the requirements
of the 2000 WV Order.

        2.2.2 Private Party Actions

              2.2.2.1    Olin Corporation

In the mid-1980s, Olin conducted a phased decommissioning of the processing facilities and
equipment on the Olin Area. By 1989, the equipment had been removed and all buildings
demolished. On September 29, 1994, EPA and Olin entered into an Administrative Order By
Consent for Removal Response Action, Docket No. III-94-29-DC (“1994 Olin AOC”), to
investigate the contamination in the Olin Area and propose a removal action. Pursuant to the
1994 Olin AOC, Olin conducted an Engineering Evaluation and Cost Analysis (EE/CA) of the
Olin Area. Olin submitted to EPA a draft EE/CA Report in July 2002 and a revised report in

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 The 442 gpm average flow represents a 12-month average and was calculated based on 2020 Discharge Monitoring
Reports submitted to EPA and WVDEP using the Monthly Average Flow value.

                                                     3
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February 2005. Olin submitted an addendum to the revised EE/CA Report in November 2006,
including both the North and South Plant areas which by this time were owned by only
Honeywell and Olin. EPA approved the revised EE/CA Report and Addendum by letter dated
April 25, 2007. Based on the findings of the investigation, EPA recommended that contaminated
soils be excavated and placed in the north cell of an on-site landfill.

On June 18, 1997, EPA and Olin entered into an Administrative Order By Consent for Removal
Response Action, Docket No. III-97-95-DC (“1997 Olin AOC”). The 1997 Olin AOC required
Olin to conduct the removal action selected by EPA based on the EE/CA submitted pursuant to
the 1994 Olin AOC. The 1994 Olin AOC was completed on April 25, 2007. Pursuant to this
action, Olin excavated approximately 100,000 cubic yards of contaminated soils which were
placed in the north cell of the on-site landfill during the winter and spring of 2008.

On September 24, 2001, EPA entered into an Administrative Order on Consent for Remedial
Investigation/Feasibility Study, Docket No. CERCLA-03-2001-0323 (“2001 RI/FS AOC”), with
both Honeywell and Olin. The 2001 RI/FS AOC required “the preparation of, performance of,
and reimbursement for all costs incurred by EPA in connection with a Remedial
Investigation/Feasibility Study” (RI/FS) at the Site. The RI/FS addressed groundwater and any
soils that were not examined under the EE/CAs conducted at the Site and included both the
North and South Plant areas which in 2001 were owned by only Honeywell and Olin.
Groundwater and soil data were compiled into an RI/FS work plan. The RI was approved in July
2018, and the FS accepted on March 5, 2020.

Olin, Honeywell, and Caiman executed an Environmental Covenant (“Covenant”) on August 15,
2011 to “impose certain activity and use limitations on” and to grant rights of access to the Olin
Area. Pursuant to the Covenant, the parties agreed that portions of the Olin Area “shall be used
solely for commercial and/or industrial purposes” and forbade any residential, recreational, and
agricultural use as well as the construction of any hotel, school, or child care facility on any part
of the Olin Area. On August 22, 2011, Olin Corporation sold its property to Caiman Energy,
which redeveloped the property for use as a natural gas processing facility; the facility was sold
to Williams Partners on April 30, 2012. Despite this development, for the purposes of the RI/FS,
the northeastern parcel is still referred to as the Olin Area.

             2.2.2.2 Honeywell (formerly Allied)

In 1977 and 1978, Allied commissioned groundwater studies of the South and North Plants,
respectively, which identified groundwater “severely contaminated with organic and inorganic
compounds.” Allied already had several pumping wells (“Ranney Wells”) used to draw water for
use in plant operations. During the investigation, Allied installed and sampled numerous
monitoring wells. Using well sampling data and available literature, the studies identified waste
ponds, piles, landfills, pits, and lagoons used by Allied to dispose of its waste from its
manufacturing processes as the source of groundwater contamination. The commissioned studies
suggested that continued pumping of Ranney Wells A and B would contain the contamination.
Allied closed the ponds and piles in accordance with the State’s requirements. In 1980, Allied
provided EPA with Notification of Hazardous Waste Site for the South Plant as required by
CERCLA Section 103(c).

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On March 8, 1995, EPA and Allied entered into an Administrative Order on Consent for
Removal Response Action, Docket No. III-93-55-DC (“1995 Allied AOC”), requiring Allied to
take action to “identify, segregate, remove, and properly dispose of all hazardous substances on
the Hanlin and Allied Park Areas of the Site contained in tanks, vessels, process lines, drums,
cylinders, or other containers which may be stored on the Site.” The 1995 Allied AOC also
required Allied to address mercury contamination at and from the mercury cell building,
maintain operation of the Ranney wells, and conduct an EE/CA at the “Hanlin-Allied Area.”
Allied demolished the mercury cell building and removed 550,000 cubic yards of solid and
hazardous waste material from the South Plant, completing four required Response Action Plans
and submitting the EE/CA Report in December 2001. Honeywell submitted an Addendum to the
EE/CA Report in February 2002. EPA approved the EE/CA by letter dated May 20, 2002.

On September 24, 2001, EPA entered into an Administrative Order on Consent for Remedial
Investigation/Feasibility Study, Docket No. CERCLA-03-2001-0323 (“2001 RI/FS AOC”), with
both Honeywell and Olin, described earlier. The RI was approved in July 2018, and the FS
accepted on March 5, 2020.

On August 16, 2002, EPA and Honeywell entered into a 2002 Honeywell AOC. The 2002
Honeywell AOC required Honeywell to perform several tasks, including designing and
constructing a hazardous waste landfill, excavating and consolidating waste material from
several former land disposal units into the landfill, and designing and constructing an SVE
system to remediate contaminated subsurface soils in the former production area.

Honeywell completed construction of the landfill in August 2009. The landfill (On-Site Disposal
Facility or OSDF) consists of two cells with an engineered liner and leachate collection system
and a multi-layer cap. All waste placed in the landfill was from on-site sources generated during
Allied, Olin, LCP, and Hanlin operations. The landfill did not receive wastes from off-site
sources. Honeywell installed an SVE system in the summer of 2009 to treat contaminated
subsurface soils in the former chloromethane production area. Operation of the SVE is ongoing,
and O&M of the OSDF is still ongoing.

             2.2.2.3   LCP Chemicals-West Virginia/Hanlin

On March 19, 1987, EPA and LCP-WVA entered into an Administrative Order on Consent
under Section 3008(h) of the Resource Conservation and Recovery Act (RCRA), Docket No.
RCRA-III-006-CA (“1987 LCP AOC”), pursuant to which LCP-WVA agreed to conduct a
hydrogeologic investigation of the Hanlin Area/South Plant and submit a corrective measure
study, design, and implementation program in response to a release of hazardous waste into the
environment. By letter dated November 27, 1991, EPA found LCP-WVA, by then known as
Hanlin, in violation of the 1987 AOC.

On September 1, 1989, EPA and LCP-WVA entered into an Administrative Order by Consent,
Docket No. III-89-34-DC (“1989 LCP AOC”) to conduct a Removal Action to address a spill of
sulfuric acid on the Hanlin Area of the site. LCP-WVA developed a Remedial Work Plan which
EPA approved on July 3, 1990. On July 10, 1991, LCP-WVA, by then known as Hanlin, filed for

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protection from its creditors pursuant to Chapter 11 of the U.S. Bankruptcy Code and ceased its
clean-up efforts at the Site under the 1989 LCP AOC. On September 3, 1992, EPA notified
Hanlin that it was in violation of the 1989 LCP AOC.

On August 4, 1995, EPA and Hanlin entered into an Administrative Order on Consent for
Removal Response, Docket, No. III-93-55-DC (“1995 Hanlin AOC”) to conduct a Removal
Action to “identify, segregate, remove, and properly dispose of all hazardous substances on the
Hanlin Area of the Site contained in tanks, vessels, process lines, drums, cylinders, or other
containers….” The 1995 Hanlin AOC also required Hanlin to address mercury contamination at
and from the mercury cell building, maintain operation of the Ranney wells, and conduct an
EE/CA at the Hanlin Area.

In 1998, Allied acquired certain portions of Hanlin’s assets from the bankruptcy estate. On April
27, 1998, pursuant to a settlement in the U.S. Bankruptcy Court for the District of New Jersey
(“the Bankruptcy Settlement”), the United States agreed to resolve its bankruptcy claim against
Hanlin in exchange for Allied assuming Hanlin’s liability. The Bankruptcy Settlement
acknowledged that Allied agreed to assume Hanlin’s environmental liabilities for the Site. The
Bankruptcy Settlement incorporates an agreement between Hanlin and Allied in which Allied
expressly recognized and reaffirmed its continuing obligations at the Site and stated that the
Bankruptcy Settlement does not discharge or otherwise reduce its obligations under the
incorporated agreement.

       2.2.3 EPA Actions

In March 1980, EPA completed a preliminary assessment of both the North and South Plants.
EPA made a Determination of a Threat to Public Health or Welfare or the Environment at the
Site and oversaw work performed by LCP-WVA pursuant to the 1989 LCP AOC. On September
19, 1990, EPA conducted a preliminary assessment of the Hanlin Area. On March 25, 1994, EPA
made a Determination of Imminent and Substantial Endangerment at the Site. Since 1994, EPA
has overseen work conducted by Olin and/or Honeywell pursuant to the 1994 Olin AOC, the
1995 Allied AOC, the 1997 Olin AOC, the 2001 RI/FS AOC, and the 2002 Honeywell AOC. On
July 22, 1999, EPA listed the Site on the National Priorities List (NPL) (55 Fed Reg. 39878). On
September 27, 2007, EPA approved a Request for exemption to the $2 million statutory limit for
a CERCLA Non-Time Critical Removal Action at the Olin Area.

3.0    COMMUNITY PARTICIPATION
The Proposed Plan for this ROD, Interim and Final Remedial Actions for OU1, and the entire
AR can be viewed online at https://semspub.epa.gov/src/collection/03/AR66453, or in-person at
the EPA Region III Records Center in Philadelphia, Pennsylvania, and in-person at the
Moundsville Library in Moundsville, West Virginia. The Proposed Remedial Action Plan
(PRAP) was released for public comment on July 10, 2020. EPA held a 30-day public comment
period from July 10, 2020 through August 8, 2020 and held a live, online public meeting to
discuss the proposed actions on July 23, 2020. Two (2) citizens and three (3) potentially
responsible party (PRP) employees attended the meeting; however, no elected officials attended
the public meeting. Comments were submitted to EPA during the comment period by the PRP.

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A summary of the public comments is included in the Responsiveness Summary as a part of this
ROD.

4.0    SCOPE AND ROLE OF RESPONSE ACTION
The alternatives presented in this ROD constitute an interim remedial approach for South Plant
alluvial groundwater and a final remedy for Shallow Soils, the former Mercury Cell Building
area, and Hanlin Area sewers at the Site. Additional information is needed to screen and evaluate
alternatives for bedrock groundwater, Site-wide alluvial groundwater and the Ohio River, which
are all part of OU2. The final remedy for Site-wide groundwater (including South Plant alluvial
groundwater covered under this interim remedial action) and the Ohio River will be selected in a
future decision document.

The Interim Remedial Action selected in this ROD is intended to prevent current and potential
future exposure to alluvial South Plant groundwater and soil vapors through a combination of
containment, treatment, and institutional controls until a final remedy can be selected. Through
the use of treatment technologies, this interim remedy will prevent alluvial groundwater in the
South Plant Area from discharging directly to the Ohio River at unacceptable levels and reduce
the toxicity, mobility, and volume of contaminants in South Plant groundwater. The Interim
Remedial Action will be protective of human health and the environment in the short term and is
intended to provide adequate protection until a final remedy for the Site-wide groundwater is
selected. Although this interim action is not intended to address fully the statutory mandate for
permanence and treatment to the maximum extent practicable, the interim action will utilize
treatment and thus supports that statutory mandate. Because the interim action does not
constitute the final remedy for the alluvial South Plant groundwater, the statutory preference for
remedies that employ treatment that reduces toxicity, mobility, or volume as a principal element,
although partially addressed by this selected interim remedy, will be addressed by the final
response action.

The Final Remedial Action will prevent current and potential future exposure to contaminated
Shallow Soils, mercury releases from the former Mercury Cell Building area, and former Site
sewer lines through a combination of excavation, containment, treatment and institutional
controls. Through the use of treatment technologies, this final remedy will permanently reduce
the toxicity, mobility, and volume of contaminants in Site soils and sewers that are removed to
the extent practicable.

5.0    SITE CHARACTERISTICS
5.1   GENERAL PHYSIOGRAPHIC SETTING

Overviews of the area topography and surface features are provided in the Remedial
Investigation. The Site is located on a bend in the Ohio River (see Figure 1), named Round
Bottom, and consists of four main river terraces (i.e., the present location of the Ohio River, and
three ancient locations of progressively higher elevation). The river terraces are relatively level
strips of land that tend to parallel the course of the Ohio River and have average land surface

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elevations of approximately 640 ft, 660 ft, 690 ft, and 730 ft above mean sea level (MSL). Round
Bottom is bounded on the east by a steep valley bedrock wall that rises about 500 ft above Round
Bottom and ascends to an elevation of more than 1,200 ft MSL over a distance of about 0.5
miles. The upland areas are rugged terrain and are characterized by steep slopes and strong relief.

During the Hanlin and Allied Park Removal Actions, several Solid Waste Management Units
(SWMUs) were excavated but were not backfilled to original ground surface elevations. The
small brine pond that was excavated from the central portion of the Site, just north of the main
office building and parking lot, was also not restored to original grade. Rather, these areas were
backfilled and graded to a more limited extent and in a manner to promote stormwater drainage.
During the Olin Area Removal Action, several deep excavations were performed and the
excavations were backfilled to roughly original grade and to blend in with the surrounding
ground surface elevations. Another change to Site topography resulting from the Removal
Actions is the construction of the OSDF in the southwest corner of the Site. Figure 1a: Hanlin-
Allied-Olin Site Historical Timeline summarizes major activities at the Site. Additionally,
Conceptual Site Models can be found in Figure 1b and 1c.

5.2   GEOLOGY AND HYDROGEOLOGY

Alluvial deposits consist mostly of sand, gravel, and silt mixtures. One of the most important
characteristics affecting contaminant transport through these deposits is the hydraulic
conductivity, with the percentage of silt and clay (i.e., fines) in the soil matrix decreasing
conductivity and slowing transport. As a general observation, the alluvial system at the Site
exhibits a consistent zone of high-conductivity, clean sand and gravel in the deep saturated zone
in the western half of the Site. The high conductivity deposits are from past epochs of glaciation
when the early Ohio River received glacial outwash. Conversely, soils in the eastern half of the
Site and in the vadose and shallow saturated zones near the Ohio River are generally more
representative of flood plain deposits, having an increased heterogeneity and percentage of finer
grains, and lower hydraulic conductivities.

The alluvial deposits overlie Pennsylvanian-aged sedimentary bedrock of the Monongahela and
Conemaugh Formations. These are generally made up of sandstone, siltstone, shale, coal, and
limestone.

The hydrogeology beneath the Site consists of a highly productive alluvial aquifer connected to
an underlying bedrock aquifer that locally produces limited amounts of water. Local silty layers
in the alluvium create perched zones and semi-confined conditions in a few places. Former
production wells at the Site, the nearby Moundsville Country Club (MCC) irrigation well for
watering the golf course, and the two Washington Lands water-supply wells are installed in the
higher hydraulic conductivity outwash deposits.

The alluvial overburden throughout the Site can be laterally divided into two hydrogeologic
zones. The main zone, located in the western and southern portion of the Site, represents the
more permeable and relatively homogeneous deposits that lie along the central axis of the
alluvial valley. In contrast, the eastern zone is located closer to the side of the Ohio Valley and is
characterized by thinner alluvium and saturated thicknesses, a more steeply sloping bedrock

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contact, finer-grained soils, and delayed vertical drainage. The lithologic contrast between the
main zone and the eastern zone contributes to a sharp contrast in groundwater flow regimes. For
the South Plant, groundwater flow is strongly influenced by operation of the groundwater
extraction and treatment system, which was designed to hydraulically control plume migration
and to remove chemicals in both source and downgradient locations in the Hanlin Area of the
Site. Groundwater flow in the eastern and northern portion of the Site has not been fully
evaluated nor has the groundwater communication between the alluvial and bedrock aquifers.
This will be addressed in OU2.

5.3   SHALLOW (0-8 FT) SOILS

The Shallow Soils are defined as the soils that are present at 0-8 ft below ground surface (bgs)
and include soils in the Hanlin and Allied Park Areas of the Site (Figure 6a and 6b). Shallow
Soils are further subdivided into surface soils, 0-1 ft bgs, and intermediate soils (1-8 ft bgs).
Contaminants of Potential Concern (COPCs) were found in Shallow Soils at levels that exceed
EPA Regional Screening Levels (RSLs), including mercury and other target analyte list (TAL)
metals, polychlorinated biphenyls (PCBs), polycyclic aromatic hydrocarbons (PAHs), and
selected process-related constituents, such as North Plant Semi-Volatile Organic Contaminants
(SVOCs), in specific areas. The parameters that exceed RSLs with the greatest frequency include
mercury, PCBs, and benzo(a)pyrene equivalents. Higher mercury concentrations are associated
with several former process-related facilities, including the former Mercury Cell Building,
several disposal areas, the caustic storage area, the scrap yard area, and the hydrogen line to the
North Plant. PCB concentrations are correlated with former transformer/capacitor locations as
well as multiple SWMUs. PAHs are broadly distributed, with little association with specific Site
(former) process features. Arsenic and chromium concentrations are observed above their
respective RSLs throughout the Site in distributions that are similar to those of background
datasets.

Supplementary soil characterization and remedial activities have occurred following the
submittal of the Draft RI Report in 2012, including sampling to support potential Site
redevelopment activities, sampling and soil removal to address PCBs, and a study to characterize
mercury geochemistry. These studies were included in the Final RI which was approved by letter
on July 23, 2018 and can be found in the AR.

5.4   DEEP SOILS

Multiple phases of deep soils investigations in the North and South Plants have revealed the
presence of elevated concentrations of organic chemicals in the deep subsurface soils, principally
entailing CMPs in the South Plant and process-related VOCs (chlorobenzene, benzene) and
SVOCs (chlorinated benzenes, nitroaromatics, and aminoaromatics) in the North Plant. In deep
soils in the South Plant, VOC concentrations are highest in the vicinity of the former CMP
Production Area, the former drainage ditch, and the acid neutralization pond. In the North Plant,
SVOC concentrations are highest in the vicinity of the former Aniline/Nitrobenzene Area and the
MDA/DNT/TDA/TDI production area as well as several former SWMUs in Allied Park.



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5.5 FORMER MERCURY CELL BUILDING

The former Mercury Cell Building area covers approximately 49,000 square feet (SF) (slightly
more than 1 acre) in the middle of the Hanlin Area (Figure 7). A section of the eastern and
central portion of the former Mercury Cell Building area houses the Hanlin Area GWTP and
annex. Field observations indicate that elemental mercury is present in limited (i.e., bead-scale)
quantities in and beneath the former Mercury Cell Building.

Elemental mercury is primarily associated with foundation drainage features (e.g., drainage
trenches and sumps) and has been found at depths up to 12 ft below the foundation slab. The
concrete comprising the foundation drainage features is impacted with elemental mercury.
Comparison of the vertical migration of elemental mercury with observed soil lithology indicates
that fine soils tend to suspend mercury, whereas coarse soils may permit its transport. The effect
of mercury at this location on groundwater is lower compared to other mercury handling areas on
Site.

5.6   SEWERS

Historic plant drawings indicate that the Hanlin Area contains approximately 1,900 linear feet of
acid sewers; 5,600 linear feet of process sewer; 7,825 linear feet of sanitary sewer; and 1,640 ft
of storm drains that have not been decommissioned. Of the lines that underwent video
inspection, approximately half were found to be in good condition, with remaining lines
sustaining various types of degradation such as concrete weathering, cracks, holes, or joint
displacement. Elemental mercury was observed in soil in three general areas (Figure 8): (i) a
cluster of locations southwest of the former Mercury Cell Building, (ii) a cluster of locations
southeast of the former Mercury Cell Building, and (iii) a sanitary line along the main plant road.
There is no correlation between soil mercury concentration data and sewer location, and thus,
sewers do not contribute to actionable soil impacts in the Hanlin Area. Similar to mercury
observations, CMP impacts to CMP Production Area groundwater do not spatially correlate with
sewer locations.

5.7   SOUTH PLANT GROUNDWATER

CMPs and mercury are the principal contaminants observed in South Plant groundwater (Figures
9a, 9b and 9c). The CMPs and CMP by-products or impurities (Total CMPs) are chloromethane,
methylene chloride, chloroform, carbon tetrachloride, trichloroethene, and tetrachloroethene. The
occurrence of Total CMPs is centered at the location (see Figure 9a) of the former CMP
Production Area and extends in a bifurcated plume westward toward the Ohio River. CMPs and
mercury are present throughout much of the South Plant but are captured and removed by the
GWTP.

A capture zone analysis was conducted to confirm that the capture of contaminated groundwater
is occurring. This analysis demonstrated that the GWTP generally prevents continued migration
of contaminants off-site apart from a narrow margin along the Ohio River. Capture of alluvial
groundwater migrating to the Ohio River is dependent upon the location of an artificial
groundwater divide created between the GWTP extraction wells and the Ohio River. This

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groundwater divide is continually in flux due to temporal changes in both the Ohio River stage
and groundwater level in the alluvial aquifer. The Ohio River stage is lower in elevation than the
water level of the alluvial aquifer during average to low river flow conditions. This
hydrogeology causes groundwater to flow from the groundwater divide created by the GWTP on
the Site towards the river. As the river stage drops the gradient becomes greater, the artificial
groundwater divide created by the GWTP will move slightly inland. During high river flow
conditions, the groundwater divide effectively moves into the river, and the hydraulic gradients
between the river and Site reverse so that groundwater flow is inwards to the Site.

The GWTP provides capture in that there is no continued migration of contaminated alluvial
groundwater into this narrow discharge zone. The groundwater that does discharge to the Ohio
River contains contaminants that migrated into this margin prior to the installation of the current
GWTP or during periods of extended GWTP shutdown needed for past maintenance practices
(recent upgrades to the GWTP have eliminated the need for extended shutdowns for routine
maintenance). Contaminant discharge to the Ohio River may also be occurring due to the
interaction between the contaminated alluvial and bedrock groundwater systems with the Ohio
River. This interaction and any potential effect on the Ohio River will be further considered
under OU2. CMPs are present in the northern portion of the Moundsville Country Club at
concentrations that are several orders of magnitude lower than those of the South Plant alluvium.
For both the shallow and deep alluvial aquifers, mercury concentrations (see Figure 9b) above
the maximum contaminant level (MCL) are generally located in the immediate vicinity of chlor-
alkali process and disposal-related areas, with some influence from pumping wells observed.
Groundwater concentrations attenuate rapidly with distance from the process and disposal areas,
likely as a result of declining pH values at greater distances. SVOCs (see Figure 9c) in shallow
and deep alluvial groundwater are primarily found in the CMP Production Area extending
westward.

5.8   NORTH PLANT GROUNDWATER

For groundwater in the North Plant, the following constituents are the most widely distributed in
groundwater: 1,2-dichlorobenzene, 1,4-dichlorobenzene, 2,4-diaminotoluene, 2,6-
diaminotoluene, 2,4-dinitrotoluene, aniline, benzene, chlorobenzene, chloroform, and
nitrobenzene. North Plant-related contaminants are found predominantly in the shallow zone of
the North Allied Park Area (see Figure 4), whereas the deep alluvial zone groundwater plumes of
VOCs and SVOCs are more widespread.

5.9   METALS IN SITE-WIDE GROUNDWATER

The most frequent exceedances of risk-based screening levels for metals in groundwater are
associated with arsenic, manganese, iron, and cobalt, none of which have a known anthropogenic
source on the Site, with the exception of coal-fired power generation, which occurred both on-
Site and regionally.

A review of the distribution of the metals that exceed risk-based screening levels with the
greatest frequency indicates that metals concentrations are spatially associated with geochemical
master variables (i.e., pH and oxidation-reduction potential [ORP]) through established

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relationships of mobilization and immobilization. The presence of metals in Site groundwater is
expected based upon geochemical controls established in the scientific literature. Moreover, a
review of the distribution of metals along the south property line generally shows a pattern of
attenuating metals concentrations from process areas to the Site boundaries, which is expected,
based upon Site geochemistry; localized exceptions to this, such as iron on the south property
line, may stem from localized geochemical conditions in these areas (e.g., reduced ORP).

5.10 CONTAMINANT PRESENCE, FATE AND TRANSPORT

Mercury is the most notable process-related inorganic constituent in groundwater. It is located
close to process and disposal areas and locally mobilized in the presence of alkaline groundwater
conditions. A Site-specific partitioning coefficient (Kd) study was performed to support risk
assessment calculations; this study showed that mercury is substantially less leachable and
volatile than would be assumed using default modeling parameters.

VOCs (chloromethane, methylene chloride, chloroform, carbon tetrachloride, trichloroethene,
and tetrachloroethene) in the South Plant area are present in a concentration high enough to exist
as a dense non-aqueous phase liquid (DNAPL) and will likely have already percolated through
the unsaturated soil and into alluvial and bedrock groundwater. This will be further evaluated in
OU2. VOCs in the shallow soil and alluvial groundwater are subject to mass transfer to the
atmosphere through air exchange with soil gas. The fate and transport of SVOCs
(benzo(a)pyrene, dichlorobenzenes, toluenes, aniline, and nitrobenzene) are affected by the
physicochemical characteristics of the various COPCs. PCBs and pesticides are anticipated to
behave similarly from a fate and transport standpoint; both parameter groups are hydrophobic,
and as a result, infiltration via aqueous transport and lateral groundwater flow are not expected to
be significant transport mechanisms for these parameters.

Several attenuation mechanisms play a role in the distribution and fate of COPCs in
groundwater. The degree of sorption of organic COPCs is variable among contaminants, and the
amount of retardation in groundwater varies from almost no retardation for soluble parameters
such as 2,4-diaminotoluene to two orders of magnitude of retardation (i.e., retardation factors of
approximately 100) for dichlorobenzenes. Microcosm studies have shown that the majority of
South Plant COPCs are amenable to intrinsic degradation depending upon groundwater
geochemistry. South Plant COPCs can degrade anaerobically, particularly at lower
concentrations. The combination of groundwater extraction in the South Plant, source depletion,
intrinsic degradation, and volatilization on a Site-wide basis has led to a consistent pattern of
mass decrease in the South Plant. The North Plant groundwater will be evaluated in OU2.

6.0    CURRENT AND POTENTIAL FUTURE LAND USE AND
       RESOURCE USE
The Site is located 1 to 2 miles southwest of the City of Moundsville in Marshall County, West
Virginia, occupying approximately 382 acres along the west side of West Virginia State Route 2.
The Hanlin and Allied portions of the Site are currently vacant except for operations of the
wastewater treatment plant in the Hanlin area.

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Several potential projects have been proposed for the adjacent property to the South Plant. This
area has met industrial standards for cleanup and is not part of the NPL listed area. No reuse
project has come to fruition as of the date of this ROD.

On August 22, 2011, Olin Corporation sold its property, approximately 137 acres located on the
northeastern portion of the Site, to Caiman Energy, which redeveloped the property for use as a
natural gas processing facility; the facility was sold to Williams Partners on April 30, 2012.

The Moundsville Country Club (MCC) is located to the south of the Site. The MCC includes
workers and recreational land uses. Predominant use of this parcel is recreational (golf) and other
related activities such as shopping at the country club store and social gatherings.

Surface waters of the Ohio River adjacent to the Site are used primarily for industrial purposes,
although there are some recreational locations along the Ohio River for activities such as hiking,
fishing, birding and kayaking. Islands that are part of the Ohio River Islands National Wildlife
Refuge are located both upstream and downstream of the Site. There is also a floodplain area
adjacent to Captina Island, located downstream of the Site, that is part of the refuge.

Per the RI, the nearest groundwater public supply well is the Washington Lands Water Supply,
which provides drinking water for approximately 3,200 residents. The Washington Lands supply
consists of two wells located approximately 3,000 feet south of the Site and pump at a combined
rate of approximately 250,000-300,000 gallons per day (or approximately 175-210 gpm). The
MCC also operates a groundwater supply well that is used for irrigation purposes. The MCC well
is pumped up to approximately 250,000 to 280,000 gallons per day as needed during the months
of July to October. The MCC well is screened at 50-70 feet with an elevation of 590-610 ft
above MSL.

7.0    SUMMARY OF SITE RISK
During the RI/FS, a Human Health Risk Assessment (HHRA) and an Ecological Risk
Assessment (ERA) were conducted to determine the current and potential future effects of
contaminated media on human health and the environment in the absence of any cleanup actions
at the Site.

7.1   SUMMARY OF HUMAN HEALTH RISK ASSESSMENT

       7.1.1   Human Health Risk Assessment

The HHRA was conducted to characterize and quantify the current and potential future human
health risks that would occur if no remedial action were taken to address contaminated media at
the Site. The HHRA identifies the potential exposure pathways in which people may be exposed
to Site contaminants, the toxicity of the contaminants present, and the potential for carcinogenic
and non-carcinogenic effects to occur from exposure to the contaminants.



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The Reasonable Maximum Exposure (RME) was estimated to reflect the highest exposure that
could reasonably be anticipated. The RME, which is typically the basis for decision making in
the Superfund program, is a more protective exposure level than the Central Tendency Exposure
(CTE), which is also estimated as part of the uncertainty assessment) but is a lower exposure
than a “worst-case” scenario would be.

Risks for the potential to develop cancer were estimated as probabilities; EPA has set a target
risk range of 10-4 to 10-6 (also expressed as 1E-4 to 1E-6) for a lifetime excess carcinogenic risk.
For risks other than cancer, the Hazard Index (HI) was derived; when the HI is 1 or less, adverse
effects are not expected. When the HI exceeds 1, adverse effects do not necessarily occur but can
no longer be ruled out. Therefore, EPA’s goal is to cleanup sites to result in HIs at or below 1. In
addition, only chemicals that affect the same organ systems (“target organs”) are truly considered
additive for purposes of calculating an HI. Therefore, when a total HI exceeds 1, the data are
further examined to see whether site conditions pose an HI above 1 for any individual target
organ.

Chemicals that contribute significantly to cancer risks above 1E-4 or HIs above 1 are called
chemicals of concern (COCs); these are the chemicals that warrant remedial action. Carcinogenic
risks and non-carcinogenic hazards were found to be at or in exceedance of regulatory thresholds
for the following exposure scenarios.

               7.1.1.1    Soils HHRA

The HHRA evaluated the potential exposure of human receptors to constituents detected in
environmental media at the Site. The future use of the land was reasonably anticipated to be
commercial or industrial, which could also include construction and excavation activities. Risks
posed to trespassers were also evaluated. Residential use of the land is not anticipated and was
not evaluated; institutional controls are expected to ensure that the Site will not be used for
residential purpose. For the purposes of the HHRA, the Hanlin-Allied Area soils were
subdivided into six (6) exposure units 2 (EUs): Operations Area, Central Area, Hanlin Floodplain,
Allied Park Floodplain, Cell Building, and Southeastern Area.

The HHRA incorporated site-specific soil adsorption coefficients (Kd) determined from field
data, which helped identify to what extent the mercury in soil could volatilize. Assumptions
about mercury volatilization were critical to assess which areas mercury is a COC for human
health.

The HHRA supports the following conclusions in these Site areas:

                                                Operations Area




2
  The exposure unit is a geographic area within which a receptor comes into contact with a contaminated medium
during the exposure duration. The exposure unit is defined based on the receptor, the medium, and the nature of the
receptor’s contact with the medium.

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The Operations Area is currently used for operations and maintenance; this use will likely
continue in the foreseeable future. While there is the potential for industrial development of
small portions of the Operations Area, a scenario that was evaluated in the HHRA, such use
would be limited due to the presence of the OSDF cells, GWTP, SVE system, and several
remaining SWMUs.

The potential RME cancer risks and HIs for the Operations Area are summarized below for each
receptor:

                                        Operations Area
                                                                        Max Target
      Receptor               Media (ft bgs)               CR       HI    Organ HI         COC
 Industrial/             Surface soil (0-1)             4E-5   2        1
 commercial worker
 O&M worker              Surface soil (0-1)             3E-5   1
 Construction/           Shallow soil (0-8)             8E-6   8        7              PCBs
 excavation worker
 Trespasser              Surface soil (0-1)             1E-5   0.7

No unacceptable cancer risks (CR) were associated with current or future scenarios. The total HI
exceeded 1 for the current and future industrial workers, but the target-organ-specific HI did not
exceed 1; therefore, this was not a pathway of concern. The HIs exceeded 1 for future
construction workers due to PCBs in shallow soil. The primary target organs were the immune
system, skin and eye. Therefore, the only COC associated with soil in the Operations Area was
PCBs.

Also, within this exposure unit, potential hot spots were examined to confirm that the area-wide
risk calculations did not substantially underestimate risks. Detected concentrations of mercury
above the area-wide average were observed in a few locations in the Operations Area.

Additionally, within the remaining cells of the SWMU J area, elevated concentrations of arsenic
and thallium were observed. These areas are considered to have low redevelopment potential,
due to institutional and logistical constraints such as the high level of routine O&M activities in
the Mercury Cell Building and SWMU J vicinity, the presence of an SVE system in the CMP
Production Area, encapsulation of the waste in SWMU J, and the covenant with the State of
West Virginia forbidding intrusive activities within SWMU G. Institutional controls included in
the Final Remedial Action selected in this ROD will appropriately restrict the areas for intrusive
redevelopment.

                                              Central Area

Portions of the Central Area are currently used for O&M purposes. There is the potential for
industrial redevelopment of this area.




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The potential RME cancer risks and HIs for the Central Area are summarized below for each
receptor:

                                           Central Area
                                                                             Max Target
      Receptor               Media (ft bgs)             CR          HI       Organ HI        COC
 Industrial/             Surface soil (0-1)           3E-5      1
 commercial worker
 O&M worker              Surface soil (0-1)           2E-5      0.9
 Construction/           Shallow soil (0-8)           2E-6      2            1
 excavation worker
 Trespasser              Surface soil (0-1)           9E-6      0.3

No unacceptable cancer risks were associated with current or future scenarios. The total HI
exceeded 1 for the future construction worker, but the target-organ-specific HI did not exceed 1;
therefore, this was not a pathway of concern. All other HIs were at or below 1. Therefore, there
are no soil COCs for the Central Area.

                                         Hanlin Floodplain

The Hanlin Floodplain consists of soils that are inundated or saturated at some point during the
year. Due to the nature of the floodplain and the recent flood events in past years, this area is not
currently used for industrial/commercial purposes and is not expected to be used for
industrial/commercial purposes in the foreseeable future. Limited O&M activities occur in the
Hanlin Floodplain Area.

The potential RME cancer risks and HIs for the Hanlin Floodplain are summarized below for
each receptor:

                                        Hanlin Floodplain
                                                                          Max Target
      Receptor               Media (ft bgs)             CR      HI         Organ HI         COC
 Industrial/             Surface soil (0-1)           6E-5     2         1
 commercial worker
 O&M worker              Surface soil (0-1)           5E-5     1
 Construction/           Shallow soil (0-8)           4E-6     4         2                PCBs,
 excavation worker                                                                        Manganese
 Trespasser              Surface soil (0-1)           2E-5     0.9

No unacceptable cancer risks were associated with current or future exposure scenarios. The
total HI exceeded 1 for the future industrial/commercial worker, but the target-organ-specific HI
did not exceed 1; therefore, this was not a pathway of concern. The HIs exceeded 1 for future
construction workers due to PCBs and manganese. The primary target organs were the immune
system, eye, and skin for PCBs, and the central nervous system, which also poses a maximum HI
exceeding 1 due to manganese. However, manganese concentrations are either within

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background levels, or are associated with two locations close to the riverbank that are unlikely to
be disturbed in a construction scenario. Additionally, the PCB-driven hazard stems from one
sample with elevated concentrations of PCBs in a location within the Stilling Pond, which is
protected from construction encounter by the pond itself, the subaqueous geosynthetic cover
installed during the removal action, and steep embankments and fencing surrounding the pond.
Therefore, the manganese and PCBs are either unlikely to pose an unacceptable risk because the
contamination level is within background levels at most locations for manganese, or the exposure
pathway for both manganese and PCBs is unlikely to be completed, given the location of the
contaminants in Site soils and likely future land use. The only COCs associated with soil in the
Hanlin Floodplain were PCBs and manganese.

Also, within this exposure unit, potential hot spots were examined to confirm that the area-wide
risk calculations did not substantially underestimate risks. Elevated arsenic and mercury
concentrations relative to area-wide averages were observed in SWMUs E1, E2, and M. These
locations were disposal areas that were largely removed during the removal action. Because of
the high level of vegetation and the floodplain’s lack of development potential, institutional
controls included in the Final Remedial Action selected by this ROD will appropriately restrict
the area for intrusive redevelopment. Elevated mercury concentrations were noted in subgrade
soils in the Hanlin Floodplain’s Stilling Pond, which underwent removal and closure with a
geosynthetic clay liner cover. Subgrade soils will not be exposed because this feature is still
used in plant operations; a chain-link fence surrounds it and the liner covers it. There is also a
steep drop of approximately 10 ft from the surrounding floodplain to the pond water level.
Long-term protection of these measures will be ensured with institutional controls.

                                      Allied Park Floodplain

The Allied Park Floodplain consists of wet soils to a degree for some period of the year. Due to
the nature of the floodplain and the recent flood events in past years, this area is not currently
used for industrial/commercial purposes, and this land use will likely continue in the foreseeable
future. Limited operations and maintenance activities occur in the Allied Park Floodplain Area.

The potential RME cancer risks and HIs for the Allied Park Floodplain are summarized below
for each receptor:

                                     Allied Park Floodplain
                                                                        Max Target
      Receptor               Media (ft bgs)            CR          HI   Organ HI          COC
 Industrial/             Surface soil (0-1)          4E-5      1
 commercial worker
 O&M worker              Surface soil (0-1)          2E-5      0.7
 Construction/           Shallow soil (0-8)          4E-6      2        1
 excavation worker
 Trespasser              Surface soil (0-1)          1E-5      0.5




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No unacceptable cancer risks were associated with current or future exposure scenarios. The
total HI exceeded 1 for future construction/excavation workers; however, target organ-specific
hazards did not exceed the acceptable threshold of 1. All other HIs were 1 or less. Therefore,
there were no soil COCs for the Allied Park Floodplain.

                                         Southeast Area

The Southeast Area is not currently used for industrial/commercial purposes, although this land
use may change in the foreseeable future.

The potential RME cancer risks and HIs for the Southeast Area are summarized below for each
receptor:

                                        Southeast Area
                                                                      Max Target
       Receptor              Media (ft bgs)          CR         HI     Organ HI        COC
 Industrial/             Surface soil (0-1)       1E-5        0.2
 commercial worker
 O&M worker              Surface soil (0-1)       8E-6        0.1
 Construction/           Shallow soil (0-8)       1E-6        0.2
 excavation worker
 Trespasser              Surface soil (0-1)       5E-6        0.08
All risks were within the acceptable range. Therefore, there were no soil COCs for the Southeast
Area.

                                 Former Mercury Cell Building

Two-thirds of the Former Cell Building area is covered by the GWTP, Site office building, and
treatment plant annex. The western third of the Cell Building is the remaining concrete slab.
Risk estimates are primarily derived from soil data underneath the concrete slab. Beads of
mercury have been visible in the Mercury Cell Building area.

The potential RME cancer risks and HIs for the Former Mercury Cell Building are summarized
below for each receptor:

                                Former Mercury Cell Building
                                                                      Max Target
       Receptor             Media (ft bgs)            CR       HI     Organ HI         COC
 Industrial/            Surface soil (0-1)          6E-6     0.3
 commercial worker
 O&M worker             Surface soil (0-1)          4E-6     0.1
 Construction/          Shallow soil (0-8)          3E-6     6        6              Mercury
 excavation worker
 Trespasser             Surface soil (0-1)          3E-6     0.09


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No unacceptable cancer risks were associated with current or future scenarios. The HIs
exceeded 1 for future construction workers. The primary target organ for non-cancer effects was
the central nervous system, with mercury as the only COC. All other HIs were within the
acceptable range. Therefore, the only COC associated with soil at the Former Mercury Cell
Building was mercury.

             7.1.1.2   Groundwater HHRA

The OU1 groundwater HHRA was originally intended to evaluate the potential exposure of
human receptors to constituents detected in alluvial groundwater beneath the Site as well as off-
Site alluvial groundwater beneath the northwestern portion of the adjacent MCC. Alluvial
groundwater was subdivided into three EUs (North Plant, South Plant, and off-Site) primarily on
the basis of current and reasonably anticipated future land use and COPC distribution. While a
preliminary evaluation was conducted, EPA concluded that the groundwater warranted further
study before a final remedy could be selected. For example, the interconnection of the alluvial
groundwater with bedrock groundwater and with the river has not yet been fully characterized.
Therefore, EPA focused the OU1 RI on soils and sewers, deferring a complete groundwater
assessment to a later operable unit.

Alluvial groundwater risks will be further assessed, along with its interconnections with bedrock
groundwater, in OU2. The final COCs, RAOs, and action for groundwater, if necessary, will be
selected in a future decision document.

However, one aspect of groundwater is being addressed in OU1, as an interim action. In 2002,
the GWTP was constructed to prevent the off-site migration of chemical constituents from
contaminated groundwater into the Ohio River, towards the MCC Golf Course and to the
Washington Lands Community Water Supply Wells. The need for this treatment was based on
several studies dating back to 1977 by Allied Chemical Corporation, which were submitted to
West Virginia demonstrating groundwater contamination and discharge to the Ohio River.
Contaminants included methylene chloride, chloroform, carbon tetrachloride, mercury,
nitrobenzene, m-dichlorobenzene, o-dichlorobenzene, chlorobenzene, 2,6- dinitrotoluene,
aniline, 2,4-dinitrophenol, and toluene-2,6-diamine.

For purposes of OU1, EPA and WVDEP agreed that continued operation of the GWTP with
upgrades to maintain containment of contaminated groundwater and to meet WVDEP discharge
standards is necessary and should be incorporated into an EPA decision document.

The preliminary alluvial groundwater HHRA showed that contaminants originally identified by
WVDEP continue to exist in the alluvial groundwater at concentrations of concern. The
continued operation of the GWTP and the groundwater extraction wells is necessary to prevent
any off-site migration of these contaminants while a final remedy for groundwater is being
determined.




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       7.1.2 Sewers

Three types of sewer lines exist at the Site: acid, process, and sanitary lines. All types of lines
were identified in the RI to have the potential to contain mercury (see Figure 10). Overall, 78
lines were identified for investigation either through desktop reconnaissance or identification in
the field during the RI and of which 49 total lines were confirmed to be present in the field. Of
the 49 lines found in the field, 32 were jetted (by high pressure water stream to dislodge
contents), and 38 underwent remote visual inspection (RVI). Trenching and ground-penetrating
radar were also used to investigate and confirm the presence of sewer lines. The sewer lines that
were identified by desktop reconnaissance but could not be confirmed in the field were expected
to be located in two general areas: the Chlor-Alkali process area and areas to the southwest (11
of 29 total unconfirmed lines); and the CMP Production Area and adjacent Vinyl Chloride
Process Area and Drum Storage Area (18 of 29 total unconfirmed lines). The sewer lines area
depicted in Figure 8. Additionally, due to obstructions within several lines, RVI could not be
performed for the entire length of the line. This investigation process was able to reduce the
amount of lines that need remediation due to the presence of mercury.

Five sewer segments, with a total length of approximately 790 feet, are impacted with visible
mercury at invert depths ranging from 3 to 10.5 ft bgs. The lone COC in the sewers is mercury.
Beads of elemental mercury have been observed within sections of the process sewer and
sanitary sewer as outlined in the RI Report. Direct-contact risks were not estimated for the
sewers; rather, they are considered as a potential source for contaminant migration. The sewers
contained mercury at one time and though not all have been individually evaluated, the potential
exists for all lines to have mercury. The sewer lines are not effective as containment based on
the evaluation that has been completed. The lines are interconnected and mercury has been
observed which serves as a potential source for contaminant migration justifies the need to have
them addressed.

7.2   ECOLOGICAL RISK ASSESSMENT SUMMARY

The ERA identified and evaluated six terrestrial ecological exposure areas, using a multi-step
process that allows for the identification of those Constituents of Potential Ecological Concern
(COPECs) with the greatest potential to pose unacceptable risk to ecological receptors. The first
step utilized protective media-specific screening criteria to identify COPECs for further
evaluation. COPECs were then evaluated using receptor-specific exposure assumptions and food
chain modeling. These steps comprise the Screening Level Ecological Risk Assessment
(SLERA).

Receptors selected for evaluation were chosen as representative of the different types of animals
and those which would ingest different types of food. The groups of animals for five of the
terrestrial areas were invertivorous birds, invertivorous mammals, and omnivorous mammals.
The groups selected for evaluation in the Wet Soils Area were invertivorous shorebirds and
amphibians. The Wet Soils Area is located within SWMU M that, unlike the other terrestrial
areas of the Site, retains standing water long enough throughout the year to attract different types
of wildlife.


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In the second step of the ERA the risks to avian and mammalian receptors were evaluated using
food chain models, which incorporate conservative exposure assumptions with literature-derived
dietary effects estimates. For amphibians, dietary effects estimates could not be calculated;
therefore, risks were quantified using ecological screening values. Although COPECs and
magnitude of hazard quotients (HQs) varied among exposure areas, the SLERA identified
potential risks to birds and mammals from exposure to contaminants in soil in each ecological
exposure area. COPECs identified based on maximum lowest observable adverse effect level
(LOAEL) HQs include metals, PCBs, pesticides, SVOCs, and VOCs.

The SLERA was refined to identify and focus on COPECs and exposure areas which pose the
highest potential ecological impacts that would not otherwise be addressed by actions driven by
the need to address human health risk. The four areas identified are within the Hanlin and Allied
Park floodplains and include: (i) the footprint of former SWMU S, in Allied Park; (ii) the
vicinity of former SWMU M, in north Hanlin floodplain; (iii) the Stilling Pond vicinity, in the
south Hanlin floodplain; and (iv) the vicinity of former SWMU E1, in the south Hanlin
floodplain. The soil in the floodplain are identified in one of two ways. “Wet Soils” refers to the
soils in the vicinity of former SWMU M, discussed in item (ii) above. All other floodplain soils
are referred to as “general floodplain soils”.

7.3   RISK ASSESSMENT SUMMARY

In summary, the soils and groundwater HHRA and ERA for the Site demonstrate the presence of
unacceptable risks to human health and the environment, and that remedial actions are necessary
to reduce the risks to within or below EPA’s acceptable risk range. Therefore, EPA has
determined that response actions are necessary to protect the public health, welfare, or the
environment from actual or threatened releases of hazardous substances into the environment.
This ROD selects a Final Remedial Action for Shallow Soils, the former Mercury Cell Building
Area, and the Hanlin Area sewers. However, because more information is needed to select an
appropriate remedy for site-wide groundwater, this ROD selects an Interim Remedial Action for
South Plant alluvial groundwater. North Plant groundwater is not addressed in this ROD.

7.4   IDENTIFICATION OF SITE MANAGEMENT AREAS

In the FS, areas that were identified in the risk assessment as being of potential concern were
further evaluated to assess appropriate remedial approaches to mitigate potential unacceptable
risks. In areas for which active soil management approaches are deemed necessary, iterative
truncation calculations were applied in the OU1 FS to develop Soil Management Areas (SMAs),
rather than deriving chemical-specific quantitative goals. Iterative truncation is a simplistic
approach to identify the soils that may be left in place within an EU such that the average
concentration within the EU is at or below the acceptable risk level.

In iterative truncation, high-concentration points for a given COC are iteratively removed from
the dataset (simulating, e.g., a removal of the highest contaminated soil and replacing with clean
fill), with risk estimates recalculated at each step, until the desired risk level is achieved. The
points removed in the analysis define the area of soil that must be managed; they are the
locations that drive the risk, and therefore they become the focus of remedial action.

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Human health-driven and ecologically-driven general floodplain soil SMAs were derived based
on attaining area-wide risk objectives through iterative truncation. The ecologically driven Wet
Soils SMA consists of five sample locations identified in an ecologically-based cleanup target
level screening using remediation areas consisting of 35 ft radius circles around each location.
The area defined by the circles was selected to be sufficient to mitigate ecological risk in the
vicinity of the samples with identified COPEC concentrations exceeding the target cleanup
levels.

Areas with unacceptable soils human health hazard include the Operations Area, with PCBs as
the lone COC. There is only one SMA in the Operations Area, and it has PCB impacts
(approximately 7,000 SF from 0-8 ft bgs, or approximately 2,000 CY).

PCBs and manganese were identified as COCs in the Hanlin Floodplain; however, because of the
limited extent of contamination and the existing obstacles to exposure, a complete pathway to
human receptors is unlikely under the expected future land use. Because the OU1 FS did not
conclude a need for human-health driven, active remediation areas in the Hanlin Floodplain, the
floodplain SMAs did not include the 0-8 ft horizon; the SMAs in the Hanlin Floodplain were
limited to 0-1 ft to address unacceptable ecological risk.

The ERA resulted in the identification of SMAs in the four areas of interest in the floodplain,
including SWMU S footprint general floodplain soils, SWMU M vicinity wet soils, SWMU E1
vicinity general floodplain soils, and the Stilling Pond area general floodplain soils (totaling
approximately 5 acres, each from 0-1 ft bgs, or approximately 7,500 CY).

The Former Mercury Cell Building Area, with mercury as the lone COC, was also found to
warrant an SMA. A portion of the Cell Building footprint is used for O&M (i.e., the GWTP and
Annex). This area will be used for this purpose for the foreseeable future. Institutional controls
(ICs) are selected as a component of the Final Remedial Action, (further described below in this
ROD), to maintain the existing structures in place to protect that portion of the Cell Building
area. Hence, the Cell Building remedy will primarily address the western portions of the
building footprint. The Cell Building management area is the exposed portion of the foundation
without structures, including the existing asphalt pavement to the north of the GWTP Annex.
The total area of the Cell Building management area is approximately 21,000 SF, which includes
approximately 550 linear feet of foundation trenches. The existing asphalt pavement is
approximately 4,000 SF of this management area. Elemental mercury is primarily associated
with foundation drainage features (e.g., drainage trenches and sumps) and has been found at
depths to 12 ft below the foundation slab. The concrete comprising the foundation drainage
features is also impacted with elemental mercury.

Additionally, soil is not intended for residential use, and the Site also contains several SWMUs
and covered areas that remain from previous removal actions; exposure to their contents is not
anticipated if the containment measures remain intact. Due to the current highly developed
character of all but the aforementioned areas in the floodplain, only intermittent and limited
exposure of ecological receptors is expected. ICs that appropriately restrict the areas for
intrusive development will be developed in the Remedial Design.


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Table 1 includes the Soil COCs for the North and South Plant Soils, Former Mercury Cell
Building Area, Wet Soils Area and the Sewers. Table 2 is a list of discharge limits for the
GWTP as provided by WVDEP. Both tables are in the Tables Section at the end of the
document.

7.5   BASIS FOR REMEDIAL ACTION

In summary, the soils and groundwater HHRA and ERA for the Site demonstrate the presence of
unacceptable risks to human health and the environment, and that remedial actions are necessary
to reduce the risks to within or below EPA’s acceptable risk range. Therefore, EPA has
determined that response actions are necessary to protect the public health, welfare, or the
environment from actual or threatened releases of hazardous substances into the environment.

A Final Remedial Action is required for Shallow Soils, the former Mercury Cell Building Area,
and the Hanlin Area sewers. The HHRA has identified mercury as the primary COC that poses
the greatest potential unacceptable risk to human health in the latter two areas; PCBs and
manganese are also COCs in shallow alluvial soils. The current and future anticipated land use is
commercial/industrial and potential exposed populations include current and future Site workers
and visitors.

The HHRA for the Site also demonstrates the presence of unacceptable risks to human health
and environment in alluvial groundwater. However, EPA will reevaluate the groundwater in the
future, in anticipation of a final remedy. At present, EPA finds that the existing groundwater
treatment should continue. Therefore, it has been determined that the implementation of the
Interim Remedial Action is necessary to protect human health and the environment from actual
or threatened releases of hazardous substances at the Site. More information is needed to select
an appropriate remedy for site-wide groundwater; only an Interim Remedial Action is being
selected for South Plant alluvial groundwater by this ROD.

In summary, the HHRA for the Former Mercury Cell Building area demonstrates the presence of
unacceptable risks to human health and environment. EPA has identified mercury as the primary
COC that poses the greatest potential unacceptable risk to human health in this area. The current
and future anticipated land use is commercial/industrial and potential exposed populations
include current and future Site workers and visitors.

The Sewers area is a source of mercury contamination, which poses an unacceptable risk to
human health and environment. EPA has identified mercury as the primary COC that poses the
greatest potential unacceptable risk to human health in this area. The current and future
anticipated land use is commercial/industrial and potential exposed populations include current
and future Site workers and visitors.

8.0    REMEDIAL ACTION OBJECTIVES
The following Remedial Action Objectives (RAOs) were developed to protect human health and
the environment from current and potential future risk at the Site.


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8.1       SOUTH PLANT GROUNDWATER INTERIM RAOS

In general, South Plant groundwater is primarily impacted by CMPs and mercury. South Plant
groundwater is currently treated by the Hanlin Area GWTP pursuant to WVDEP Order 4330.
Additionally, an SVE system was installed and operated as part of the 2002 Honeywell AOC to
reduce source contributions to South Plant groundwater. The following interim RAOs have been
identified for the South Plant alluvial groundwater exposure pathways:

            • Prevent off-Site migration at concentrations that pose an unacceptable risk to human
            health or the environment.
            • Prevent ingestion, dermal contact, or inhalation of volatile contaminants from
            contaminated groundwater, including but not limited to preventing potable use.
            • Reduce mass and associated COC concentrations in the vadose and saturated zones.

Final Site-wide groundwater RAOs including alluvial groundwater at the South Plant will be
established as part of OU2.

GWTP Discharge Objectives
The current operational GWTP discharges treated South Plant alluvial groundwater into the Ohio
River pursuant to a 2000 WV State Order and a 1985 WV NPDES permit. 3 Due to the
prioritization of Site soil source removal actions, groundwater media has not been a direct focus
of past removal actions. Although continued soil source removal is a major component of the
Final Remedial Action, EPA intends to facilitate the transition to groundwater remediation by
also selecting an Interim Remedial Action that will contain and treat groundwater contaminant
sources in the South Plant alluvial groundwater. The Interim Remedial Action will incorporate
the current operational GWTP with two major exceptions: 1) the GWTP will be significantly
upgraded, using an array of treatment options, to better treat COCs extracted from the alluvial
groundwater, and 2) the discharge from the GWTP into the Ohio River will comply with current
NPDES levels, which are orders of magnitude more protective than the discharge levels
permitted by the State’s 1985 NPDES permit.

Due to the complex nature of the COCs addressed by the GWTP, upgrades to the GWTP will
employ a phased approach to arrive at the best mix of treatment options. This phased approach is
expected to take no more than 5 years 3 months to implement. To facilitate this methodology and
to meet the WVDEP total mercury discharge limit of 0.14 micrograms per liter ȝJ/ WKH
requisite GWTP’s end-of-pipe compliance point will be temporarily measured at an alternative
compliance point through samples taken at the Stilling Pond in the South Plant (the GWTP end-
of-pipe discharge will release into the Stilling Pond). Finally, any discharge into the Ohio River
will meet a total mercury discharge limit of ȝJ/DWWKHERXQGDU\ of a temporary mixing
zone that will be established by WVDEP and EPA. 4 These temporary adjustments to the requisite


3
    The existing GWTP was recently upgraded to reduce system downtime and improve the efficiency of the removal of settled solids.
4
   Currently, WV’s goal is to reduce the use of mixing zones as a tool in measuring compliance with NPDES discharge limits but would exercise
its enforcement discretion to allow the use of a temporary mixing zone for purposes of this Interim Remedial Action.

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standards of using the Stilling Pond and the end of a mixing zone as alternative compliance
points will end prior to but no later than 5 years and 3 months from the issuance of the OU1
ROD. 5 Once the upgrade to the GWTP is complete, total mercury discharges measured from the
requisite GWTP’s end-of-SLSHFRPSOLDQFHSRLQWPXVWPHHWWKHȝJ/OLPLW6HH7DEOH for a
complete list of GWTP Discharge Limits.

In summary, the Interim Remedial Action will meet the following objectives:

           • Achieve 0.14 ȝg/L total mercury at the end-of-pipe discharge, which is the WVDEP
           water quality standard for protection of human health. This goal will be temporarily
           evaluated for up to 5 years using the monthly average mercury concentration of the
           samples collected from the current Stilling Pond compliance point.
           $FKLHYHȝJ/WRWDOPHUFXU\DWWKHERXQGDU\RIDWHPSRUDU\PL[LQJ]RQH
           $FKLHYHȝJ/L total mercury at the end-of-pipe discharge within 5 year and 3month
           schedule.

8.2     SHALLOW SOILS [NORTH AND SOUTH PLANT SOILS (0-8 FEET)] RAOS

Shallow soil impacts at the Site are generally located in the South Plant. Allied Park soil impacts
were largely addressed in the 1995 Allied AOC and the HHRA and the Ecological Risk
Assessment demonstrated that no further action is necessary for these COCs, except for one
ecologically-driven area. South Plant soil COCs include PCBs for human health endpoints and
metals, SVOCs, PCBs, and pesticides for ecological endpoints. In Allied Park, ecologically
driven COCs include metals, PCBs, VOCs, and SVOCs. The following RAO has been identified
for the North and South Plant Soils exposure pathways (0-8 ft):

           • Prevent direct contact exposures (ingestion, dermal contact, and inhalation) from
           contaminated Shallow Soils at concentrations that pose an unacceptable risk to human
           health or ecological receptors.

8.3 FORMER MERCURY CELL BUILDING AREA RAOS

The following RAOs have been identified for the Former Cell Building exposure pathways:

           • Prevent direct contact (ingestion, dermal contact, and inhalation) from contaminated
           surface and subsurface soils at concentrations that pose an unacceptable risk to human
           health or wildlife.
           • Contain mercury in its current location in the Former Cell Building area and subgrade to
           prevent migration into adjacent media (i.e., groundwater and air).


5
  Depending upon several factors, including but not limited to, the status of OU2’s remedial action, the success of the enhanced treatment
measures, and any unforeseen circumstances, Honeywell may request an extension of the use of a mixing zone following the end of the 5 year 3
months compliance period. EPA, in consultation with WVDEP, will make the unilateral decision whether to grant the request and, in its
discretion, select the duration of the extension. Moreover, at the end of the compliance period, EPA will evaluate the need for the continued use
or termination of the use of mixing zones consistent with the substantive requirements of NPDES permit renewal procedures.

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       • Remove and dispose off-Site all visible mercury (e.g., silver beads) wherever
       encountered.

8.4   SEWERS RAOS

The COC in the sewers is mercury. Beads of elemental mercury have been observed within
sections of the process sewer and sanitary sewer as outlined in the RI Report. The following
RAOs have been identified for the sewer exposure pathways:

       • Contain observed mercury within the sewer network to prevent migration into adjacent
       media (i.e., groundwater and air).
       • Prevent direct contact (ingestion, dermal contact, and inhalation) to on-site workers
       during disturbance of sewer lines for removal and proper off-site disposal.
       • Prevent migration of mercury from the sewer network to surrounding media by
       excavation and dispose of mercury and mercury-contaminated sewer lines that cannot
       meet the performance standard for grouting.

9.0    DESCRIPTION OF REMEDIAL ALTERNATIVES
CERCLA requires that any remedial action selected under CERCLA § 121 be protective of
human health and the environment, cost effective, in compliance with regulatory and statutory
provisions that are ARARs, and compliant with the NCP, to the extent practicable. Permanent
solutions to contamination, that reduce the volume, toxicity, or mobility of the contaminants
should be developed whenever possible. Emphasis is also placed on applying innovative
technologies to clean up the contaminants.

With this ROD, EPA is implementing the Interim and Final Remedial Actions for OU1 to
address contaminated groundwater, contaminated soils, sewers and the former mercury cell
building. The following Remedial Alternatives were evaluated in the FS and are summarized in
this ROD:

9.1   SOUTH PLANT GROUNDWATER

Table 3. South Plant Groundwater Interim Remedial Alternatives
 Alternative Description
      1        No Action
      2        Upgraded Groundwater Extraction and Treatment (+ SVE) (Figure 11)
      3        In-Situ Chemical Oxidation + SVE (Figure 12)
    Notes:     SVE = Air Sparging/Soil Vapor Extraction

COMMON ELEMENTS

Each of the remedial alternatives, with the exception of Alternative 1: No Action, include the
following common components: ICs, containment of South Plant alluvial groundwater, and

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groundwater and surface water monitoring for mercury and other COCs. Operation of the SVE
system will continue as part of the overall system.

ALTERNATIVE 1: No Action

The NCP, 40 C.F.R. Part 300, which governs Superfund response actions, requires that EPA
evaluate a “No Action” alternative for every NPL site to establish a baseline for the comparison
of alternatives. Under this alternative, the Site would remain in its present condition,
groundwater contamination would be subject to natural processes only and the existing
mitigation system would not be required to be operated, sampled and maintained.

ALTERNATIVE 2: Upgraded Groundwater Extraction and Treatment (+ SVE)

Alternative 2 includes upgrading the GWTP to achieve the following performance criteria (see
Figure 9d):

        • $FKLHYHȝJ/RIWRWDOPHUFXU\DWWKH*:73HQG-of-pipe discharge temporarily
        evaluated at the Stilling Pond alternative compliance point;
        $FKLHYHȝJ/RIWRWDOPHUFXU\DWWKHERXQGDU\RIWKHWHPSRUDU\PL[LQJ]RQHDQG
        • $FKLHYHȝJ/WRWDOPHUFXU\DWWKH*:73HQG-of-pipe discharge within 5 years and
        3 months of the issuance of the OU1 ROD. 6

This alternative would include upgrades to the GWTP to ensure removal of mercury to attain the
West Virginia direct discharge limit with continued operation of the current SVE system to
continue removal of soil vapor. The upgrades to the GWTP would include one or more of the
following technologies: Pre-Aeration, Multimedia Filtration, and Ion Exchange. It is not required
that all of the upgrades are implemented provided the GWTP improvements incorporated into
the remedial design would meet the performance criteria described above. Alternative 2 would
also meet the discharge limits for the COCs listed in Table 2. 7

Pre-aeration is a technology that was considered as a means of stripping out excess carbon
dioxide and displacing the headspace with air in the raw water tank to minimize the partial
pressure of carbon dioxide in contact with the raw water. Currently, it is suspected that excess
carbon dioxide in the raw water, present as carbonic acid, bicarbonate ions, and/or carbonate
ions, is effervescing out of solution upon contact with the ferric coagulant. The local acidity
generated from the coagulation-flocculation reaction 8 appears to provide the impetus for carbon
dioxide to form bubbles near the floc interface that are, in some cases, causing the floc to float
rather than settle, as intended for removal. Reducing the carbon dioxide by allowing it to off-gas

6
  If, due to good-faith negotiations, there is a delay exceeding 3 months between the ROD issuance and the entry of
the Consent Decree to implement the ROD, Honeywell may petition EPA to recuperate any time that cuts into the
remaining 5-year attainment period.
7
  Due to the nature of the Interim Remedial Action, EPA will consider alternatives to obtain the requisite COC
discharge standards which may include, but is not limited to, the use of mixing zones and other means of attainment.
8
  In water treatment, coagulation flocculation involves the addition of compounds that promote the clumping of
fines into larger “floc” so that they can be more easily separated from the water.

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within the raw water tank is anticipated to prevent mercury bound in coagulated solids from
breaking through into the clarifier supernatant due to incomplete settling. Basically, this process
will bind the material allowing for collection of the solids, which would in turn improve the
efficiency and the effectiveness of the clarification process.

Adding multimedia filtration downstream of the clarifier would remove mercury bound in
coagulated solids that did not settle during the clarification process. Its usefulness would have to
be assessed in coordination with the potential improvements available from pre-aeration.
Multimedia filtration was also considered as pretreatment to protect a potential downstream
polishing filter from occasional breakthroughs of suspended solids.

Ion exchange as a remedial technology would include adding a polishing filter that consists of
mercury-selective sacrificial ion exchange media to further remove mercury from the clarifier
effluent. Effectiveness of mercury removal from the polishing filter would depend on the
speciation of the mercury remaining in the clarifier effluent. It is anticipated that ionic forms of
mercury would be readily removed, while the removal efficiency of other species would be less
predictable and would need to be empirically assessed.

The GWTP will require study and upgrades to effectively extract COCs from the South Plant
alluvial groundwater and treat the extracted groundwater to ensure that the discharge meets the
water quality standard identified in the proposed RAOs. The following sequence of activities
related to the current GWTP would be conducted as a pre-design evaluation to determine the best
combination of technologies to achieve the treated water performance criteria.

Data Gap Assessment (2-3 months)
A desktop assessment would be performed to identify and resolve data needs to define the
treatment solution, such that a suitable list of candidate treatment options can be developed.
Data needs could include chemical complexation of mercury in the aquifer and supernatant of the
clarifier, as well as representative ranges of water quality (e.g., pH and alkalinity) for the influent
and effluent of the current GWTP system. This assessment is expected to take 2-3 months.

Desktop Engineering Evaluation (2-3 months)
A desktop engineering evaluation of in situ and ex situ treatment options would be
performed, utilizing any newly collected data, and screening out those technologies that
may not be capable of achieving the end-of-pipe treatment goal. A combination of
technologies may be utilized to achieve the objective. This evaluation is expected to take 2-3
months.

Bench-Scale Treatability Study (6-9 months)
The necessity of a bench-scale treatability study would depend on the results of the data gap
assessment discussed above and evaluation of treatment options. The objectives of the bench-
scale treatability study would include (i) confirming the best combination of treatment
WHFKQRORJLHVWRPHHWGLVFKDUJHFULWHULDRIȝJ/RIWRWDOPHUFXU\DWWKHWHPSRUDU\DOWHUQDWLYH
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zone, and to PHHWȝJ/DWWKH*:73HQG-of-pipe discharge within 5 years; and (ii)


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providing preliminary estimates of additive dosing and residence time requirements, as
applicable. This study is expected to take 6-9 months.

Field-Scale Pilot Study (12-18 months)
The selected treatment option(s) would likely require testing in the field to confirm if the water
quality standard can be met consistently for the GWTP discharge. Additionally, field pilot testing
would support improved estimates of system scale and associated costs. This study is expected to
take 12-18 months.

Design and Construction (24-30 months)
Following completion of bench-scale and field-scale testing, the upgraded GWTP would be
designed and constructed to implement the enhanced treatment to meet the performance
standards. This work is expected to take 24-30 months. The scope of the interim remedy
ultimately would depend on the outcome of the pre-design evaluation activities which will
determine the best combination of technologies to achieve the treated water discharge
performance criteria.

ALTERNATIVE 3: In-Situ Chemical Oxidation + SVE

This alternative (see Figure 12) involves the implementation of an in situ chemical oxidation
(ISCO) flow through injection barrier near the downgradient edge of the plume to replace the
hydraulic containment provided by the GWTP system. This alternative would include continued
operation of the existing SVE system (minus the GWTP air stripper component of the combined
vapor stream).

For purposes of analyzing this alternative, the treatment zone length for the ISCO barrier was
selected as the combination of the length of the reach along the Ohio River and southern property
boundary currently contained by the GWTP, estimated to be 3,000 linear feet north-south and
750 linear feet west-east, respectively. The design basis radius of influence (ROI) for injection
wells in the permeable alluvium is 25 ft, yielding a treatment zone width of approximately 50 ft.
The retention time of groundwater as it flows through the 50-ft-wide barrier was calculated to be
approximately 200 days, which would conservatively require up to two injection events per year.
The vertical treatment interval of 30 ft for the ISCO barrier was selected based on cross sections
of the total VOC and SVOC soil concentrations. To treat this interval, three injection wells, each
with 10-foot screens, would be required at each injection location (to approximate terminal
depths of 55, 65, and 75 ft bgs). Based on a conservative well nest spacing of 45 ft (for overlap),
this design would require 84 tri-nested well locations, or 252 total permanent injection wells.
%DVHဨDFWLYDWHGVRGLXPSHUVXOIDWHZLWKVRGLXPK\GUR[LGHDVWKHFDXVWLFDFWLYDWRUZDVVHOHFWHGDV
the presumptive reagent. Bench and/or field pilot testing would be performed to optimize the
oxidant selection and dosage. For each subsequent injection, it was assumed that 33% of this
dosage would be required, as the initial native oxidant demand would not be recharged with
incoming groundwater.

The injection volume was selected to be 75% of the total effective pore volume within the
treatment zone, assuming a 25% effective porosity. This percentage equates to approximately 7.9
million gallons of injection solution per event. It was assumed that injection events would

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proceed in one well interval at a time (i.e., in 84 locations simultaneously), then rotate to the next
two intervals. At an assumed average rate of 5 gpm per well, this simultaneous injection would
result in a cumulative injection rate of 420 gpm. Based on the target injection volume described
above, each injection would take approximately 300 hours to complete, or roughly six weeks
assuming 10-hour days.

A permanent injection system compound would be installed in a centralized area, with buried
field piping to convey the sodium persulfate and sodium hydroxide injection solutions to the
injection well nests. The system would include chemical storage, mixing, pumping systems,
manifolds, controls and telemetry. The well installation and chemical injections would comply
with federal underground injection control regulations, 40 CFR Part 144.

9.2   SHALLOW SOILS

Table 4. Shallow Soils Remedial Alternatives
 Alternative Description
      1        No Action
      2        Excavation and Off-Site Disposal of Operations Area and Floodplain Soils
      3        Stabilization of Operations Area Soils and Excavation of Floodplain Soils
       4         Stabilization of Operations Area Soils, Excavation of Floodplain Wet Soils,
                 and Cover of General Floodplain Soils

COMMON ELEMENTS

Each of the remedial alternatives, with the exception of Alternative 1: No Action, include the
following common components:
Visible, elemental mercury (if any) that is encountered during intrusive work will be removed for
proper off-site disposal.

The following ICs would be implemented for OU1 Shallow Soils:

       • Prevent residential use of the Site as a supplement to the current industrial zoning;
       • Require that any new building that is constructed onsite include engineering controls
       (e.g., vapor barriers) in the design, or demonstrate that the vapor intrusion pathway is not
       complete;
       • Restrict any actions inconsistent with an established soil management plan approved by
       EPA in consultation with WVDEP;
       • Provide for continued O&M of existing waste management units established by earlier
       removal actions.

The above land use restrictions will be established through one or more environmental covenants
executed pursuant to the West Virginia Uniform Environmental Covenants Act, WV Code § 22-
22B.

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ALTERNATIVE 1: No Action

The NCP, 40 C.F.R. Part 300, which governs Superfund response actions, requires that EPA
evaluate a “No Action” alternative for every NPL site to establish a baseline for the comparison
of alternatives. Under this alternative, the Site would remain in its present condition, soil
contamination would be subject to natural processes only.

ALTERNATIVE 2: Excavation and Off-Site Disposal of Operations Area and Floodplain
Soils

This alternative involves excavating the soil in the soil management areas (SMAs) and
transporting off-Site for disposal at one or more licensed facilities approved to handle the subject
waste streams. The SMAs consist of the Operations Area and Hanlin Floodplain soils. The
Operations Area is an approximate 7,000 SF (0.16 acre) treatment area with a vertical extent of 0
to 8 ft bgs, equivalent to a treatment volume of 2,000 CY. Sloping and/or benching would be
required to reach this target depth, which would entail limited excavation of additional material
outside the treatment area. Site characterization data indicate the material would primarily be
classified as hazardous waste under the Toxic Substances Control Act (TSCA) and regulations at
40 CFR Part 761 for PCBs, with a small portion also classified as hazardous waste for RCRA
constituents under WV Code § 33-20-3, which incorporates 40 CFR Part 261 by reference. These
waste streams would require characterization and segregation during implementation of the
remedy, as two types of landfill would have to be identified to receive the excavated waste.

The floodplain soils total approximately 5 acres. The vertical extent of each area to be
remediated is 0 to 1 ft bgs, equivalent to a total treatment volume of 7,500 CY. Site
characterization data indicate the material would be classified as non-hazardous waste. Both the
Operations Area and the Hanlin Floodplain soils would be replaced with backfill with
hydroseeding after excavation. Existing on-Site stockpiles are available. Ongoing inspection and
maintenance of the Hanlin-Allied Removal Action soil units would continue as a component of
the OU1 Site remedy.

ALTERNATIVE 3: Stabilization of Operations Area Soils and Excavation of Floodplain
Soils

This alternative involves in situ Solidification/Stabilization (S/S) of the Operations Area and
excavation and off-Site disposal of the floodplain soils. The Operations Area delineation is the
same as Alternative 2. To effectively blend the reagents to the 8 ft bgs target depth, it is assumed
that a deep mixing tool (Lang Tool or suitable equivalent) would be used to homogenize the soil
and distribute the reagents throughout the treatment zone.

Optimum application of in situ S/S typically would require bench and/or field pilot testing to
select the most effective reagent and dosage. It is assumed that a combination of cement and
stabilizing additives would effectively mitigate direct contact exposure in the Operations Area.
The floodplain SMA delineation is the same as Alternative 2. The floodplain would be replaced


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with backfill after excavation. Existing uncontaminated, on-Site stockpiles are available at a
sufficient quantity for backfill.

ALTERNATIVE 4: Stabilization of Operations Area Soils, Excavation of Floodplain Wet
Soils, and Cover of General Floodplain Soils

This alternative involves in situ S/S of the Operations Area soils and a vegetative cover over the
floodplain soils, except for the SWMU M vicinity wet soils, which would be excavated as with
the previous alternatives. The Operations Area delineation is the same as Alternative 2, as is the
proposed approach for in situ S/S (i.e., Lang Tool, cement and stabilizers, etc.). See Figure 13.

This alternative includes S/S of waste and contaminated soil and the common elements above.
S/S is an immobilization technology that EPA defines as a presumptive remedy for principal
threat metals-in-soil waste targeted for treatment. The contaminated soil would be mixed with an
additive to render it less soluble, mobile, or toxic. The decision to stabilize and include or haul
and dispose of the contaminated soil off-Site would be made during design. The contaminated
material would be stabilized by mixing in place using commercially available shallow soil
mixing and S/S equipment, such as one or more large vertical augers. Since this technology does
not require excavating or stockpiling the waste, there is a substantial reduction in work area
requirements as well as a reduction in potential chemical exposure.

After completion of the in-situ S/S procedures, confirmatory testing (e.g., toxicity characteristic
leaching procedure (TCLP) for contaminants, unconfined compressive strength, and
permeability) would be performed on the stabilized waste material and surrounding soil to verify
that treatment requirements have been met.

Addition of binding agents can increase the volume of treated waste by up to 30% to 50%. Soil
mixing would increase the waste volume by 30% and the addition of an amendment would
further increase the waste volume by an additional 25%. The anticipated volume increase would
be refined during design; however excess stabilized material that cannot reside onsite would
need to be properly disposed of off-Site. A geotechnical evaluation of the stabilized material
would need to be performed during design to ensure that the Site work could be completed safely
and effectively.

The type and quantity of S/S amendment would be selected using a treatability test during
design. Magnesium compounds may have some effectiveness in stabilizing boron present in
water, wastewater, and sludges. Portland-limestone cements (PLCs) may also be a treatment
option and appear to have some advantages compared to standard Portland cement, with no
negative impacts on cement performance, durability, or constructability. These advantages
include reduced permeability and porosity, reduced shrinkage, and strength improvement. PLCs
require less energy to grind than standard Portland cement and have an approximately 10%
smaller carbon footprint. Additionally, a geotechnical evaluation of the stabilized material would
need to be performed during design to ensure that the Site work could be completed safely and
effectively. A protective cap would be placed above the stabilized mass to limit water infiltration
and residual risks from direct contact with treated waste.


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The SWMU M vicinity wet soils would be excavated (approximately 0.4 acres) and replaced
with approximately 900 CY of backfill with hydroseeding after excavation. The SWMU M
vicinity wet soils will be excavated and transported off-site. The remaining floodplain soils
comprise approximately 4.2 acres. The dermal vegetative cover will consist of a foundation
layer and seeding. Basic long-term maintenance of the cover would consist of mowing,
inspections, and minor repairs.

The floodplain cover is assumed to consist of one foot of clean soil that is suitable for support of
vegetative growth. Existing stockpiles have been evaluated and found to be suitable for this
purpose and are assumed to be the source of fill for the cover soils for this alternative. The fill
would be hydroseeded after placement and grading. The area of floodplain that would receive
cover is approximately 4.2 acres. To promote the stability of the cover system, the establishment
of vegetation and the physical stability of the cover would be monitored over the first three years
after construction and thereafter re-evaluated to determine whether monitoring can be
discontinued or is needed for an additional period of time. Additionally, the presence of invasive
plant species within this area will be monitored during that timeframe, and appropriate steps to
limit the establishment of such species will be taken. Site restoration requirements generally
consist of backfill and compaction. No wetland mitigation or restoration is required in the
SWMU M vicinity wet soils.

9.3 FORMER MERCURY CELL BUILDING

Table 5. Former Mercury Cell Building Remedial Alternatives
 Alternative Description
      1       No Action
      2       Institutional and Engineering Controls
      3       Capping
      4       Excavation and Off-Site Disposal of Foundation Trenches + Capping
      5       Excavation and Off-Site Disposal of Foundation Trenches and Management

COMMON ELEMENTS

Each of the remedial alternatives, with the exception of Alternative 1: No Action, include the
following common components: ICs as described below.

The following ICs will be implemented at the former Mercury Cell Building Area:

       • Monitor vapor intrusion in existing enclosed structures;
       • Require that any new building that is constructed include engineering controls (e.g.,
       vapor barriers) in the design, or demonstrate that the vapor intrusion pathway is not
       complete;
       • Prohibit disturbance of any remedial component, such as the GWTP building floor and
       concrete cap;

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       • Establish and require compliance with health and safety protocols for any future
       required sub-surface disturbance in which on-site workers could come in contact with
       elemental mercury or other hazardous conditions.

ALTERNATIVE 1: No Action

Under Alternative 1, no action would be taken at the Site. This “no action” alternative is included
because the NCP requires that a “no action” alternative be retained as a baseline alternative to
which the other alternatives may be compared. This alternative hypothetically assumes that all
existing mitigation systems are shut down. This alternative would not reduce human health or
ecological risks to acceptable levels and would not achieve the RAOs. This alternative would not
be protective of human health and will not be considered further.

ALTERNATIVE 2: Institutional and Engineering Controls

This alternative involves the implementation of institutional and engineering controls to mitigate
direct contact exposures. A combination of land use restrictions (institutional) and fencing
(engineering) would be implemented to mitigate the potential for direct contact exposures. The
fencing would include approximately 750 linear feet of security fencing around the perimeter of
the Cell Building management area. Straightforward maintenance of the controls would be
required. The additional ICs would prevent disturbance of the soil.

ALTERNATIVE 3: Capping

This alternative involves capping with concrete the western and southern portions of the Cell
Building management area, also known as the exposed portion of the foundation without
structures. A new concrete cap would not be installed over the existing asphalt cap to the north of
the GWTP Annex, as this area was paved in 2005. The total area of the proposed concrete cap is
approximately 17,000 SF. See Figure 14.

An epoxy sealant would be applied over the existing surface area of 17,000 SF prior to concrete
work to seal cracks, reduce vapor migration, enhance the containment of mercury in its present
location and prevent migration into adjacent media. This will be confirmed by periodic sampling
to confirm that mercury vapors inside existing or future structures remain within the acceptable
risk range.

The concrete cap design is assumed to consist of at least 6 inches of concrete poured over the full
extent of the 17,000 SF area. A variable thickness would be required in some locations (e.g., to
fill the trenches). The formwork for the concrete would be constructed to create a slight grade
(1% to 2%) to shed water to the sides and prevent ponding. It is expected that the concrete cap
would extend beyond the limits of the existing slab as a conservative precaution. Long-term
inspection and maintenance of the concrete cap and the existing asphalt pavement would be
required, primarily to inspect the competency of the concrete over time and perform corrective
maintenance as needed.



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ALTERNATIVE 4: Excavation and Off-Site Disposal of Foundation Trenches + Capping

This alternative involves excavating the foundation elements and sub-grade soil of the Cell
Building management area with visible elemental mercury. To analyze this alternative, seven soil
and concrete excavation areas were delineated around the 550 linear feet of foundation, trenches
and the former caustic above-ground storage tank area to the southwest. The total excavation
area of this alternative is approximately 8,600 SF. The average depth of excavation within each
area was selected based on the observed visible mercury impacts in boring logs as reported in the
Mercury Cell Building Conceptual Site Model Revision 1 (available in the Administrative
Record). The total excavation volume for this alternative is approximately 1,430
CY.

Based on Site characterization data it is assumed that approximately 50% of the concrete and soil
would contain visible mercury impacts and would require pre-treatment on-Site, pursuant to land
disposal restrictions under WV Code § 33-20-10 (incorporating 40 CFR Part 268 by reference),
prior to transportation and disposal. Pre-treatment could consist of mixing the waste with a dry
chemical to immobilize the visible mercury, at which point it could be transported off-Site as
D009 characteristically hazardous waste to a RCRA Part B treatment facility. It is assumed that
the remainder of the concrete and soil would be characterized as D009 and would not require
pretreatment.

The deep excavations in Areas 2, 6, and 7 (adjacent to the existing GWTP structures) would
require extensive geotechnical shoring to protect the existing structures (approximately 210
linear feet). It is assumed that a fully cantilevered steel sheet pile system would be installed to
three times the depth of proposed excavation (i.e., up to 36 ft bgs in some locations). The
excavated areas would be replaced with backfill after excavation. Existing on-Site stockpiles are
available at a sufficient quantity for backfill. Following backfill, the entire Cell Building
management area would be capped with epoxy sealant and concrete similar to Alternative 3. This
concrete cap would be installed over the full 21,000 SF since the existing asphalt pavement to
the north of the GWTP Annex would be largely disturbed by excavation of Area 7.

ALTERNATIVE 5: Excavation and Off-Site Disposal of Foundation Trenches and
Management

This alternative involves additional excavation beyond the seven areas identified in Alternative
4, with complete removal of the existing concrete foundation to the south and west of the GWTP
Annex (approximately 17,000 SF of concrete removal). This alternative also conservatively
assumes that during removal of the concrete and the foundation trenches, visible mercury could
be identified in the excavation bases and sidewalls, which will expand the design limits of the
treatment areas. An additional 25% was added to the estimated soil volume as a safety factor,
and it was assumed that this additional soil could require pre-treatment for visible mercury
pursuant to WV Code § 33-20-10. The total excavation volume of this alternative is
approximately 2,400 CY.

The deep excavations in Areas 2, 6, and 7 would require the same geotechnical shoring that was
included in Alternative 4. The excavated areas would be replaced with backfill after excavation.

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Existing on-Site stockpiles are available at a sufficient quantity for backfill. Following backfill,
the entire Cell Building management area would be covered with an impermeable surface
(asphalt).

9.4   SEWERS

Table 6. Sewers Remedial Alternatives
 Alternative Description
      1        No Action
      2        Excavation and Off-Site Disposal
      3        Grouting
      4        Blinding/Blocking
      5        Grouting with Partial Excavation as Necessary

COMMON ELEMENTS

Alternative 5 is a hybrid of both Alternatives 2 and 3. There are no other overlapping or common
elements.

ALTERNATIVE 1: No Action

Under Alternative 1, no action would be taken at the Site. This “no action” alternative is included
because the NCP requires that a “no action” alternative be retained as a baseline alternative to
which the other alternatives may be compared. This alternative hypothetically assumes that all
existing mitigation systems are shut down. This alternative would not reduce human health or
ecological risks to acceptable levels and would not achieve the RAOs. This alternative would not
be protective of human health and will not be considered further.

ALTERNATIVE 2: Excavation and Off-Site Disposal

This alternative involves excavating the sewers that are impacted with visible mercury. Five
segments have been identified in previous investigations: SS-1 to SS-2, SS-1 to SS-1A, PS-8A to
PS-8, PS-8 to PS-8B, and PS-5 to PS-5B. The total length of impacted sewer lines is
approximately 790 linear feet, with invert depths ranging from 3 to 10.5 ft bgs. Sloping and/or
benching would be required in some locations to reach the target depth. The total excavation
volume for this alternative is approximately 740 CY. Excavated soil and sewer materials would
be transported off-Site for disposal at a licensed waste disposal facility. Excavated soil and sewer
materials would be characterized per the site-specific material management plan, which allows
material that does not exceed the industrial RSL to be reused as backfill. Site characterization
data were utilized to estimate the relative portions of excavated material that would be
anticipated to exceed the industrial RSL, be classified as D009 characteristically hazardous waste
in accordance with WV Code § 33-20-3, or be suitable for reuse as backfill. A limited amount of
pre-treatment on-Site is anticipated to be required to immobilize visible mercury, primarily from
the excavated sewer lines.


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The excavated areas would be replaced with backfill after excavation. Existing on-Site stockpiles
are available at a sufficient quantity for backfill.

ALTERNATIVE 3: Grouting

This alternative involves abandoning in place the sewers that are impacted with visible mercury
by full grouting the impacted lines. Grouting would involve a pressure injection via tremie
methods to inject flowable fill, or suitable equivalent. The flowable fill would encapsulate the
visible mercury and would solidify in place. A specialty contractor would be procured to
complete a pressure injection at various access points within the lines.

ALTERNATIVE 4: Blinding/Blocking

This alternative involves blinding/blocking the sewers that are impacted with visible mercury,
which entails the closure of a line by the installation of physical barriers (e.g., caps, flanges, etc.)
at access points along the impacted lines. Long-term inspection and maintenance of the barriers,
as well as routine video inspection of the sewer lines, would be required.

ALTERNATIVE 5: Grouting with Partial Excavation as Necessary

This alternative (see Figure 10 and 15) consists of Alternative 3 (Grouting) as the base remedy,
but with additional clearing (via jetting, augering, or other methods) and camera inspection of the
segments of impacted sewer lines that were not able to be investigated previously. If the grouting
performance standard cannot be achieved while grouting from one end of the sewer, presumably
due to a blockage in the line, grouting will be attempted from the other end of the sewer. If the
performance standard cannot be achieved, the line would be exposed via excavation, limited to 5
feet on either side of the blockage, and that section of the line will be removed. The ends of the
sewer line would be capped, and the grouting would continue.

As a conservative assumption, this alternative assumes that up to 20% of the sewer lines would
not meet the grouting performance requirement. These segments would be excavated and
transported off-site for proper disposal.

10.0 SUMMARY OF COMPARATIVE ANALYSIS OF ALTERNATIVES
In this section, the Remedial Alternatives summarized above are compared to each other using
the nine criteria set forth in 40 C.F.R § 300.430(e)(9)(iii). In the remedial decision process, EPA
analyzes the relative performance of each alternative against the evaluation criteria, noting how
each alternative compare to the other options under consideration. Additional information
supporting this analysis of remedy alternatives can be found in the AR file for the Site.

These evaluation criteria relate directly to requirements of Section 121 of CERCLA, 42 U.S.C.
§ 9621, for determining the overall feasibility and acceptability of a remedial action. The nine
criteria fall into three groups described as follows:

Threshold criteria must be satisfied for a remedy to be eligible for selection.

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Primary balancing criteria are used to weigh major tradeoffs between remedies.
Modifying criteria are considered after public comment is received on the Proposed Plan.

                                       Evaluation Criteria for Superfund Remedial Alternatives

                                 1. Overall Protection of Human Health and the Environment determines
                                 whether an alternative can adequately protect human health and the environment by
                                 eliminating, reducing, or controlling exposures to hazardous substances, pollutants
 Threshold
  Criteria




                                 or contaminants to levels that do not pose an unacceptable risk.
                                 2. Compliance with ARARs evaluates whether an alternative meets Federal and
                                 more stringent State environmental laws or facility siting laws, or whether a waiver is
                                 justified.
                                 3. Long-term Effectiveness and Permanence considers the ability of an alternative
                                 to maintain protection of human health and the environment over time.

                                 4. Reduction of Toxicity, Mobility, or Volume of Contaminants through
                                 Treatment evaluates an alternative’s use of treatment to reduce the harmful effects
    Primary Balancing Criteria




                                 of principal contaminants, their ability to move in the environment, and the amount
                                 of contamination present.
                                 5. Short-term Effectiveness considers the length of time needed to implement an
                                 alternative and the risks the alternative poses to workers, residents, and the
                                 environment during implementation.
                                 6. Implementability considers the technical and administrative feasibility of
                                 implementing an alternative, including factors such as the relative availability of
                                 goods and services.
                                 7. Cost includes the estimated capital and annual operation and maintenance costs,
                                 as well as present worth cost of an alternative. Present-worth cost is the total cost of
                                 an alternative over time in today’s dollar value. Cost estimates are expected to be
                                 accurate within a range of +50 to -30 percent.
                                 8. State/ Support Agency Acceptance considers whether the State agrees with
                                 EPA’s analyses and recommendations, as described in the Feasibility Study and
  Modifying
   Criteria




                                 Proposed Plan.
                                 9. Community Acceptance considers whether the local community agrees with
                                 EPA’s analyses and preferred alternative. Comments received on the Proposed Plan
                                 are an important indicator of community acceptance.

The following subsections summarize the comparative analysis evaluation of the remedial
alternatives developed for the Site against the nine evaluation criteria.




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10.1 OVERALL PROTECTION OF HUMAN HEALTH AND ENVIRONMENT

This criterion addresses whether each alternative provides adequate protection of human health
and the environment and describes how risks posed through each exposure pathway are
eliminated, reduced, or controlled, through treatment, engineering controls, and/or institutional
controls.

       10.1.1 South Plant Groundwater

The GWTP is currently operational, has operated at the Site since October 2002 and has treated
over 1.49 billion gallons of influent. Groundwater treatment will be significantly improved by
Alternative 2 which will upgrade the facility to achieve the updated effluent performance criteria.
The exact modifications will be determined during the pre-design evaluation process. Alternative
3 has not been tested at the Site, though it is a mature and well-tested technology. It is anticipated
that it will be able to achieve protection of human health and the environment after significant
engineering design and pilot study evaluations. However, Alternative 3 would discontinue the
GWTP thereby preventing significant source area mass reduction in the saturated zone, but the
SVE system would continue to reduce source area mass in the vadose zone. The SVE system has
operated since 2009 and has removed >347,000 lbs. of volatile organic contaminants.

Alternatives 2 and 3 both provide for containment of the alluvial groundwater plume in the South
Plant Area by different means. Alternative 2 will continue to use the existing GWTP which is
extracting alluvial groundwater. Pursuant to an April 2018 piezometer study that evaluated the
capture capability of the existing GWTP, the GWTP is creating an inward gradient and is
providing capture of the COCs within the South Plant alluvial plume. Alternative 3 will not
employ an extraction component. With the use of 232 injection wells, Alternative 3 will create a
reactive barrier to effectively prevent COCs (except mercury) from migrating off-Site.
Alternative 3 would not treat mercury contamination in groundwater, making it less protective
than Alternative 2.

Alternative 2, for purposes of this interim remedial action, will achieve RAOs after a pre-design
evaluation process and pilot study period and will be protective of human health and the
environment. It is unknown whether Alternative 3 will achieve the mercury RAO.

       10.1.2 Shallow Soils

Other than the No Action alternative, the three soils action alternatives would protect human
health and the environment and achieve the RAO of preventing direct contact via combinations
of complete removal, solidification, or covering with clean soil. Each of the three alternatives
also involves a disturbance of the Operations Area soils via either removal or in situ mixing,
which would require best management practices (BMPs) during implementation to mitigate the
potential for releases due to fugitive emissions/dust. However, Alternative 3 would disturb all 5
acres of the floodplain soils, whereas Alternative 4 would only disturb the SWMU M vicinity
wet soils (approximately 0.4 acres).



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       10.1.3 Former Mercury Cell Building

Former Cell Building Alternatives 3, 4, and 5 would protect human health and the environment
and achieve the RAOs (preventing direct contact and containing mercury in its present location)
via capping, removal, or combinations thereof. The other action remedy, Alternative 2
(Institutional and Engineering Controls), would prevent direct contact, but would not be as
effective at containing mercury. Alternative 4 (Excavation and Off-Site Disposal of Foundation
Trenches + Capping) would involve much greater disturbance of contaminated media than
Alternative 3 (Capping), which could have the unintended effect of causing vertical mobilization
of mercury during implementation. This mobilization could occur through the generation of soil
macropores from excavation-related soil disturbance, which could admit residual elemental
mercury to deeper depths, or through the related disturbance and mobilization of soil pore water
with dissolved mercury.

However, given the physical interaction of mercury with soil at the Site, the potential for
downward migration of mercury is considered limited, thus Alternatives 3, 4, and 5 are
considered to satisfy the requirements of this criterion.

       10.1.4 Sewers

Other than the No Action alternative, the four sewer action alternatives would protect human
health and the environment and achieve the RAOs (prevent direct contact and contain mercury in
its present location) via either complete removal or stabilization, or some combination of the two
approaches (Alternative 5, Grouting with Partial Excavation as Necessary). Alternative 2
(Excavation and Off-Site Disposal) would involve the greatest disturbance of contaminated
media, which may have the unintended effect of causing vertical mobilization of mercury during
implementation and potential short term exposure risks to Site workers during implementation
which would need to be addressed in a health and safety plan and materials handling plan. Since
Alternative 4 (Blinding/Blocking) does not directly bind all the mercury, it would require routine
inspections to ensure the plugs/blinds are intact and functioning. Alternatives 2, 3, and 5 are
more protective in the long-term given that the mercury is either removed from the Site
(Alternative 2) or encapsulated in grout (Alternatives 3 and 5) versus isolation via plugs
(Alternative 4).

10.2 COMPLIANCE WITH ARARS

Section 121(d) of CERCLA, 42 U.S.C. § 9621(d), and the NCP at 40 C.F.R. § 300.430(f)(1)
(ii)(B), require that remedial actions at CERCLA sites at least attain legally applicable or
relevant and appropriate Federal and State requirements, standards of control, and other
substantive environmental protection requirements, criteria, or limitations promulgated under
Federal or State law, which are collectively referred to as “ARARs,” unless such ARARs are
waived under Section 121(d)(4) of CERCLA, 42 U.S.C. § 9621(d)(4), and the NCP at 40 C.F.R.
§ 300.430(f)(1)(ii)(C).

“Applicable requirements” are those cleanup standards, standards of control, and other
substantive requirements, criteria, or limitations promulgated under Federal environmental or

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State environmental or facility-siting laws that specifically address a hazardous substance,
pollutant, contaminant, remedial action, location, or other circumstance at a CERCLA site. Only
those State standards that are identified by a State in a timely manner and that are more stringent
than Federal requirements may be applicable. 40 C.F.R. § 300.5

“Relevant and appropriate requirements” are those cleanup standards, standards of control, and
other substantive requirements, criteria, or limitations promulgated under Federal environmental
or State environmental or facility-siting laws that, while not “applicable” to a hazardous
substance, pollutant, contaminant, remedial action, location, or other circumstance at a CERCLA
site, address problems or situations sufficiently similar to those encountered at the CERCLA site
that their use is well-suited to the particular site. Only those State standards that are identified by
a State in a timely manner and that are more stringent than Federal requirements may be relevant
and appropriate. 40 C.F.R. § 300.5

The “To Be Considered” (TBC) category consists of advisories, criteria or guidance that EPA,
other federal agencies, or states developed that may be useful in developing CERCLA remedies
(NCP at 40 C.F.R. § 300.400(g)(3)). TBCs are identified on an as-appropriate basis.

       10.2.1 South Plant Groundwater

Alternative 2 will continue to operate the GWTP which will collect waste streams that must be
managed and disposed of pursuant to West Virginia Hazardous Waste Regulations, which
incorporate the federal RCRA regulations by reference. See Tables 11-1, 11-2, and 11-3.
Alternative 2 will meet the ARARs relating to the management and disposal of any waste
streams.

Alternative 2 will treat groundwater to attain compliance with substantive NPDES requirements
after a pre-design evaluation process and pilot study period to refine treatment technologies and
injection substrates. See Tables 11-1, 11-2, and 11-3. Although Alternative 3 will meet the
requirements for the majority of COCs, it does not meet the requisite ARARs for Mercury.
Alternative 2’s remedial activities will be undertaken to comply with these requirements.

Alternative 2 and 3 will also continue implementing the SVE system, which may generate
hazardous air pollutants regulated by the National Emission Standards for Hazardous Air
Pollutants under the Clean Air Act. See Tables 11-1, 11-2, and 11-3. Alternative 2 and 3’s
remedial activities will be undertaken to comply with these requirements.

       10.2.2 Shallow Soils

Alternatives 2, 3 and 4 contain excavation as a component of the remedial action. Alternatives 3
and 4 include stabilization and solidification controls. All Alternatives will involve the
movement and/or disposal of soil and the backfilling of some areas with “clean” soil, likely
causing dust and vehicular pollutant air emissions. These activities must meet storm water
management, erosion and sediment control, waste management, and air emission standards. See
Tables 11-1 to 11-3, specifically West Virginia Stormwater Management Act, West Virginia
Waste Management Act, West Virginia Hazardous Waste Management System, and Clean Air

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Act regulations. After completion of the in situ S/S procedures in either Alternative 3 or 4,
confirmatory testing (e.g., toxicity characteristic leaching procedure (TCLP) for contaminants,
unconfined compressive strength, and permeability) would be performed on the stabilized waste
material and surrounding soil to verify that treatment requirements have been met. Alternatives
2, 3, and 4 will meet the ARARs relating to the management and disposal of soils, waste, and air
emissions.

       10.2.3 Former Mercury Cell Building

Alternative 2 (Controls) would require the property deed to reflect that the property has been
used to manage hazardous wastes and that the land use is restricted pursuant to the West Virginia
Environmental Covenant Act, WV C.S.R. Title 33 Series 20-12. Alternative 3 involves capping
the area of the former Cell Building. The cap must not negatively affect the topography of the
Site and therefore must meet stormwater management and erosion and sediment control
standards. The construction of the cap may cause hazardous air pollutant emissions. See Tables
11-1, 11-2, and 11-3, specifically West Virginia Stormwater Management Act, West Virginia
Hazardous Waste Management System, Clean Air Act. Alternative 3 will meet the ARARs
relating to construction of the cap.

Alternative 4 adds excavation of soil and the disposal of trenches in addition to the cap in
Alternative 3. Alternative 5 is similar to Alternative 4 but replaces the cap with management of
the area. Because Alternative 4 and 5 require hazardous waste determinations before disposal
off-site, Alternative 4 and 5 must meet the ARARs set forth in Alternative 3 but must also satisfy
waste management standards. See Table 11, specifically West Virginia Waste Management Act,
WV C.S.R. Title 33 Series 1. Nevertheless, with sufficient due diligence, all alternatives would
be able to adhere to the ARARs and meet the substantive requirements of applicable permits, and
therefore satisfy the requirements of this criterion.

       10.2.4 Sewers

Alternatives 2 and 5 contain excavation as a component of the remedial action. Alternatives 2
and 5 involve the movement and/or disposal of soil and the backfilling of some areas with
“clean” soil, likely causing dust and vehicular air emissions due to truck usage. These activities
must meet storm water management, erosion and sediment control, waste management, and air
emission standards. See Table 11, specifically West Virginia Stormwater Management Act,
WV C.S.R. 47-02,10 & 58, West Virginia Waste Management Act, WV C.S.R. Title 33-1 &
West Virginia Hazardous Waste Management System, WV C.S.R. Title 33 Series 20 and Clean
Air Act regulations, 40 C.F.R. Part 63, Subpart G and WV C.S.R. Title 45 Series 1-40.
Alternatives 2 and 5 will meet the ARARs relating to the management and disposal of soils,
waste, and air emissions.

No ARARs are anticipated to apply to either Alternative 3 or 4. The four action alternatives
satisfy the requirements of this criterion.




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10.3 LONG-TERM EFFECTIVENESS

Long-term effectiveness and permanence refers to expected residual risk and the ability of a
remedy to maintain reliable protection of human health and the environment over time, once
performance standards have been met. This criterion includes the consideration of magnitude and
effectiveness of the measures that may be required to manage the risk posed by treatment
residuals and/or untreated wastes that will remain on-site following remediation.

       10.3.1 South Plant Groundwater

Alternative 2 is expected to be effective over the long term by reducing soil vapors and capturing
South Plant area alluvial groundwater and permanently reducing contaminants through treatment
prior to discharge to the Ohio River. Although Alternative 2 would create secondary waste
streams, it would result in the permanent removal of COCs from groundwater. The specific
treatment process would be determined during the pre-design evaluation and pilot study process
prior to implementation. Alternative 3 would replace the groundwater extraction component of
the overall remedy with in situ oxidation of COCs, which would not create secondary waste
streams that are produced with the operation of the groundwater treatment plant. However, the
effectiveness of the ISCO remedy is less reliable than the proven technologies of Alternative 2
and would require comprehensive groundwater monitoring downgradient.

       10.3.2 Shallow Soils

Removal of PCBs achieves long-term permanence and would not require inspections or
maintenance. Similarly, in situ S/S of the PCBs, with construction quality assurance of the
mixing effectiveness, would permanently encapsulate and immobilize the COCs and mitigate the
direct contact exposure, and would not require inspections or maintenance.

Alternative 4 would require long-term inspection and maintenance of the general floodplain
cover materials. However, this requirement is straightforward, and would consist of mowing the
grass and periodic basic inspections. Experience from the Removal Actions has shown that
floodplain soil covers with vegetation remain stable; hence, there would likely be little to no
maintenance requirements in a given year. Historically, there is no evidence of scouring due to
flood events. In addition, vegetation will help adequately maintain soil cover. The three action
alternatives satisfy the requirements of this criterion.

       10.3.3 Former Mercury Cell Building

Alternative 2 (ICs) would be effective in the long term at mitigating direct contact but would
have no effect on the potential migration of mercury. Removal of mercury-impacted soil and
concrete (Alternatives 4 and 5) achieves long-term permanence. Capping (Alternative 3) would
also be effective at meeting the requirements of this criterion, for the following reasons: (i) with
proper maintenance, the cap is an effective technology, and (ii) there is minimal potential for
mercury migration beneath the Cell Building based on the Site soil characteristics and lack of
disturbance, which would occur by implementing Alternatives 4 and 5. Thus, Alternatives 3, 4,
and 5 satisfy the requirements of this criterion.

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       10.3.4 Sewers

Excavation achieves long-term permanence and would not require inspections or maintenance.
Similarly, grouting of the sewer lines, with construction quality assurance of the complete
grouting effectiveness, would permanently encapsulate the COCs and would not require
inspections or maintenance. Alternatives 3, 4, and 5 would achieve the RAOs in under one year.
Alternatives 2 and 5 satisfy the requirements of this criterion. However, similar to considerations
related to excavation alternatives to address the former Cell Building area, it is unknown whether
the excavation could break the sewer lines and release mercury to the subgrade, further spreading
mercury and frustrating the containment RAO. Thus, Alternative 5 is more likely to achieve
long-term effectiveness since it would include less excavation than Alternative 2. Alternative 4
would likely be less effective at meeting the requirements of this criterion due to the need to
routinely inspect the integrity of the remedy since mercury would be left untreated within the
sewer lines. Alternative 3 (grouting) would prevent infiltration through the media, which in turn
prevents dissolution of the mercury and chemical transformation into more toxic and mobile
byproducts. However, Alternative 3 would likely be less effective at meeting the requirements of
this criterion as compared to Alternative 5 because some areas of the sewer lines may be
inaccessible for grouting and Alternative 5 includes enhanced clearing techniques and
contingency planning for addressing those areas.

10.4 REDUCTION OF TOXICITY, MOBILIZATION, OR VOLUME THROUGH
     TREATMENT

Reduction of toxicity, mobility, or volume through treatment refers to the anticipated
performance of an alternative’s use of treatment to reduce the harmful effects of principal
contaminants, their ability to move in the environment, and the amount of contamination present
that may be included as part of a remedy.

       10.4.1 South Plant Groundwater

Alternative 2 will remove contaminants from groundwater via pumping and treating and soil
vapor extraction. This process would reduce toxicity, mobility, and volume of COCs in
groundwater. The GWTP treats extracted groundwater prior to its release into the Ohio River
(toxicity), the extraction wells control plume migration (mobility), and the extraction system also
removes contaminants from extracted alluvial groundwater and the vadose zone (volume).

The proposed ISCO flow-through barrier in Alternative 3 would reduce the toxicity and volume
of COCs as they migrate through the injection zone but would not reduce the overall mobility of
the plume, in contrast to the GWTP, which by its nature draws the plume towards pumping wells
and also hastens source mass reduction. ISCO is a proven technology for the organic
contaminants but will not reduce the mercury in groundwater. Significant downgradient
monitoring of the ISCO barrier would be necessary to insure RAOs are achieved.

Additionally, ISCO can alter the geochemical nature of the aquifer (e.g., significantly lowering
pH), which could in turn potentially mobilize naturally occurring metals in the soil matrix,
creating secondary residuals in situ which would also have to be carefully monitored.

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Alternative 2 allows flexibility during the pre-design evaluation and pilot study phase to
maximize the use of up to three treatment technologies to upgrade the existing system to meet
the discharge requirements.

       10.4.2 Shallow Soils

A complete excavation in both the Operations Area and the Hanlin Floodplain (Alternative 2)
would remove the contaminated soil but would not reduce the toxicity, mobility, and volume of
the COCs through treatment. In Alternative 3 (Operations Area stabilization, floodplain area
removal), the PCBs and other COCs of the Operations Area would be solidified in place, which
would reduce their toxicity and mobility through treatment. In Alternative 4 (Operations Area
stabilization, general floodplain covering, and floodplain wet soils removal), the cover material
over the majority of the floodplain would reduce the ecological toxicity and mobility of the
floodplain COCs by covering the COCs in place but not through treatment. However,
stabilization of contaminated soil would reduce the toxicity and mobility of the COCs through
treatment. Alternatives 3 and 4 satisfy this criterion more than Alternative 2. While the removal-
related elements of Alternatives 2, 3, and 4 additionally reduce COC volume, they have the
disadvantage of potentially mobilizing COCs via dust generation, cross contamination within the
work area, and waste transport through the community.

       10.4.3 Former Mercury Cell Building

None of the alternatives include treatment. Alternative 2 (controls) would not reduce the toxicity,
mobility or volume of the COCs.

Alternative 3 (capping) would reduce the exposure potential (and hence toxicity) of mercury by
mitigating direct contact. Capping would also reduce mercury mobility by blocking further
rainfall infiltration, which would provide a means to prevent chemical transformation into a more
leachable form.

Within the limits of the Site boundary, removal of the mercury-impacted soil and concrete (i.e.,
Alternatives 4 and 5) reduces the toxicity, volume and potentially, mobility, of the COCs.
However, the uncertainty in mercury removal completeness and the potential for enhanced
mobilization in an excavation scenario limit the reductions in mobility.

Alternative 4 (Excavation and Off-Site Disposal of Foundation Trenches + Capping) would
involve much greater disturbance of contaminated media than Alternative 3 (Capping), which
could have the unintended effect of causing vertical mobilization of mercury during
implementation. This mobilization could occur through the generation of soil macropores from
excavation-related soil disturbance, which could admit residual elemental mercury to deeper
depths, or through the related disturbance and mobilization of soil pore water with dissolved
mercury.




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       10.4.4 Sewers

Grouting is a solidification treatment; Alternatives 3 and 5 would reduce the toxicity and
mobility of mercury made environmentally unavailable by solidifying in grout. The other
alternatives for the sewers do not satisfy this criterion. Alternative 2 (Excavation and Off-Site
Disposal) would involve the greatest disturbance of contaminated media, which may have the
unintended effect of causing vertical mobilization of mercury during implementation and
potential short term exposure risks to Site workers during implementation which would need to
be addressed in a health and safety plan and materials handling plan.

10.5 SHORT-TERM EFFECTIVENESS

Short-term effectiveness addresses the period of time needed to implement the remedy and
achieve protection, as well as any adverse impacts that may be posed to workers, the community,
and the environment during construction and operation of the remedy until the performance
standards are achieved.

       10.5.1 South Plant Groundwater

The GWTP and SVE systems provide immediate effectiveness for hydraulic/pneumatic
containment of the COCs. A combination of the implemented upgrade technologies following
the pre-design evaluation and pilot study period will provide immediate effectiveness in treating
the captured vapors and groundwater. Comprehensive post-implementation downgradient
groundwater monitoring would be necessary to demonstrate the ISCO barrier wall would provide
complete plume treatment and meet RAOs.

Additionally, the risks to workers, the environment, and the community are much more
substantial for Alternative 3, which would involve significant chemical handling above-grade,
and expose workers to caustic chemicals if not properly handled. Both alternatives involve
routine above-grade waste handling and treatment from the SVE system. Alternatives 2 best
satisfies the requirements of this criterion.

       10.5.2 Shallow Soils

The three action alternatives would be effective immediately upon completion of the removal,
S/S, or covering components of the remedy. Alternative 2 would pose moderate risks to worker
safety, including exposure to contaminated media. Both Alternative 2 and 3 include off-Site
transportation of contaminated soil creating a potential exposure risk to the community.
Alternative 2 would mitigate this risk to human health and the environment during
implementation of the remedy by site-specific worker health and safety plans and BMPs.

Risk to workers and the community posed by implementing Alternative 3 would be less than for
Alternative 2. Excavation and in situ S/S would pose risks to worker safety including exposure to
contaminated media; however, there would be no potential exposure risk to the community from
the in situ treatment of the Operations Area soils. Human health and the environment can be


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protected during implementation of the remedy by site-specific worker health and safety plans
and BMPs.

Alternative 4 risks to workers, the community, and the environment are less than risk posed by
the other two alternatives for the vegetative cover component, and consistent with the risk posed
by Alternatives 2 and 3 for in situ S/S and wet soils excavation. Covering would pose relatively
minor risks to workers. In situ S/S and wet soils excavation could pose risks to worker safety
including exposure to contaminated media. The components of Alternative 4 together mitigate
the risk to the community, as limited off-Site transportation of contaminated material would be
required. As with previous alternatives, human health and the environment can be protected
during implementation of the remedy by site-specific worker health and safety plans and BMPs.

The risks that may be posed to the community, workers, and the environment are less for
Alternative 4 than the other alternatives. Limited exposure to contaminated media from waste
handling and off-Site transportation of contaminated soil from the wet soils is the main concern.
Eliminating the excavation of floodplain soils will eliminate the need for trucks transporting soils
from the Site through the community. Additionally, workers and community exposure is
minimized. Therefore, Alternative 4, Stabilization of Operations Area Soils, Excavation of
SWMU Floodplain Wet Soils, and Cover of General Floodplain Soils, best meets the
requirements of this criterion.

       10.5.3 Former Mercury Cell Building

Alternatives 3, 4, and 5 would effectively achieve the RAOs upon completion of the cap or
excavation and backfilling. Alternative 2 is less effective at achieving the RAOs. The risks to
workers, the community, and the environment are none for Alternative 2, and minor for the cap
but relatively substantial for the excavation options, which would require geotechnical protection
of existing structures, remediation assets, deep excavations, hazardous waste handling and off-
Site transportation, and disturbance of subgrade soils that could mobilize mercury and lead to an
increase in groundwater impacts. Excavation may also produce the potential for increased
mercury volatilization in the short term, which could be mitigated by monitoring and engineering
controls. Capping (Alternative 3) best meets the requirements of this criterion.

       10.5.4 Sewers

The four action alternatives would be effective immediately upon completion of the excavation,
grouting, or blocking/blinding components of the remedy, all of which could be completed
within one year. The risks that may be posed to the community, workers, and the environment
are the most severe for Alternative 2, which involves deep excavation, exposure to contaminated
media from waste handling, off-Site transportation of contaminated soil and sewers, and
disturbance of subgrade soils, which could mobilize mercury. The short-term risks to workers
and the community are lowest for Alternative 3, which only requires the jet grouting of the lines
from access points above-grade; however, this alternative may not completely contain the
mercury since some parts of the sewers may not be accessible. Risks to workers and the
community are moderate for Alternative 4, which requires blinding or blocking in place which


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 could require confined space work, and Alternative 5, which poses some risk for excavation
 which may be necessary.

 10.6 IMPLEMENTABILITY

 Implementability addresses the technical and administrative feasibility of a remedy from design
 through construction and operation. Factors such as availability of services and materials,
 administrative feasibility, and coordination with other governmental entities are also considered.

        10.6.1 South Plant Groundwater

 Implementation of the GWTP and SVE systems are currently operational and has overall proven
 to be effective in capturing South Plant area alluvial groundwater prior to discharge to the Ohio
 River. It is anticipated that additional optimization and/or capital upgrades to the GWTP
 following the pre-GHVLJQHYDOXDWLRQDQGSLORWVWXG\SHULRGZLOODFKLHYHȝJ/WRWDOPHUFXU\
 at the GWTP end-of-SLSHGLVFKDUJHPHHWȝJ/DWWKHERXQGDU\RIWKHWHPSRUDU\PL[LQJ
 ]RQHDQGPHHWȝJ/DWWKH*:73HQG-of-pipe discharge within 5 years and 3 months. The
 extent of the modifications will not be reliably known until the data gap assessment, engineering
 evaluation, and pilot study(ies) are complete. The materials and services required to upgrade the
 GWTP are readily available and the pre-design evaluation and pilot study period will improve
 the effectiveness of implementation.

 Implementation of the ISCO injection events would be significantly challenging due to the
 number of well locations (252 total injection points), the injection volume (almost 8 million
 gallons of solution twice per year), potential for the injection to daylight to the surface or Ohio
 River and well fouling. ISCO is also untested at the Site.

        10.6.2 Shallow Soils

 The alternatives for the Operations Area (excavation versus in situ S/S) are equally
 implementable, as they both would require utility protection, BMPs for worker and
 environmental protection, etc. Among the remedial options in the floodplain, the approach that
 involves soil cover (Alternative 4) as opposed to excavation best meets the requirements of this
 criterion, based on the relatively simpler implementation of the floodplain cover (placement of
 an additional foot of clean cover) versus the excavation of the top foot of soil. Though shallow
 excavation would not pose significant challenges, it would still require utility location and
 protection, and intrusive work in a wide variety of Site conditions (near surface water, culverts,
 etc.).

 While the removal-related elements of Alternatives 2, 3, and 4 additionally reduce COC volume,
 they have the disadvantage of potentially mobilizing COCs via dust generation, cross
 contamination within the work area, and waste transport through the community. Alternative 4
 disturbs a smaller area of contamination and therefore reduces the potential of mobilizing COCs
 during construction activities. Alternative 4 would not involve deep excavation work limiting
 exposure to contaminated media. It is also less intrusive and less complicated to implement.
 Hence, Alternative 4 best meets the requirements of this criterion.

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        10.6.3 Former Mercury Cell Building

 The installation of engineering controls (Alternative 2) would be straightforward. The
 installation of a concrete cap (Alternative 3) would be straightforward in this area. By contrast,
 the excavation (Alternatives 4 and 5) would be significantly challenging, requiring extensive
 geotechnical shoring near the GWTP Annex, deep excavations of at least 12 ft bgs, and complex
 waste handling and pre-treatment requirements. Among the three alternatives (excluding
 Alternative 2 which is a non-engineered alternative) that meet the threshold criteria, Alternative
 3 is the easiest to implement, with the removal alternatives (4 and 5) considered the least
 satisfactory. Alternative 3 less intrusive and less complicated to implement.

        10.6.4 Sewers

 Alternative 3 (Grouting), Alternative 4 (Blinding/Blocking), and Alternative 5 (Grouting with
 Partial Excavation as Necessary) would be relatively straightforward to implement, assuming
 grouting could be performed on all of the sewers. Alternative 2 is the most challenging, due to
 the deep excavations, waste handling, pre-treatment requirements, and availability of off-Site
 disposal locations that will accept mercury-containing waste. Alternative 5 poses the same
 challenges as Alternative 2, but to a lesser degree since excavation would be undertaken only if
 grouting cannot be completed.

 10.7 COST

        10.7.1 South Plant Groundwater

 Capital costs for Alternative 2 vary depending upon the final combination of technologies
 implemented; the 30-year net present value (NPV) costs are estimated to be not more than $19.0
 million. The 30-year NPV cost of Alternative 3 was estimated to be $142.5 million. Alternative 2
 best satisfies the requirements of this criterion because Alternative 3 is estimated to cost
 approximately eight times the cost of Alternative 2.

 Table 7 presents capital costs, periodic and O&M costs, and total costs for each alternative.

 Table 7. Summary of Costs: South Plant Groundwater
                                                                     Periodic and
  Alternative           Description                   Capital Cost   O&M Costs        Total Cost
       2      Upgraded Groundwater
              Extraction and Treatment (+              $940,000      $1,490,000       $19,000,000
              SVE)
        3        In Situ Chemical Oxidation +
                 SVE                                  $20,360,000    $9,845,000      $142,530,000




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        10.7.2 Shallow Soils

 Alternative 4 is estimated to have the lowest capital cost ($1.1 million), and though it is the only
 alternative with an annual O&M cost ($10,000), it also has the lowest 30-year NPV cost ($1.3
 million), which is approximately half as costly as the other alternatives (between $2.2 and $2.9
 million). Therefore, Alternative 4 best meets the requirements of this criterion.

 Table 8 presents capital costs, periodic and O&M costs, and total costs for each alternative.

 Table 8. Summary of Costs: Shallow Soils
                                                                      Periodic and
  Alternative           Description                    Capital Cost   O&M Costs         Total Cost
       2      Excavation and Off-Site
              Disposal of Operations and
              Floodplain Soils Area and                 $2,940,000         $0           $2,940,000
              Floodplain Soils
        3        Stabilization of Operations Area
                 Soils and Excavation of                $2,160,000         $0           $2,160,000
                 Floodplain Soils
        4        Stabilization of Operations Area
                 Soils, Excavation of Floodplain
                 Wet Soils, and Cover of General        $1,130,000      $10,000         $1,130,000
                 Floodplain Soils

        10.7.3 Former Mercury Cell Building

 The estimated cost for Alternative 2 has the lowest capital cost ($40,000), lowest annual cost
 ($5,000), and lowest 30-year NPV cost ($60,000). The estimated cost for Alternative 3 has the
 next lowest capital cost ($430,000), annual cost ($11,000), and 30-year NPV cost ($560,000).
 The 30-year NPV costs of Alternatives 4 and 5 are $5.7 million and $7.4 million, respectively.
 Therefore, engineering controls (Alternative 2) best meets the requirements of this criterion,
 followed next by capping (Alternative 3).

 Table 9 presents capital costs, periodic and O&M costs, and total costs for each alternative.

 Table 9. Summary of Costs: Former Mercury Cell Building
                                                                      Periodic and
  Alternative            Description                   Capital Cost   O&M Costs         Total Cost
       2      Institutional and Engineering
                                                         $40,000         $5,000           $60,000
              Controls
       3      Capping
                                                        $430,000        $11,000          $560,000



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                                                                      Periodic and
  Alternative            Description           Capital Cost           O&M Costs         Total Cost
       4       Excavation and Off-Site
               Disposal of Foundation           $5,540,000               $12,000         $5,690,000
               Trenches + Capping
       5      Excavation and Off-Site Disposal
              of Foundation Trenches and        $7,430,000                  $0           $7,430,000
              Management

        10.7.4 Sewers

 Alternative 3 was estimated to have the lowest 30-year NPV cost ($230,000). Alternative 4 has a
 slightly lower capital cost but has an annual O&M component that results in a 30-year NPV that
 is slightly higher in cost ($250,000). Alternative 5 is estimated to have a 30-year NPV cost of
 $470,000, and Alternative 2 is the highest cost overall ($850,000), almost four times greater than
 Alternative 3. Alternatives 3 and 4 are relatively close in cost but Alternative 3 best satisfies the
 requirements of this criterion.

 Table 10 presents capital costs, periodic and O&M costs, and total costs for each alternative.

 Table 10. Summary of Costs: Sewers
                                                                      Periodic and
  Alternative          Description                     Capital Cost   O&M Costs         Total Cost
       2      Excavation and Off-Site
                                                        $850,000            $0            $850,000
              Disposal
       3      Grouting
                                                        $230,000            $0            $230,000
        4        Blinding/Blocking
                                                        $120,000         $10,000          $250,000
        5        Grouting with Partial
                 Excavation as Necessary                $470,000            $0            $470,000


 10.8 STATE ACCEPTANCE

 WVDEP has concurred with the selection of the following alternatives in a letter to EPA dated
 December 10, 2020 (Appendix A):

        • South Plant Groundwater: Alternative 2 Upgraded Extraction and Treatment (+SVE)
        • Soils: Alternative 4 Stabilization of Operations Area Soils, Excavation of Floodplain
        Wet Soils, and Cover of General Floodplain Soils
        • Former Mercury Cell Building: Alternative 3 Capping
        • Sewers: Alternative 5 Grouting with Partial Excavation as Necessary

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 10.9 COMMUNITY ACCEPTANCE

 As memorialized below in the Responsiveness Summary, EPA held a 30-day public comment
 period from July 10, 2020, through August 8, 2020, during which a public meeting was held on
 July 23, 2020, to discuss the proposed action. Two (2) members of the public and three (3) PRP
 representatives attended the public meeting. Several questions were asked and answered.
 Comments were received via electronic mail from one respondent. No other comments were
 received by post or telephone. Questions and responses can be found in the Responsiveness
 Summary.

 11.0 PRINCIPAL THREAT WASTE
 The NCP establishes an expectation that EPA will use treatment to address the principal threats
 posed by a site wherever practicable (40 C.F.R. § 300.430(a)(l)(iii)(A)). The principal threat
 concept is applied to the characterization of source materials at a Superfund site. A source
 material is material that includes or contains hazardous substances, pollutants, or contaminants
 that act as a reservoir for migration of contamination, for example, to groundwater. Principal
 threat wastes are those source materials considered to be highly toxic or highly mobile, which
 would present a significant risk to human health or the environment should exposure occur.

 As a result of the extensive removal actions taken at the Site, the RI did not identify any
 principal threat waste to address under the preferred alternatives for OU1. An evaluation of this
 analysis can be found in the Administrative Record. The contaminated soils at the Site are
 considered a low-level threat waste.

 12.0 FINAL REMEDIAL ACTION
 Following review and consideration of the information presented in the Administrative Record of
 this Record of Decision, the requirements of CERCLA and the NCP, State acceptance and public
 comments, EPA has selected the following final remedy:

        • Shallow Soils - Alternative 4: Stabilization of Operations Area Soils, Excavation of
        Floodplain Wet Soils, and Cover of General Floodplain Soils
        • Former Mercury Cell Building - Alternative 3: Capping
        • Sewers - Alternative 5: Grouting with Partial Excavation as Necessary.

 12.1 FINAL REMEDIAL ACTION COMPONENTS AND PERFORMANCE
      STANDARDS

 The Final Remedial Action will achieve protection of human health and the environment by
 reducing soil contamination to the cleanup levels and evaluating residual risk when the cleanup
 goals are attained. The selected Final Remedial Action includes the following components and
 performance standards:


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       12.1.1 Shallow Soils: Stabilization of Operations Area Soils, Excavation of
              Floodplain Wet Soils, and Cover of General Floodplain Soils Stabilization of
              Operations Soil Cover

             12.1.1.1 General Floodplain

       • The estimated area to be removed is 183,500 SF or 4.21 acres. This area is generally
       described on Figure 13 and will be further defined in the Remedial Design phase.
       • Onsite soils, which have already been confirmed as appropriate for reuse, may be used
       as backfill. It is anticipated that 7,840 cy are available. If additional soil is necessary, the
       source will have to be sampled for appropriate use.
       • Cover will include 1 ft of clean soil with a vegetative cover comprised of native species
       using a native seed mix approved by EPA, in consultation with WVDEP.
       • This area will be subject to an O&M schedule which will be detailed in an O&M plan.
       The plan will provide for inspections of the area annually for minimum of 4 years to
       ensure invasive species control, successful growth of desired vegetation, and lack of soil
       erosion. Inspections will also be required after flood events to ensure that the integrity of
       the soil and vegetative covers are maintained. The O&M plan shall also include an
       invasive species management plan. After 4 years, upon EPA approval, in consultation
       with WVDEP, the frequency of inspections may be reduced.
       • Annual inspection reports shall be submitted by April 1 for the previous calendar year.
       Reports shall include pictures, plant survey/inventory, invasive species evaluation,
       inspection schedule, success rates, areas where plants were replaced and any other
       relevant details. Inspections after flood events will be documented in letter reports which
       will be submitted within 30 days of the flood event. A flood event is defined as a period
       of inundation due to Ohio River water elevations at or above flood stage.
       • This remedy is considered complete after Remedial Action Completion Report (RACR)
       is submitted including 4 years of inspection reports, diagrams and pictures of work
       completed, and final approval by EPA and WVDEP. The RACR should include all
       specifications of material used and details of work performed.

             12.1.1.2 Stabilization of Operations Area Soils

       • PCBs are the contaminant of concern.
       • Soils area is approximately 7,000 SF. Area is identified on Figures 6a, 6b, and 13 and
       will be further defined in the Remedial Design phase.
       • Soils shall be amended with 5% stabilizers and cement. Specific method of interment
       will be described in Remedial Design.
       • This remedy is considered complete after RACR is submitted including inspection
       reports, diagrams and pictures of work completed, and final approval by EPA and
       WVDEP. The RACR should include all specifications of material used and details of
       work performed.

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            12.1.1.3 Excavation of Floodplain Wet Soils

       • COCs are arsenic, chromium, copper, lead, manganese, thallium, zinc,
       hexachlorobenzene (HCB), total PCBs.
       • The areas for excavation are defined on Figures 6a and 6b but the final determinations
       of location will be defined during the Remedial Design. Excavation depth is expected to
       be generally 1 foot for a total of 19,200 SF.
       • Excavated soils should be managed and disposed according to CERCLA, RCRA and
       other ARARs. It is estimated that about 710 cubic yards of wet soils will be disposed off-
       Site.
       • Confirmation sampling following excavation is required to ensure cleanup standards are
       attained. The parameters of the confirmation sampling will be determined during the
       Remedial Design phase.
       • This remedy is considered complete after RACR is submitted including inspection
       reports, diagrams and pictures of work completed, and final approval by EPA and
       WVDEP. The RACR should include all specifications of material used and details of
       work performed.

       12.1.2 Former Mercury Cell Building Capping

       • The area identified for capping is seen in Figure 14. The area is approximately 17,000
       SF and consists of a 6-inch concrete cap. The completed cap will require approximately
       400 cy of concrete.
       • A variable thickness will be required in some locations (e.g., to fill the trenches). The
       formwork for the concrete should be constructed to create a slight grade (1% to 2%) to
       shed water to the sides and mitigate ponding. The concrete cap should extend slightly
       beyond the limits of the existing slab as a conservative precaution.
       • Epoxy will be applied to the concrete. Specific compounds will be defined in the
       Remedial Design phase.
       • Routine inspection and maintenance of the concrete cap and epoxy coating will be
       conducted on a monthly basis and recorded in an onsite log. The asphalt area north of the
       annex shall also be inspected for integrity and record of such inspections should be
       included in the monthly log. This log should be maintained and available for inspection.
       Annual reports shall be submitted to EPA and WVDEP by April 1 for the previous
       calendar year. The reports shall include a figure of areas to be inspected, the inspection
       log including who did the inspection and when, and a list of any deficiencies including
       cracks, stains, or other anomalies and work undertaken to correct any such deficiencies.
       • This remedy is considered complete after RACR is submitted including inspection
       reports, diagrams and pictures of work completed, and final approval by EPA and
       WVDEP. The RACR should include all specifications of material used and details of
       work performed.

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        12.1.3 Sewers Grouting with Partial Excavation as Necessary

 This remedy consists of grouting as the base remedy, but with additional clearing (via jetting,
 augering, or other methods) for sewers that cannot be grouted and camera inspection of the
 segments of impacted sewer lines that were not able to be investigated previously.

        • EPA conservatively assumes that up to 20% of the sewer lines will not meet the
        grouting performance requirement. These segments should be excavated and transported
        off-site for proper disposal.
        • Enhanced clearing techniques (jetting, augering, or other methods) should be
        implemented to attempt to clear obstructions that prevented the inspection camera from
        accessing approximately 400 linear feet of the five impacted sewer segments, which total
        approximately 790 linear feet.
        • The performance standard for the grouting work will consist of a volumetric evaluation,
        in which the design of grout (based on length and diameter of the impacted sewer
        segment) will be compared to the actual quantity of grout injected. The specific steps of
        this evaluation will be developed during the Remedial Design.
        • The grout mix will be selected to ensure that it is effective to adsorb mercury. Grout
        material will be defined in the Remedial Design phase.
        • If the grouting performance standard performance standard cannot be achieved while
        grouting from one end of the sewer, presumably due to a blockage in the sewer line,
        grouting will be attempted from the other end of the sewer. If the performance standard
        still cannot be achieved, the line will be exposed via excavation, limited to 5 feet on
        either side of the blockage, and that section of the line will be removed or otherwise
        rectified to the satisfaction of EPA, in consultation with WVDEP. The open ends of the
        excavated sewer line will be capped, and the grouting will continue.
        • This remedy is considered complete after RACR is submitted including inspection
        reports, diagrams and pictures of work completed, and final approval by EPA in
        consultation with WVDEP. The RACR should include all specifications of material used
        and details of work performed.

 All excavated material should be managed and disposed of according to CERCLA, RCRA and
 other ARARs.

        12.1.4 Institutional Controls

 The following ICs will be implemented to prevent interference with all remedial measures
 installed as part of the Final Remedial Action, to ensure people are not exposed to contaminants
 in the subsurface soils until performance standards are achieved:

              12.1.4.1 Shallow Soils

        • Prevent residential use of the Site as a supplement to the current industrial zoning;

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        • Require that any new building that is constructed onsite include engineering controls
        (e.g., vapor barriers) in the design, or demonstrate that the vapor intrusion pathway is not
        complete;
        • Restrict any actions inconsistent with an established soil management plan approved by
        EPA, in consultation with WVDEP;
        • Provide for continued O&M of existing waste management units established by earlier
        removal actions.
        • Implement an approved soil management plan that mitigates potential hazards
        remaining after implementation of the OU1 active remedy with portions of the
        Operations Area and Hanlin Floodplain with localized, high concentrations of arsenic,
        manganese, mercury, and thallium. Any additional contaminated soil found after the
        remedial action shall be removed and appropriately managed.

 The above land restrictions will be established through one or more Land Use Covenant
 documents executed pursuant to the West Virginia Uniform Environmental Covenants Act, WV
 Code § 22-22B.

              12.1.4.2 Former Mercury Cell Building

        • Periodically monitor for vapor intrusion in all existing enclosed structures;
        • Require that any new building that is constructed include engineering controls (e.g.,
        vapor barriers) in the design, or demonstrate that the vapor intrusion pathway is not
        complete;
        • Prohibit disturbance of any remedial component, such as the GWTP building floor and
        concrete cap;
        • Establish and require compliance with health and safety protocols for any future
        required sub-surface disturbance in which on-site workers could come in contact with
        elemental mercury or other hazardous conditions.

 12.2 RATIONALE

        12.2.1 Shallow Soils - Alternative 4: Stabilization of Operations Area Soils,
               Excavation of Floodplain Wet Soils, and Cover of General Floodplain Soils

 The Final Remedial Action that best satisfies the threshold and balancing evaluation criteria is
 Alternative 4: Stabilization of Operations Area Soils, Excavation of SWMU Floodplain Wet
 Soils, and Cover of General Floodplain Soils. The estimated cost for Alternative 4 is $1,250,000,
 and the major components are shown on Figure 13. EPA is selecting Alternative 4 over the other
 alternatives because it is protective of human health and the environment, it will comply with
 ARARs, it uses treatment to the maximum extent practicable, it is readily implementable, and the
 alternative is cost-effective. Excavating only the floodplain wet soils while covering other soils
 located in the floodplain is preferred over excavating all soils because limiting excavation
 minimizes the risk of exposure to on-Site workers undertaking the excavation and risk in the

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 community by reducing truck traffic from the Site while providing a protective, cost-effective
 remedy. Covering soils in the floodplain has been successfully implemented since the 1995
 Hanlin AOC and remains protective after major storm events. Alternative 4 is the easiest to
 implement, and costs less than 60% of the other two active remedies.

        12.2.2 Former Mercury Cell Building - Alternative 3: Capping

 The Final Remedial Action alternative that best satisfies the threshold and balancing evaluation
 criteria is Alternative 3: Capping. The estimated cost for Alternative 3 is $560,000, and the major
 components are shown on Figure 14. EPA is selecting Alternative 3 over the other alternatives
 because it is protective of human health and the environment, it will comply with ARARs, it uses
 treatment to the maximum extent practicable, it is readily implementable, and the alternative is
 cost-effective.

 Alternative 3 will be protective and the comparative analysis showed that it is superior to the
 other alternatives, especially when considering three of balancing criteria in particular (short-
 term effectiveness, implementability, and cost). The capping alternative minimizes risk to on-
 Site workers and eliminates the need to transport contaminated concrete through the community
 in approximately 80 trucks. Risk reduction will be confirmed by periodic sampling of mercury
 vapors in existing enclosed structures. This approach is easily implemented and significantly less
 costly than Alternatives 4 and 5, respectively, because excavation requires additional logistics
 and safety precautions including shoring, complicated excavation near structures and waste
 handling procedures and disposal.

        12.2.3 Sewers - Alternative 5: Grouting with Partial Excavation as Necessary

 The Final Remedial Action alternative that best satisfies the threshold and balancing
 evaluation criteria is Alternative 5: Grouting with Partial Excavation as Necessary. The
 estimated cost for Alternative 5 is $470,000, and the major components are shown on Figure 15.
 EPA is selecting Alternative 5 over the other alternatives because it is protective of human health
 and the environment, it will comply with ARARs, it uses treatment to the maximum extent
 practicable, it is readily implementable, and the alternative is cost-effective.

 Alternative 5, Grouting with Partial Excavation as Necessary, will be more protective than
 Alternatives 3 and 4, pose less risk to the on-Site workers, and reduce transportation of waste
 materials through the community. Readily implementable, Alternative 5 is approximately half
 the cost of Alternative 2, though slightly more costly than Alternatives 3 and 4. The combination
 of grouting and excavation provides a permanent solution for areas that cannot be grouted while
 minimizing the disturbance inherent to excavation activities.

 12.3 COST ESTIMATE

 The estimated present worth of the total cost of the selected remedy for the Shallow Soils is
 $1,250,000. This total cost includes the capital cost of $1,130,000, as well as additional periodic
 and O&M costs of $10,000 for an assumed period of 30 years.


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 The estimated present worth of the total cost of the selected remedy for the Former Mercury Cell
 Building is $560,000. This total cost includes the capital cost of $430,000, as well as additional
 periodic and O&M costs of $11,000 for an assumed period of 30 years.

 The estimated present worth of the total cost of the selected remedy for the Sewers is $470,000.
 This is the total cost as there is no long-term maintenance cost.

 Table 10a. Final Remedy Costs
  Shallow Soils                    $1.25M


  Former Mercury Cell              $0.56M
  Building
  Sewers                           $0.47M


                                   ________
  TOTAL                            $2.28M

 12.4 EXPECTED OUTCOMES

 The purpose of this response action is to control risks posed by direct contact with soil and
 ground water and to minimize migration of contaminants to ground water. The results of the risk
 assessment indicate risk relates to the mercury, manganese, PCBs and other COCs as listed in
 Section 7.1in soil and ground water. This final remedy shall address soils contaminated with
 mercury. The interim remedy addresses mercury in groundwater in the South Plant area and
 maintain the groundwater treatment system to standards that protect the Ohio River and
 ecosystem. The site is expected to be available for unrestricted residential land use as a result of
 the remedy.

        12.4.1 Shallow Soils

 This remedy involves in situ S/S of the soils in the Operations Area and a vegetative cover over
 the floodplain soils, except for the SWMU M vicinity wet soils, which will be excavated.

 The floodplain cover is assumed to consist of one foot of clean soil cover that is suitable for
 support of vegetative growth. Existing stockpiles have been evaluated and found to be suitable
 for this purpose and are assumed to be the source of fill for the cover soils for this remedy. The
 fill will be hydroseeded after placement and grading. The area of the floodplain that would
 receive cover is approximately 4.2 acres. To promote the stability of the cover system, the
 establishment of vegetation and the physical stability of the cover would be monitored no less
 than four years after construction and thereafter re-evaluated to determine if monitoring can be
 discontinued or if it is needed for an additional period of time. Additionally, the presence of
 invasive plant species within this area will be monitored during that timeframe, and appropriate
 steps to limit the establishment of such species will be taken.

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 The SWMU M vicinity wet soils will be excavated (approximately 0.4 acres) and replaced with
 approximately 900 CY of backfill with hydroseeding after excavation. It is estimated that the
 implementation of this remedy will be completed in less than one year. The quantity of soils
 excavated may be significantly less than anticipated due to the limited information currently
 available in this area.

        12.4.2 Former Mercury Cell Building

 This remedy involves concrete capping of the western and southern portions of the Cell Building
 management area, also known as the exposed portion of the foundation without structures. A
 new concrete cap would not be installed over the existing asphalt cap to the north of the GWTP
 Annex, as this area was paved in 2005. The total area of the proposed concrete cap is
 approximately 17,000 SF.

 An epoxy sealant would be applied over the existing surface area (17,000 SF) prior to concrete
 work, to seal cracks, reduce vapor migration, enhance the containment of mercury in its present
 location and prevent migration into adjacent media. This will be confirmed by periodic sampling
 to confirm that mercury vapors inside existing structures remain within the acceptable risk range.

 The concrete cap design is assumed to consist of at least 6 inches of concrete poured over the full
 extent of the 17,000 SF area. A variable thickness will be required in some locations (e.g., to fill
 the trenches). The formwork for the concrete will be constructed to create a slight grade (1% to
 2%) to shed water to the sides and prevent ponding. It is expected that the concrete cap will
 extend beyond the limits of the existing slab as a conservative precaution.

 Long-term inspection and maintenance of the concrete cap and the existing asphalt pavement
 will be required, primarily to inspect the competency of the concrete over time and perform
 corrective maintenance as needed. It is estimated that the implementation of the remedy will be
 completed in less than one year.

        12.4.3 Sewers

 The selected remedy involves abandoning in place the sewers that are impacted with visible
 mercury by full grouting the impacted lines. Grouting will involve a pressure injection via tremie
 methods to inject flowable fill, or suitable equivalent. The flowable fill will encapsulate the
 visible mercury and would solidify in place.

 Along with the above, additional clearing (via jetting, augering, or other methods) and camera
 inspection will be performed on the segments of impacted sewer lines that were not able to be
 previously investigated. If the grouting performance standard cannot be achieved while grouting
 from one end of the sewer, presumably due to a blockage in the line, grouting will be attempted
 from the other end of the sewer. If the performance standard cannot be achieved, the line would
 be exposed via excavation, limited to 5 feet on either side of the blockage, and that section of the
 line will be removed. The ends of the sewer line would be capped, and the grouting would
 continue. As a conservative assumption, up to 20% of the sewer lines would not meet the

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 grouting performance requirement. These segments will be excavated and transported off-site for
 proper disposal.

 12.5 PROTECTION OF HUMAN HEALTH AND ENVIRONMENT

 The Interim Remedial Action will achieve protection of human health and the environment by
 reducing groundwater contamination and preventing exposure. This interim remedy establishes
 discharge limits; however, groundwater cleanup levels will not be established until EPA selects
 the final remedy. The Interim Remedial Actions will reduce human exposure to the contaminated
 groundwater.

 13.0 INTERIM REMEDIAL ACTION
 Following review and consideration of the information presented in the Administrative Record of
 this Record of Decision, the requirements of CERCLA and the NCP, state acceptance and public
 comments, EPA has selected the following interim remedy:
 South Plant Groundwater - Alternative 2: Upgraded Groundwater Extraction and Treatment (+
 SVE).

 13.1 INTERIM REMEDIAL ACTION COMPONENTS AND PERFORMANCE
      STANDARDS

 The Interim Remedial Action is designed to contain a potential source area of contamination,
 prevent groundwater use, and reduce groundwater contamination until a comprehensive final
 groundwater remedy is selected. These measures will substantially increase protection of human
 health and the environment. The selected Interim Remedial Action includes the following
 components and performance standards:

         13.1.1 South Plant Alluvial Groundwater: Upgraded Groundwater Extraction and
                Treatment (+ SVE)

 By implementation of pilot studies and technological upgrades, the GWTP will attain the
 following standards 9:

         • $FKLHYHȝJ/RIWRWDOPHUFXU\DWWKH*:73HQG-of-pipe discharge temporarily
         evaluated at the Stilling Pond alternative compliance point;
         • $FKLHYHȝJ/RIWRWDOPHUFXU\DWWKHERXQGDU\RIWKHWHPSRUDU\PL[LQJ]RQe
         • $FKLHYHȝJ/WRWDOPHUFXU\DWWKH*:73HQG-of-pipe discharge within 5 years and
         3 months of the issuance of the OU1 ROD.

 The process by which new technology shall be evaluated is the following:


 9
  Although mercury is the primary COC for this interim action, the remaining COCs and standards set forth in Table
 1 will also be met through adjustments to the GWTP and/or other means of attainment.

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 Data Gap Assessment (2-3 months)
 A desktop assessment will be performed to identify and resolve data needs to define the
 treatment solution, such that a suitable list of candidate treatment options can be developed. Data
 needs could include chemical complexation of mercury in the aquifer and supernatant of the
 clarifier, as well as representative ranges of water quality (e.g., pH and alkalinity) for the influent
 and effluent of the current GWTP system. This assessment is expected to take 2-3 months.

 Desktop Engineering Evaluation (2-3 months)
 A desktop engineering evaluation of in situ and ex situ treatment options will be performed,
 utilizing any newly collected data, and screening out those technologies that may not be capable
 of achieving the end-of-pipe treatment goal. A combination of technologies may be utilized to
 achieve the objective. This evaluation is expected to take 2-3 months.

 Bench-Scale Treatability Study (6-9 months)
 The necessity of a bench-scale treatability study will depend on the results of the data gap
 assessment discussed above and evaluation of treatment options. The objectives of the bench-
 scale treatability study include (i) confirming the best combination of treatment technologies to
 PHHWGLVFKDUJHFULWHULDRIȝJ/RIWRWDOPHUFXU\DWWKHWHPSRUDU\DOWHUQDWLYH compliance
 poiQWWRPHHWȝJ/RIWRWDOPHUFXU\DWWKHERXQGDU\RIWKHWHPSRUDU\PL[LQJ zone, and to
 PHHWȝJ/DWWKH*:73HQG-of-pipe discharge within 5 years; and (ii) providing
 preliminary estimates of additive dosing and residence time requirements, as applicable. This
 study is expected to take 6-9 months.

 Field-Scale Pilot Study (12-18 months)
 The selected treatment option(s) will likely require testing in the field to confirm if the water
 quality standard can be met consistently for the GWTP discharge. Additionally, field pilot testing
 will support improved estimates of expanding the system for full operation and associated costs.
 This study is expected to take 12-18 months.

 Design and Construction (24-30 months)
 Following completion of bench-scale and field-scale testing, the upgraded GWTP will be
 designed and constructed to implement the enhanced treatment to meet the performance
 standards. This work is expected to take 24-30 months.

 The scope of the interim remedy ultimately will depend on the outcome of the pre-design
 evaluation activities which will determine the best combination of technologies to achieve the
 standards. Upgrades may include Pre-Aeration, Multimedia Filtration, and Ion Exchange which
 are shown in Figure 11. The COCs are identified in Table 2 and mercury plume schematic can be
 found in Figures 9a-e.

    1. The GWTP will continue to operate and be upgraded using the above process until the
       performance standards required above are achieved within the attainment period;
    2. Monitoring of groundwater will be performed regularly following the application of
       different treatment technologies to ensure that the performance standards for the



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        reduction of contaminated groundwater will be met and that containment of the source
        area is maintained.

        13.1.2 Soil Vapor Extraction System (SVE)

 The remedy includes the ongoing and continued operation of the existing SVE system. The
 Remedial Design phase will include the Operation and Maintenance of the SVE system.

        13.1.3 Institutional Controls

 The following ICs will be implemented to prevent interference with all remedial measures
 installed as part of the Interim Remedial Action, to ensure people are not exposed to
 contaminants in the groundwater until performance standards are achieved:

        • Limit the South Plant Area to industrial use;
        • Prohibit potable use of South Plant alluvial groundwater; and
        • Prohibit disturbance of any remedial component, such as the GWTP building and
        monitoring and extraction wells.

 13.2 RATIONALE

 The selected Interim Remedial Action alternative that best satisfies the threshold and balancing
 evaluation criteria is Alternative 2: Upgraded Groundwater Extraction and Treatment (+ SVE).
 The estimated capital cost for Alternative 2 is $940,000 and the major components are shown on
 Figure 11 which include pre-aeration, multimedia filtration, and ion exchange. The total
 Operations and Maintenance cost could be $4,316,000 if all elements are utilized. EPA is
 selecting Alternative 2 over the other alternatives because it is protective of human health and
 the environment, it will comply with ARARs, it uses treatment to the maximum extent
 practicable, it is readily implementable, and is cost-effective. Alternative 2 utilizes the existing
 GWTP and SVE system which have been operating since the early 2000’s. The SVE system has
 removed >336,000 lbs of volatile organic contaminants and the GWTP has treated over 1.78
 million gallons of influent.

 Alternative 2 includes several study and analysis steps necessary to assess which of the treatment
 technologies, or combination thereof, will best achieve the mercury discharge limit objective. A
 combination of the technologies best meets the requirements of the Overall Protection of Human
 Health and the Environment and the five balancing criteria (Long-Term Reliability and
 Effectiveness, Reduction of Toxicity, Mobility, and Volume through Treatment, Short-Term
 Effectiveness, Implementability, and Cost). The selected interim remedial alternative has the
 following advantages over Alternative 3:

        • it contributes to the maximum reduction of plume mobility and source mass;
        • it does not involve extensive caustic chemical handling;
        • it utilizes technologies proven to be effective; and

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        • it costs significantly less than Alternative 3.

 Capital costs for the selected Interim Remedial Action vary depending upon the final
 combination of technologies implemented; the 30-year NPV costs are estimated to be not more
 than $19.0 million. This estimate includes capital costs of $940,000 and Total Annual O&M
 Costs of $1,490,000

 13.3 EXPECTED OUTCOMES

 The Interim Remedial Action is expected to achieve groundwater interim remedial goals and
 protect the Ohio River in accordance with the RAOs.

 The selected Interim Remedial Action includes upgrades to the GWTP to ensure removal of
 mercury to attain the West Virginia direct discharge limit with continued operation of the current
 SVE system to continue removal of soil vapor. The upgrades to the GWTP will include one or
 more of the following technologies: Pre-Aeration, Multimedia Filtration, and Ion Exchange. It is
 not required that all of the upgrades are implemented provided the GWTP improvements
 incorporated into the remedial design will meet the performance criteria described above.

 The GWTP will require study and upgrades to effectively extract COCs from the South Plant
 alluvial groundwater and treat the extracted groundwater to ensure that the discharge meets the
 water quality standard identified in the RAOs. A Data Gap Assessment, Desktop Engineering
 Evaluation, Bench-Scale Treatability Study and Field-Scale Pilot Study will be conducted as a
 pre-design evaluation to determine the best combination of technologies to achieve the treated
 water performance criteria.

 13.4 PROTECTION OF HUMAN HEALTH AND ENVIRONMENT

 The Interim Remedial Action will achieve protection of human health and the environment by
 reducing groundwater contamination and preventing exposure. This interim remedy establishes
 discharge limits; however, groundwater cleanup levels will not be established until EPA selects
 the final remedy. The Interim Remedial Actions will reduce human exposure to the contaminated
 groundwater.

 Table 10b. Summary of Hanlin Allied Olin Remedies
         OU1 Element                    Remedy                                 Interim or Final
  Shallow Soils                     Stabilization of Operations Area   Final
                                    Soils, Excavation of Floodplain
                                    Wet Soils, and Cover of General
                                    Floodplain Soils
  Former Mercury Cell Building      Capping                            Final
  Sewers                            Grouting with Partial              Final
                                    Excavation as Necessary
  South Plant Alluvial              Upgraded Groundwater               Interim
  Groundwater                       Extraction and Treatment (+
                                    SVE)


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 14.0 STATUTORY DETERMINATIONS
 14.1 COMPLIANCE WITH ARARS

 The NCP, at 40 C.F.R. §§ 300.430(f)(5)(ii)(B) and (C), requires that a ROD describe Federal and
 State ARARs that the remedy will attain or, if not, provide a justification for any waivers.
 Applicable requirements are those cleanup standards, standards of control, and other substantive
 environmental protection requirements, criteria, or limitations promulgated under Federal or
 State law that specifically address a hazardous substance, pollutant, or contaminant; remedial
 action; location; or other circumstance at a CERCLA site. Relevant and appropriate
 requirements, while not legally applicable to a hazardous substance, pollutant, or contaminant;
 remedial action; location; or other circumstances at a particular CERCLA site, address problems
 or situations sufficiently similar to those encountered at the site such that their use is considered
 well-suited to the particular site. Each of the components of the selected remedy will comply
 with ARARs (Table 11).

 14.2 COST EFFECTIVENESS

 Under Section 300.430(f)(1)(ii)(D) of the NCP, once a remedy satisfies the threshold criteria of
 overall protection of human health and the environment and compliance with ARARs, the
 remedy’s cost-effectiveness is determined by evaluating its long-term effect and permanence;
 reduction in toxicity, mobility, or volume through treatment; and short-term effect. If the overall
 cost of the remedy is proportional to its overall effectiveness, then it is cost-effective. As
 discussed in detail in Section 10.7 of this ROD, the Interim and Final Remedial Actions are cost-
 effective because they satisfy the criteria listed above and offer a permanent solution through the
 treatment of contaminants in groundwater, soil, and known mercury sources. The Interim and
 Final Remedial Actions will achieve the RAOs in a more cost-effective manner than the other
 alternatives analyzed.

 14.3 UTILIZATION OF PERMANENT SOLUTIONS TO THE MAXIMUM EXTENT

 The Interim Remedial Action for the South Plant Groundwater represents the best option to
 utilize a known effective treatment system while additional technologies are evaluated to
 upgrade the plant. This approach allows the Site to attain discharge objectives as soon as
 practicable while also continuing the ongoing treatment system that is currently in place. The
 Final Remedial Actions for the Former Mercury Cell Building, South Plant Sewers, and Soils
 represents the best options to minimize impact on the community, clean up contaminated media
 to cleanup goals, and do so efficiently and safely.

 14.4 FIVE-YEAR REVIEW REQUIREMENTS

 CERCLA § 121(c) and Section 300.430(f)(4)(ii) of the NCP provide the legal basis for
 conducting FYRs. The Final Remedial Action will result in hazardous substances remaining on
 Site above levels that allow for unlimited use and unrestricted exposure. A FYR will be
 performed every five years following the start of the remedial action.

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 14.5 TOTAL COSTS

 The total cost for all four remedies as seen below in Table 10c is $2,970,000 in capital costs.
 Operation and Maintenance costs are $4,337,000 for a total cost in this OU1 ROD of
 $21,280,000.

 Table 10c. Total OU1 Remedy Cost Estimate
  Alternative       Capital Costs  O and M           NPV 30 years
  Soils:            $1,130,000     $10,000           $1,250,000
  Alternative 4
  Former Mercury $430,000          $11,000           $560,000
  Cell Building:
  Alternative 3
  South Plant       $470,000       $0                $470,000
  Sewers:
  Alternative 5
  South Plant       $940,000*      $4,316,000*       $19,000,000*
  Alluvial
  Groundwater:
  Alternative 2
                    $2,970,000     $4,337,000        $21,280,000
 *Capital cost and O&M are a sum of Pre-Aeration, Multimedia Filtration and Ion Exchange
 technologies.




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                III. RESPONSIVENESS SUMMARY

         HANLIN-ALLIED-OLIN SUPERFUND SITE
                  OPERABLE UNIT 1
                RECORD OF DECISION

                      MOUNDSVILLE,
              MARSHALL COUNTY, WEST VIRGINIA
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 RESPONSIVENESS SUMMARY
 This section summarizes the questions and comments received during the public comment period
 for the Hanlin-Allied-Olin Superfund Site, OU1 The Proposed Remedial Action Plan was
 released for public comment July 10, 2020. The public comment period extended from July 10,
 2020, through August 8, 2020. A public meeting was held online on July 23, 2020. Two (2)
 citizens and three (3) potentially responsible party (PRP) employees attended the meeting.
 Several questions were addressed during the event. Honeywell submitted the following
 comments via email. No other questions or comments were received via postal mail, electronic
 mail, or telephone.

 Honeywell submitted comments regarding the PRAP on August 7, 2020 in a letter addressed to
 EPA’s Remedial Project Manager for the Hanlin-Allied-Olin Superfund Site, Lisa Denmark. No
 other formal questions or comments were received. EPA worked with WVDEP to address each
 of the comments below.

 Honeywell Topic 1: General Language for Remedial Action Objectives

 Comment from Honeywell:

 Remedial Action Objectives (RAOs) for Site media in the FS generally used language such as
 “mitigate or control” in reference to media concentrations that pose unacceptable risks. The
 PRAP generally substituted the term “prevent” for “mitigate...”. In our discussion with USEPA
 after PRAP release, USEPA indicated that they viewed the terms as synonymous.

        Response: EPA understands the concern; however, the Agency believes that “prevent”
        better describes the objectives of the response action, but is not a very significant change
        from the terms used in the FS.

 Honeywell Topic 2: South Plant Groundwater, Proposed Expiration of Mixing Zone for
 Mercury

 Comment from Honeywell:

 This topic contains several interrelated aspects. The Groundwater Treatment Plant (GWTP)
 Discharge Limits discussed in the FS entailed the following requirements, in summary: (i)
 attainment of a 0.14 microgram per liter (μg/L) mercury discharge concentration at the end-of-
 pipe, to be attained in a five-year schedule, and (ii) attaining an additional standard of 0.012
 μg/L at the boundary of temporary mixing zone to be established by USEPA and WVDEP. The
 PRAP contains an additional, unexpected statement, that the temporary mixing zone will expire
 no later than five years and three months after the ROD (p. 28). We have the following
 comments on this statement:

    The statement, taken together with the aforementioned discharge standards, creates a conflict in
    the document by suggesting that the plant discharge attain standards of both 0.14 μg/L and

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    0.012 μg/L at the same time, five years and three months after the ROD. It is not clear if the
    language intended to say that the GWTP must attain a discharge standard of 0.012 μg/L at
    the end-of-pipe. If so, this is internally inconsistent and furthermore conflicts with
    discussions held among the Agencies and Respondents, in which attaining the 0.012 μg/L
    end-of-pipe discharge standard was not a required element of the OU1 remedy. Moreover,
    attaining 0.012 μg/L as a discharge standard at the end-of-pipe is not discussed anywhere in
    the Alternative 2 description (pp. 31 – 33).

        Response:

    1. The mixing zone is indicated as “temporary”, and as such is not intended to be granted
       into perpetuity. Furthermore, considering this remedy to be an ‘interim’ remedy, the
       permissible timeframe for the (temporary) mixing zone is not intended to be left open-
       ended.
    2. There are four monitoring points to consider (i) the end-of-pipe discharge, which is where
       effluent leaves the treatment plant and heads towards the Stilling Pond; (ii) the Stilling
       Pond; (iii) the actual point of discharge to the Ohio River (outlet); and (iv) the edge of the
       temporary mixing zone. The requirements outlined in the PRAP are intended to achieve
       the following by 5 years and 3 months after the ROD is implemented: 0.14 μg/L Hg at
       the end-of-pipe, and 0.012 μg/L Hg at the end/edge of the temporary mixing zone. The
       temporary mixing zone will be determined pursuant to 47 CSR 2-5, with the goal of
       eliminating the temporary mixing zone 5 years after it is demonstrated through water
       sampling analysis (plan to be presented by [Responsible Party], and approved by the
       agencies) that the chronic aquatic life water quality standard concentration (0.012 μg/L)
       is achieved at the end/edge of the mixing zone. After 5 years, the temporary mixing zone
       will be evaluated for elimination. Said compliance must be achieved no later than 5 years
       and 3 months post ROD.

 Comment from Honeywell: Footnote 3 on p. 28 of the PRAP states that West Virginia prohibits
 the use of mixing zones to measure compliance with discharge limits under the National
 Pollutant Discharge Elimination System (NPDES). West Virginia regulations expressly permit
 the use of a mixing zone. Section 47-2-5.1 of the West Virginia Code of State regulations
 provides: “In the permit review and planning process or upon the request of a permit applicant or
 permittee, the secretary may establish, on a case-by-case basis, an appropriate mixing zone.”
 Tellingly, while the West Virginia regulations place a number of conditions on the use of mixing
 zones, there is no temporal limitation.

 Response: As prescribed in 47 CSR 2-5.1, a mixing zone MAY be granted as a case-by-case
 exception. This rule does not include mention of a temporal limitation. West Virginia is a
 compact state member of the Ohio River Valley Water Sanitation Commission (ORSANCO).
 ORSANCO does permit mixing zones for facilities discharging into the Ohio River prior to
 October 16th, 2003 (pre-2003). Originally, all pre-2003 dischargers that had been granted mixing
 zones, were required to have the mixing zones eliminated no later than October 16, 2015. On
 October 8, 2015, ORSANCO eliminated that requirement, however, the goal of eliminating
 mixing zones remains and was advanced by the requirement that the discharger demonstrate


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 actions to eliminate the need for a mixing zone “as soon as practicable”. Based on the 2019
 Revision to the ORSANCO Pollution Control Standards (PCS), the compact states are now
 afforded the discretion to decide whether to permit a mixing zone, and the discharger must
 demonstrate that the measures that will be taken to reduce or eliminate the need for a mixing
 zone during the permitting process as well as during subsequent permit renewal cycles. Per this
 discretion, it is the current policy of WVDEP DWWM to not observe the ORSANCO (PCS)
 human health standards for NPDES permits, and case-by-case mixing zones have been recently
 permitted. However, the state chronic aquatic life standard remains in effect. As for temporal
 limitations, it is the discretion of OER to determine how long to permit implementation of a
 mixing zone considering site conditions and state standards.

 Comment from Honeywell: Similarly, USEPA’s water quality standards handbook states that
 an individual mixing zone is used to establish a water quality-based effluent limit for a
 discharger’s NPDES permit, when a state has a mixing zone policy, such as the one promulgated
 by West Virginia. As with the West Virginia regulations, there is no mention in the handbook or
 the underlying Technical Support Document for Water Quality-based Toxics Control (1991) that
 mixing zones are temporary.

        Response: All mixing zones along the Ohio River in West Virginia are intended to be
        “temporary” (only pre-2003 dischargers) as per ORSANCO. It is EPA’s understanding
        that WVDEP OER observes this requirement. See comment above.

 Comment from Honeywell: We understand that the target of 0.012 μg/L that is discussed in the
 PRAP originally stems from the PCSs) of ORSANCO. In 2019, ORSANCO enacted revisions
 to the PCS document that emphasize ORSANCO’s increasing focus on science, assessment, and
 source water protection programs as opposed to regulation and further emphasizes the
 flexibilities that states need to receive when developing permitting strategies. ORSANCO
 acknowledges that states can provide permittees with regulatory flexibility for implementation
 of water quality standards. As such, WVDEP may therefore grant a permittee a mixing zone for
 bioaccumulative chemicals (i.e., mercury).

        Response: 0.012 μg/L is a promulgated standard (chronic aquatic life) for Hg in 47 CSR
        2 (Appendix E, Table 2, page 51). Note this standard is specifically for methylmercury
        and is based on a four-day average concentration, not to be exceed more than once every
        three years on the average. This standard is only coincidentally the same number listed in
        the ORSANCO PCS as the not-to-exceed concentration to be protective of human health.
        It is left up to the state to determine if a mixing zone will be granted as per their rules,
        policies and procedures. OER will grant a temporary mixing zone for 5 years as
        indicated above. After the 5-year period, the temporary mixing zone will be evaluated
        for elimination.

 Comment from Honeywell: For the reasons stated above, we respectfully request that USEPA
 remove from the ROD the statement concerning the expiration of the mixing zone in a set
 timeframe after ROD issuance or clarify that the mixing zone will be reviewed as part of the
 standard NPDES permit renewal procedures.

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        Response: The mixing zone use is explained above. Please see Figure 9d and 9e for
        further explanation. As indicated above and as set forth in the ROD, EPA will
        evaluate the need to extend or eliminate the use of the mixing zone following the
        requisite compliance period.

 Honeywell Topic 3: South Plant Groundwater, Timing of Discharge Standards for
 Mercury

 Comment from Honeywell: During development of the FS with USEPA, Honeywell proposed
 a five-year compliance schedule tied to the lodging of a Consent Decree (CD) for Remedial
 Design. In the PRAP, USEPA proposes a five year and three-month compliance schedule that is
 tied to the ROD (p. 28) rather than the CD.

        Response: This will add to the time it will take to achieve the remedy objectives,
        possibly a year or more. Therefore, the timeframe basis will not change. The timeframe
        should serve as an incentive for the PRP to complete the RD/RA CD negotiations in a
        timely manner.

 Honeywell Topic 4: South Plant Groundwater, Table 2: GWTP Discharge Limits

 Comment from Honeywell: Table 2 in the PRAP, found on pp. 26-28, presents discharge limits
 and monitoring requirements for 39 parameters separate from mercury. These additional limits
 were not included in the final, accepted FS, nor has the FS or other documents evaluated the
 feasibility of attaining these limits.

 For these reasons, we respectfully request that USEPA remove these ancillary requirements from
 the PRAP, recognizing that the South Plant alluvial groundwater remedy element is an interim
 action that can be further refined in work for one or more subsequent OUs. At a minimum, if
 USEPA elects to retain the table, we request that USEPA expand the text to commit the agencies
 to support the establishment of mixing zones for some of the ancillary parameters as found to be
 necessary during the RD.

        Response: The Site was evaluated by WVDEP DWWM in terms of meeting compliance
        (substantive requirements) as a permit was not technically applied for due to CERCLA
        ARAR exemptions. EPA consulted with WVDEP DWWM on the evaluation. As such,
        additional constituents (and outlets) were evaluated by WVDEP and meeting the
        applicable discharge limits/monitoring requirements of additional constituents are
        appropriate for inclusion. WVDEP DWWM indicated to EPA that it cannot calculate a
        default mixing zone for the organic parameters in the evaluation without background data
        in the Ohio River just upstream of the discharge point. No in-stream data has been
        provided and ORSANCO does not collect this data. WVDEP DWWM explained to EPA
        that it typically requires at least 10 background samples as close to critical condition as
        possible for each parameter that a mixing zone is requested. The additional outlets will



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        need to be monitored as previously indicated and will be addressed under OU2 (and re-
        evaluated at the appropriate time).

        EPA will evaluate these substantive requirements and a mixing zone during the Remedial
        Design phase. Given that these additional constituents were part of WVDEP’s
        requirements the criteria will follow WVDEP DWWM procedures as part of the ARAR
        process.

 Honeywell Topic 5: South Plant Groundwater, Table 2: GWTP Operational Uptime

 Comment from Honeywell: In the summary of the Groundwater Human Health Risk
 Assessment (HHRA) (PRAP pp. 21-22), USEPA states that the GWTP will operate “24 hour[s]
 per day, 365 day[s] per year.” The recent upgrades to the clarifier system have significantly
 reduced system downtime; however, downtime is still inevitable to address periodic needs for
 well pump replacement, extraction well maintenance, or treatment system pump replacement.
 Hence, we recommend that the ROD include a modified version of the statement that
 acknowledges maintenance needs.

        Response: EPA acknowledges the comment and has indicated in the Decision Summary
        that operation of the GWTS will require reasonable downtime for maintenance.




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                                  TABLES




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      Table 1: Soil COCs
                     Remedy                                                   COCs
       North and South Plant Soils
        Operations Area                               PCBs
        Wet Soils Area                                Arsenic, Chromium, Copper, Lead, Manganese,
                                                      Thallium, Zinc, HCB, Total PCBs
      Former Mercury Cell Building Area               Mercury
      Sewers                                          Mercury

      Table 2: GWTP Discharge Limits 10
                                                                       Discharge Limit
                         Parameter                           Average Monthly       Max Daily
      Flow (mgd)                                             Monitor 11            Monitor
      pH (s.u.)                                              6 (min)               9
      TSS (mg/l)                                             43                    72
      COD (mg/l)                                             39                    66
      Oil and Grease (mg/l)                                  Monitor               Monitor
      Iron, Total Rec. (mg/l)                                5.9                   16.8
      Carbon Tetrachloride (μg/l)                            0.23                  0.32
      Chloroform (μg/l)                                      5.7                   14.6
      Chloride (mg/l)                                        Monitor               Monitor
      Total Residual Chlorine (μg/l)                         Monitor               Monitor
      Aluminum (mg/l)                                        Monitor               Monitor
      Arsenic (mg/l)                                         Monitor               Monitor
      Cadmium (μg/l)                                         1.3                   2.6
      Hexavalent Chromium(mg/l)                              Monitor               Monitor
      Copper (mg/l)                                          0.02                  0.04
      Lead (mg/l)                                            0.023                 0.046
      Nickel (mg/l)                                          Monitor               Monitor
      Zinc (mg/l)                                            0.186                 0.374
      Sulfate (mg/l)                                         Monitor               Monitor
      Beryllium (mg/l)                                       Monitor               Monitor
      Benzene (μg/l)                                         Monitor               Monitor
      2,4-Dinitrotoluene (μg/l)                              Monitor               Monitor
      1,2-Dichloroethane (μg/l)                              0.035                 0.051
      1,1-Dichloroethylene (μg/l)                            0.03                  0.04
      Trichloroethylene (μg/l)                               2.5                   3.6
      Vinyl Chloride (μg/l)                                  0.025                 0.036
      Tetrachloroethylene (μg/l)                             0.7                   1.0
      Thallium (μg/l)                                        Monitor               Monitor

 10
    The discharge limit for mercury is presented in Section V. Remedial Action Objectives, GWTP Discharge
 Objectives.
 11
    The West Virginia NPDES permit (substantive requirements) requires monitoring and reporting of discharges of
 certain parameters without a specified limit.

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                                                           Discharge Limit
               Parameter (continued)             Average Monthly   Max Monthly
    Bis(2-ethylhexyl)phthalate (μg/l)            Monitor           Monitor
    Nitrobenzene (μg/l)                          Monitor           Monitor
    Dichlorobromomethane (μg/l)                  0.55              0.8
    1,1,2-trichloroethane (μg/l)                 Monitor           Monitor
    Pentachloroethane (μg/l)                     Monitor           Monitor
    Aniline (μg/l)                               1.5               3
    Hexachlorobutadiene (μg/l)                   Monitor           Monitor
    Hexachloroethane (μg/l)                      Monitor           Monitor
    Total PCBs                                   Monitor           Monitor
    Dioxins / Furans (2,3,7,8-TCDD)              Monitor           Monitor
    Chronic Whole Effluent Toxicity (Tuc)
    (ceriodaphnia dubia and pimephales promelas) Monitor           Monitor




                                             3
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                                  FIGURES
                                                                                                                                                   Case 5:23-cv-00059-JPB Document 6-1 Filed 02/22/23 Page 128 of 199 PageID #: 148




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                                                                                                                                                                                               OHIO                                            OLIN




                                                                                                                                                                                                                                               Groundwater Treatment Plant


                                                                                                                                                                                         Stilling Pond


                                                                                                                                                                                                                                 HANLIN
                                                                                                                                                                                                                                                   North Cell OSDF


                                                                                                                                                                                            Outfall 001
\\aro-01\prj1$\M\Mound\RI_FS\GA200457_ROD_Figures_USEPA\_GIS\MXD\Fig_01-02_SitePropLinesHanlin-Allied-Olin Site Layout.mxd; LWellborn; 10/6/2020




                                                                                                                                                                                                  South Cell OSDF




                                                                                                                                                                                                                                       1,000       500         0                   1,000 Feet
                                                                                                                                                               Area Boundary

                                                                                                                                                                                                                                                         Site Areas
                                                                                                                                                                                                                                                   Hanlin-Allied-Olin Site
                                                                                                                                                                                                                                                  Moundsville, West Virginia

                                                                                                                                                   Notes:
                                                                                                                                                   1. Olin Area sold to Caiman Eastern (Williams Partners) in 2011.
                                                                                                                                                   2. Aerial Source: ESRI, USDA FSA NAIP2016, July 2016.                                                                                        Figure
                                                                                                                                                                                                           Source: Esri, Maxar, GeoEye, Earthstar Geographics, CNES/Airbus DS, USDA, USGS, AeroGRID, IGN,
                                                                                                                                                                                                           and the GIS User Community
                                                                                                                                                                                                                                  Kennesaw, GA                      October 2020                  
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                                                                                                   )LJXUH D
                                                                                  Site Historical Timeline - 1953 to Present
                                                                                           Hanlin-Allied-Olin Site




                      Key Project Event                                  Event Dates                                      Final Report(s)                                Remedial Activities
                                                         1953: South and North Plant Operations Begin
                                                                    under Allied Chemical
                                                        1980: South Plant Sold to LCP Chemicals (Later
           Manufacturing Plant Operation Milestones                   Hanlin Chemicals)                  Not Applicable                                    Not Applicable
                                                          1981: North Plant Sold to Olin Corporation
                                                              1984: North Plant Operations Cease
                                                              1991: South Plant Operations Cease
           Issuance of WV NPDES Water Pollution
          Control Permit WV0004413 for Outfalls 002                  December 31, 1984
                          and 004                                                                        Subsequent Discharge Monitoring Reports as
                                                                                                                                                           Not Applicable
           Issuance of WV NPDES Water Pollution                                                          Applicable
          Control Permit WV0004405 for Outfalls 001                   February 19, 1985
                          and 002



                                                                                                         Olin Area Engineering Evaluation and Cost
              Hanlin-Allied-Olin Site, Olin Area                                                         Analysis (EE/CA), Revision 1, February 2005
         AOC for Engineering Evaluation/Cost Analysis                September 29, 1994                                                                    See Olin Removal Response Action below.
                    Docket III-94-39-DC                                                                  Addendum to Olin Area Engineering Evaluation
                                                                                                         and Cost Analysis (Revision 1), November 2006



                                                                                                                                                          Response Action Plan Activities:
                                                                                                                                                          1. Site security/health and safety.
                                                                                                         Final Report, Engineering Evaluation/Cost        2. Maintenance of Ranney Well A and D
                                                                                                         Analysis (EE/CA), Hanlin-Allied Area, December extraction until supersession by WVDEP Order
          Hanlin-Allied-Olin Site, Hanlin-Allied Area                                                    2001                                             4330 system in 2002 (see below).
             AOC for Removal Response Action                            March 8, 1995                                                                     3. Hazardous substance removal and Mercury Cell
                     Docket III-93-55-DC                                                                 Addendum: Engineering Evaluation and Cost        Building decontamination (completed December
                                                                                                         Analysis (EE/CA), Hanlin-Allied-Olin Site,       1999).
                                                                                                         February 2002
                                                                                                                                                          Additionally, see Hanlin-Allied Removal Action
                                                                                                                                                          below.
                                                                                                                                                          Olin Area Removal Response Action
                                                                                                                                                          implementation, beginning with North On-Site
                                                                                                         Final Report, Removal Action Plan, Olin Area     Disposal Facility (OSDF) Cell construction
                                                                                                         (October 2010)                                   (August 2004, see Hanlin-Allied Removal Action
              Hanlin-Allied-Olin Site, Olin Area                                                                                                          below), and continuing with excavation of
                                                                                                         Response to Comments on Final Report (June       Removal Action Areas (RAAs) and completing
              AOC for Removal Response Action                           June 18, 1997
                                                                                                         2011)                                            with soil removal and off-Site disposal in
                    Docket III-97-95-DC
                                                                                                                                                          September 2011. Ten shallow RAAs and three
                                                                                                         Post-Removal Site Control Plan, Revision 2
                                                                                                                                                          deep RAAs removed. 98,140 yd3 of impacted
                                                                                                         (August 2016)
                                                                                                                                                          material placed in the OSDF, and 3,500 yd3
                                                                                                                                                          disposed of off-Site.
                                                                                                                                     See Remedial Investigation/Feasibility Study
             National Priorities List (NPL) Listing                     July 22, 1999
                                                                                                                                     Docket No. CERCLA-03-2001-0323 Below.


         Honeywell, Moundsville, West Virginia Site
                                                                                                         Addendum 1 to WVDEP Compliance Schedule,
           Order Issued Under the Water Pollution                                                                                                         Startup of Groundwater Treatment Plant, October
                                                                       August 14, 2000                   Groundwater Extraction Well Layout, Hanlin-
         Control Act, West Virginia Code, Chapter 22,                                                                                                     2002
                                                                                                         Allied Area, Hanlin-Allied-Olin Site, March 2001
               Article 11 (WVDEP Order 4330)


                                                                                                         Final Operable Unit 1 Remedial Investigation
                                                                                                         Report, Hanlin-Allied-Olin Site, July 2018
                  Hanlin-Allied-Olin Site                                                                                                                  As discussed in this Record of Decision for OU1
          AOC for Remedial Investigation/Feasibility
                                                                     September 26, 2001                  OU1 Feasibility Study; Hanlin-Allied-Olin Site,
                          Study                                                                                                                            Management options development for OU2 in
                                                                                                         February 2020
            Docket No. CERCLA-03-2001-0323                                                                                                                 process.
                                                                                                         OU2 RI/FS in process.



                                                                                                                                             See Hanlin-Allied Area
            On-Site Disposal Facility Construction,
                                                              December 2002 - Septemeber 2009                                           AOC for Removal Response Action
                    Operation, and Closure
                                                                                                                                     Docket CERCLA-03-2003-0188DC Below.



                                                                                                                                                         Hanlin-Allied Area Removal Action
                                                                                                                                                         implementation, beginning with well abandonment
                                                                                                                                                         in December 2002 and partially completing with
                                                                                                         Final Report, Hanlin-Allied Removal Action,     North OSDF Cell closure in September 2009.
          Hanlin-Allied-Olin Site, Hanlin-Allied Area                                                    Hanlin-Allied Site, Moundsville, West Virginia, Two OSDF cells built, operated, and closed, and
             AOC for Removal Response Action                            June 30, 2003                    April 2011                                      upgrades to three Solid Waste Management Unit
             Docket CERCLA-03-2003-0188DC                                                                                                                (SWMU) covers constructed. Nine Soil Removal
                                                                                                         Post-Removal Site Control and Maintenance Plan, Areas, 12 SWMUs, and miscellaneous drum and
                                                                                                         On-Site Disposal Facility, RAP Supplement #5,   debris waste disposed of in OSDF. 370,000 yd3 of
                                                                                                         October 2010                                    impacted material placed in the OSDF cells. Soil
                                                                                                                                                         vapor extraction system installed in
                Hanlin-Allied Removal Action                       December 2002 - Present                                                               Chloromethanes Production Area and operated to
                                                                                                                                                         present day.

                     Olin Removal Action                        August 2004 - September 2011                        See Olin Area AOC for Removal Response Action Docket III-97-95-DC Above

                                                                                                                                                           Two investigation rounds (February and May
          Hanlin SHUA-8 Vicinity PCB Management                                                          Soils Investigation Data and Closeout Report:     2015) and removal and off-Site disposal of 581
                                                                 February 2015 - March 2016
                  (Redevelopment Support)                                                                SHUA-8 Vicinity, Revision 1, June 2017            tons of PCB-impacted soils.




                                                                                                                                                                                                             October 2020
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                                                                           1   Soil excavated from SWMUs and SRAs in Hanlin Floodplain, Central Area, and Operations Area soils; some residual soil impacts remain.

                                                                           2   Process-related VOCs in groundwater migrate from upland terraces to the alluvial trough.
                                                                                                                                                                                               Conceptual Site Model, South Plant
                                                                           3   Several SWMUs with limited presence of process-related VOCs, PCBs, and TAL metals remain in-place.
                                                                                                                                                                                                         Hanlin-Allied-Olin Site
                                                                               South Plant Groundwater captured by groundwater extraction system, with limited amount of flux                           Moundsville, West Virginia
                                                                           4
                                                                               to Ohio River. COPC discharge does not exceed ambient water quality criteria.
                                                                               DNAPL in fractured bedrock can travel along bedding planes then collect in small "dead-end"                                                           Figure
                                                                           5
                                                                               fractures where migration is limited.

                                                                           6   Elemental mercury observed at shallow depths below former cell building foundation and in limited                                                      E
                                                                               number of sanitary sewer segments, with no impacts to soil/groundwater identified from sewers.           Kennesaw, Georgia            -XO\
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                                                                                                                        COPCs from NE
                                                                                                                       Allied Park SWMUs
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                                                                               Soil excavated from Allied Park SWMUs and Former Olin Area deep soils. Some residual impacts
                                                                           1   remain in Allied Park.
                                                                               Process-related SVOCs in groundwater migrate from upland terraces and Allied Park source areas to          Conceptual Site Model, North Plant
                                                                           2   alluvial trough.
                                                                                                                                                                                                    Hanlin-Allied-Olin Site
                                                                               Several SWMUs with limited presence of process-related SVOCs remain in-place.                                       Moundsville, West Virginia
                                                                           3

                                                                           4   Groundwater in North Plant groundwater flows toward river and south toward South Plant.                                                          Figure

                                                                               DNAPL in fractured bedrock can travel along bedding planes then collect in small "dead-end"                                                       F
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                                                                               fractures where migration is limited.                                                               Kennesaw, Georgia            -XO\
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                                                                                                                                                                                                                                        Allied Park Floodplain
                                                                                                                                                                                                                                        43.6 acres
                                                                                                                                         Hanlin Floodplain
                                                                                                                                         63.5 acres




                                                                                                                                                                                                             Central Area
                                                                                                                                                                                                             32.5 acres




                                                                                                                                                                                                                                                              Southeast Area
                                                                                                                                                                                                                                                              31.6 acres

                                                                                                                                                                                                   Mercury Cell Building
                                                                                                                                                                                                   1.6 acres
   N:\M\Mound\RI_FS\GA160015_HHRA_Soils\Figures\MXD\Fig_03_Hanlin-Allied Area Human Health Exposure Units.mxd; RSiebenmann; 11/10/2017




                                                                                                                                                                                                                            Operations Area
                                                                                                                                                                                                                            71.4 acres




                                                                                                                                                                                                                                                    500       250        0                  500
                                                                                                                                                                                                                                                                                              Feet
                                                                                                                                                     Approximate Location of 100-year Floodplain Elevation
                                                                                                                                                     Human Health Exposure Units

                                                                                                                                                     Site Features                                                                            Hanlin-Allied Area Human Health Exposure Units
                                                                                                                                                                                                                                                                Hanlin- Allied-Olin site
                                                                                                                                                    Ohio River                                                                                                 Moundsville, West Virginia



                                                                                                                                                                                                                                                                                                     Figure
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                                                                                                                                             SWMU E1                                                            Figure
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                                                                                                                                                      Observations                                                  Moundsville, West Virginia
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                                     Points of Compliance                                                                                                  Timeframe for Compliance

 Point of                                                                    Basis for                       ROD DATE (Immediately following                 Must meet limit five years,
                                                                                             Mercury                                                                                            Must meet limit following the
Compliance              Point of Compliance Description                      Mercury                          ROD signature - interim point of                three months after ROD
                                                                                              Limit                                                                                             elimination of the temporary
Designation                                                                   Limit                          compliance until "A" is required.)                      signature
                                                                                                                                                                                                    mixing zone (see "D").
                                                                             WV ARAR
    A                        Treatment Plant Effluent
                                                                             47 CSR 2      0.14 ug/L1                                                                         X
                                                                             WV ARAR
    B                               Stilling Pond
                                                                             47 CSR 2      0.14 ug/L1                             X
                                                                             WV ARAR
    C                    Discharge Outlet to Ohio River
                                                                             47 CSR 2      0.012 ug/L2                                                                                                           X
                                                                             WV ARAR
    D            End of Temporary Mixing Zone in Ohio River                  47 CSR 2      0.012 ug/L   2
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              1. Mercury Limit represents the acute standard protective of human health (47 CSR 2, Appendix E, Table 2, page 51)
              2. Mecury Limit represents the chronic standard protectie of aquatic life (47 CSR 2 Appendix E, Table 2, page 51). Note this standard is specifically for methylmercury and is based on a four-day average concentration,
  Notes:
              not to be exceed more than once every three years on the average.
              3. *A five year mixing zone will be granted by WV following the first date of compliance with limit, mixing zone will be permitted for a period of not less than five years.




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                                                                                                                               75 ft of 8-in steel or fiberglass at 10.4 ft bgs                                                                      ,               ,
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                                                                                                                                                PS-8 to PS-8B
                                                                                                                                                17 ft of 10-in fiberglass or PVC at 2.8 ft bgs                                                                                                                                                                  80      40        0                 80




                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                          ,       Acid Sewer Investigated                    Junction                                                                                 Feet

                                                                                                                                                                                                                                                                  Acid Sewer Not Investigated                Inlet Location                                        Conceptual Layout for Sewer
                                                                                                                                                                                                                                         )
                                                                                                                                                                                                                                                         ,,
                                                                                                                                                                                                                                                                                                    )                                                                 Remedial Alternatives
                                                                                                                                                                                                                                                                                                                                                                         Hanlin-Allied-Olin Site
                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                  Process Sewer Investigated                 Hg Sewers
                                                                                                                                                                                                                                                                                                                                                                           Moundsville, WV
                                                                                                                                                                                                                                                          ,
                                                                                                                       Notes:                                                                                                                                     Process Sewer Not Investigated             Excavation Trench
                                                                                                                       1. 'Hg Sewers' refers to the 5 sewer segments in which elemental Mercury
                                                                                                                                                                                                                                                          ,
                                                                                                                       was observed during the Remedial Investigation.                                                                                                                                                                                                                                               Figure
                                                                                                                       2. Remedial alternatives include: a) excavating the Hg sewer segments; b)                                                          ,       Sanitary Sewer Investigated
                                                                                                                       abandon the Hg sewer segments in-place by grouting; and c) blinding or
                                                                                                                       blocking the Hg sewer segments at the inlets and/or junctions.                                                                             Sanitary Sewer Not Investigated                                                                                                                     
                                                                                                                                                                                                                                                                                                                                                                                           )HEUXDU\
                                                                                                                                                                                                                                                          ,                                                                                         Kennesaw, GA




\\aro-01\Data\Gis\Prj1\M\Mound\RI_FS\GA170417_OU1_FS\Full FS\Figures\MXDs\Fig_05-7_Hg Sewers.mxd; swalker; 2/22/2018
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         , of 199 PageID #: 165
                                                                                 To Catalytic Oxidizer



                                                                                                                    New Aeration
                                                                                                                     Line & Grid



                                                            Influent




                                                                                            Clarifier            New                    Clarifier and                   New                     New
                                                                                             Feed              Proposed                Sludge Settling               Multimedia            Ion Exchange*
                                                                                             Tank               Blower                     Tanks                     Filtration*

                                                                         LEGEND                                                                                                            Process Diagram
                                                                                                                                                                              Alternative 2, Groundwater Extraction and
                                                                          Existing Equipment                                                                                 Treatment with Upgraded Mercury Treatment
                                                                          New Proposed Equipment                                                                                             Hanlin-Allied-Olin Site
                                                                          Existing Lines and Equipment                                                                                      Moundsville, West Virginia
                                                                          New Proposed Lines
                                                                                                                                                                                                                          Figure
                                                       Note: Figure shows treatment train components that may be added or upgraded as part of Alternative 2.
                                                       *Remedial Design process will identify the optimal technology or combination of technologies necessary to                                                            
                                                       achieve mercury discharge objectives. Multimedia filtration and/or ion exchange will be added if necessary.          Kennesaw, Georgia            September 2020
                                                                                                                                                                                                                                   Case 5:23-cv-00059-JPB Document 6-1 Filed 02/22/23 Page 146 of 199 PageID #: 166




N:\M\Mound\RI_FS\GA200147_USEPA_PRAP_Aeration_Figure
Case 5:23-cv-00059-JPB Document 6-1 Filed 02/22/23 Page 147 of 199 PageID #: 167



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                                                                                                                                                                                                                                          Hanlin-Allied-Olin Site
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                                                                                                                               Property Boundary
                                                                                                                                                                                                                                                                                     Figure
                                                                                                                               Field Piping

                                                                                                                               GWTP Capture Zone
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                                                                                                                                                                                                                     Kennesaw, GA                           )HEUXDU\
                                                                                                                                                                                                                                                                6RLO0DQDJHPHQW$UHD     7DUJHW$UHD DFUHV     7UHDWPHQW         7UHDWPHQW
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                                                                                                                                                                                                                                                                                                                                                                                                                                          Case 5:23-cv-00059-JPB Document 6-1 Filed 02/22/23 Page 148 of 199 PageID #: 168
                                                                                                                                            Elemental Mercury Presence

                                                                                                                                             "
                                                                                                                                             )         Elemental Mercury Observed                                                                                                                                                !
                                                                                                                                                                                                                                                                                                                                 (
                                                                                                                                                       Elemental Mercury Not Observed
                                                                                                                                                                                                                                                                                                                                         CBHG-11
                                                                                                                                             "
                                                                                                                                             )                                                                                                                                                                                             [0 ft]                                                                     ³
                                                                                                                                                                                                                                                                                                                                                                CBF-103
                                                                                                                                             "
                                                                                                                                             )         Location Not Sampled
                                                                                                                                                                                                                                                                                                                                                                 [0 ft]
                                                                                                                                                       Cell Building Management Area
                                                                                                                                                                                                                                                                                                                                                         "
                                                                                                                                                                                                                                                                                                                                                         )
                                                                                                                                                       Cap Limits                                                                                                                                         CBF-102
                                                                                                                                                       Foundation Trenches (Approximate)
                                                                                                                                                                                                                                                                                                           [0 ft]                                            CBHG-03
                                                                                                                                                                                                                                                           CBF-101                                   "
                                                                                                                                                               Label Key
                                                                                                                                                                                Location                                                                    [0 ft]
                                                                                                                                                                                                                                                                                                     )                                              !
                                                                                                                                                                                                                                                                                                                                                    (          [0 ft]
                                                                                                                                                               CBF-105
                                                                                                                                                                 [2 ft]                                                                                "
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                                                                                                                                                        ;                                                                                       CBHG-01            CBF-106                           !
                                                                                                                                                                                                                                                                                                     (
                                                                                                                                                         Maximum Depth of                                                                                           [2 ft *]
                                                                                                                                                      Visible Elemental Mercury                                                                   [0 ft]                                 "
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                                                                                                                                                                                                                                        (                  "
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                                                                                                                                                                                                                          )                                                                   [10 ft]
                                                                                                                                                                                                  CBF-104                         CBF-105
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                                                                                                                                                                                                                                                                    CBF-109
                                                                                                                                                                                                                                                                     [NA]
                                                                                                                                                                                                                                             CBF-108                                                                                      CBHG-06
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                                                                                                                                                                                                                                                                                                                                     (
                                                                                                                                                             CBMA Cap Limits                                                                                               CBHG-05                                                                                                                  CBHG-07
                                                                                                                                                       - 17,000 SF, 6" concrete cap,                                                                                                                               [1 ft]
                                                                                                                                                                                                                                                                             [0 ft]                                                                                                                   [0 ft]
                                                                                                                                                             (400 CY concrete)
                                                                                                                                                                                                                                                                   !
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                                                                                                                                                                                                                                                                                                              )                                                                             !
                                                                                                                                                                                                                                                                                                                                                                                            (
                                                                                                                                                  - Routine inspection and maintenance                                                       CBF-110
                                                                                                                                                                                                                                              [7 ft]           "
                                                                                                                                                                                                                                                               )                                                                              GWTP                                                          CBF-121
                                                                                                                                                                                                                                                                           CBF-111
                                                                                                                                                                                                                                    "
                                                                                                                                                                                                                                    )                                       [NA]                                                                                                                             [0 ft]
                                                                                                                                                                                                                                                                                             GWTP Annex                                                                                             "
                                                                                                                                                                                                                                                                                                                                                                                                    )
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                                                                                                                                                                                                               (         CBHG-04                                           CBF-114
                                                                                                                                                                                                                           [0 ft]                                          [2.8 ft *]                                                                                             CBHG-10
                                                                                                                                                                                                                                                CBF-113            "
                                                                                                                                                                                     CBHG-15                                                     [0 ft]
                                                                                                                                                                                                                                                                   )                                                                                                                [0 ft]
                                                                                                                                                                                                                                                                                                                                                                                                             CBF-122
                                                                                                                                                            CB-SS3                     [8 ft]                                            "                                   CBHG-14                                   CBHG-9                                            !
                                                                                                                                                                                                                                                                                                                                                                         (                                    [0 ft]
                                                                                                                                                                                                                                         )                                     [8 ft]                                   [0 ft]
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                                                                                                                                                                                                                                                                       )                                                                                                                              Feet
                                                                                                                                                                                                                                                                            CBF-119               CBF-117                                               Conceptual Layout for Mercury Cell
                                                                                                                                                                                                                                             CBF-115                        [3.3 ft *]             [1.3 ft]                                               Building Alternative 3: Capping
                                                                                                                                                                                                                                              [4 ft]                                                                                                              Hanlin-Allied-Olin Site
                                                                                                                                            Notes:                                                                                                                                                                                                                  Moundsville, WV
                                                                                                                                            1. CBMA = Cell Building Management Area
                                                                                                                                            2. * = Elemental mercury observed in cored concrete, which terminated at indicated depth.
                                                                                                                                            3. For CBF borings, the referenced depth is below the top of the floor or trench foundation in
                                                                                                                                            feet (ft).
                                                                                                                                                                                                                                                                                                                                                                                                              Figure
                                                                                                                                            4. For CB or CBHG borings, the referenced depth is below the bottom of the
                                                                                                                                            foundation in ft.
                                                                                                                                            5. Asphalt-covered area north of Annex will be subject to O&M to maintain asphalt integrity.                                                                                                                                                                        
                                                                                                                                                                                                                                                                                                                                              Kennesaw, GA                          )HEUXDU\




(aro-01) \\aro-01\Data\Gis\Prj1\M\Mound\RI_FS\GA170417_OU1_FS\Full FS\Figures\MXDs\Fig_05-4_Mercury Cell Bldg Cap.mxd; swalker; 2/20/2018
                                                                                                                                                                                                                                                                                                                                                                                                                          Case 5:23-cv-00059-JPB Document 6-1 Filed 02/22/23 Page 149 of 199 PageID #: 169
                                                                                                7DEOH
                                                                     3RWHQWLDO&KHPLFDO6SHFLILF)HGHUDODQG6WDWH$5$5VDQG7%&V
                                                                                         +DQOLQ$OOLHG2OLQ6LWH
                                                                                      0RXQGVYLOOH:HVW9LUJLQLD


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67$7(&+(0,&$/63(&,),&$5$56
Waste Management Land Disposal Restrictions                                       :97LWOH6HULHV            ,GHQWLILHVKD]DUGRXVZDVWHVWKDWDUHUHVWULFWHGIURP $SSOLFDEOH,IWKHUHPHGLDODFWLRQUHVXOWVLQWKH
                                                                                                                       ODQGGLVSRVDODQGGHILQHVWKRVHOLPLWHG              JHQHUDWLRQRIDKD]DUGRXVZDVWHWKDWLVWREHODQG
                                                                                                                       FLUFXPVWDQFHVXQGHUZKLFKDQRWKHUZLVHUHVWULFWHG GLVSRVHG
                                                                                                                       ZDVWHPD\FRQWLQXHWREHODQGGLVSRVHG

Office of Water           Requirements Governing Groundwater Standards            :97LWOH6HULHV               (VWDEOLVKHVQXPHULFFULWHULDIRUJURXQGZDWHU            $SSOLFDEOH±0D\EHFRQVLGHUHGWRSURWHFW
Resources                                                                                                              TXDOLW\                                                 GULQNLQJZDWHUVRXUFHV

Office of Water           Requirements Governing Water Quality Standards          :97LWOH6HULHV                (VWDEOLVKHVQXPHULFFULWHULDIRUZDWHUTXDOLW\IRU      $SSOLFDEOH±0D\EHFRQVLGHUHGWRSURWHFW
Resources                                                                                                              ZDWHUVRIWKH6WDWH                                     GULQNLQJZDWHUVRXUFHVDQGDTXDWLFOLIH

Division of Air Quality   Ambient Air Quality Standards                           :97LWOH6HULHV                (VWDEOLVKHVDLUTXDOLW\VWDQGDUGVIRUVXOIXUR[LGHV 7%&±7RWKHRQVLWHJHQHUDWLRQDQGHPLVVLRQRI
                                                                                                                       SDUWLFXODUPDWWHUFDUERQPRQR[LGHR]RQH           DPELHQWDLUSROOXWDQWVGXULQJUHPHGLDODFWLYLWLHV
                                                                                                                       QLWURJHQGLR[LGHDQGOHDG                           VXFKDVH[FDYDWLRQDQGYDSRUWUHDWPHQW

                          Emission Standards for Hazardous Air Pollutants         :97LWOH6HULHV               ,QFRUSRUDWHVHPLVVLRQVVWDQGDUGIRU+$3V               5HOHYDQWDQG$SSURSULDWH:RXOGDSSO\GXULQJ
                                                                                                                       LQFOXGLQJWKHVWDQGDUGSHUWDLQLQJWRHPLVVLRQV          DFWLYHUHPHGLDWLRQIRUVRLODQGRUJURXQGZDWHU
                                                                                                                       OLPLWDWLRQVIRU92&VDVVRFLDWHGZLWKUHPHGLDWLRQ        VKRXOGEH7%&LIWKHIDFLOLW\LVQRWDPDMRUVRXUFH
                                                                                                                       V\VWHPVDW+$3PDMRUIDFLOLWLHV                         IRU+$3V
State of West Virginia - 401 Water Quality Certification for Non-Coal Related     :97LWOH6HULHVDQG7LWOH 5HTXLUHGIRUHDFKSHUPLWRUOLFHQVHLVVXHGE\D         $SSOLFDEOH:RXOGDSSO\WRGLVFKDUJHVWRZDWHUV
Facilities                                                                        6HULHV                             IHGHUDODJHQF\WRHQVXUHWKDWSURMHFWVZLOOQRW         RIWKH6WDWH
                                                                                                                       YLRODWHWKHVWDWH VZDWHUTXDOLW\VWDQGDUGVRUVWUHDP
                                                                                                                       GHVLJQDWHGXVHV6WDWHVDUHDXWKRUL]HGWRLVVXH
                                                                                                                       &HUWLILFDWLRQXQGHU6HFWLRQRIWKH)HGHUDO
                                                                                                                       &OHDQ:DWHU$FW
                                                                                                                                                                                                                                       Case 5:23-cv-00059-JPB Document 6-1 Filed 02/22/23 Page 150 of 199 PageID #: 170




                                                                                                   3DJHRI
                                                                                              7DEOH
                                                                    3RWHQWLDO$FWLRQ6SHFLILF)HGHUDODQG6WDWH$5$5VDQG7%&V
                                                                                       +DQOLQ$OOLHG2OLQ6LWH
                                                                                     0RXQGVYLOOH:HVW9LUJLQLD


                      327(17,$/$5$5                                                      &,7$7,21                            %5,()'(6&5,37,21                                         $5$57%&67$786
)('(5$/$&7,2163(&,),&$5$56
Hazardous Waste  Transportation                                                 &)53DUWV           5HJXODWHVWUDQVSRUWDWLRQRIKD]DUGRXVPDWHULDOV         $SSOLFDEOH±7RWKHRIIVLWHWUDQVSRUWDWLRQRI
Management Act                                                                                                                                                          KD]DUGRXVPDWHULDOVDQGZDVWHV
Hazardous Waste  Hazardous Waste Management Systems: General                    &)5                     (VWDEOLVKHVSURFHGXUHVDQGFULWHULDIRUPRGLILFDWLRQRU 3RWHQWLDOO\$SSOLFDEOH,IWKHUHPHGLDODFWLRQ
Management Act                                                                                                 UHYRFDWLRQRIDQ\SURYLVLRQLQ&)53DUW     UHVXOWVLQWKHJHQHUDWLRQRIKD]DUGRXVZDVWH
                                                                                                               LQFOXGLQJWKHUHTXLUHPHQWVIRUSHWLWLRQLQJIRUWKH
                                                                                                               GHOLVWLQJRIDSDUWLFXODUKD]DUGRXVZDVWHVWUHDP
Clean Air Act           National Emission Standards for Hazardous Air Pollutants &)56XESDUW*****      2SHUDWLRQDOSUDFWLFHVDVVRFLDWHGZLWK92&HPLVVLRQV 5HOHYDQWDQG$SSURSULDWH:RXOGDSSO\GXULQJ
                        - Site Remediation                                                                     IURPUHPHGLDWLRQV\VWHPVDW+$3PDMRUIDFLOLWLHV        DFWLYHUHPHGLDWLRQIRUVRLODQGRUJURXQGZDWHU
                                                                                                                                                                        DSSURSULDWHUHJDUGOHVVRIZKHWKHURUQRWWKHIDFLOLW\
                                                                                                                                                                        LWVHOILVDPDMRUVRXUFHRI+$3V

Resource Conservation   Identification and Listing of Hazardous Waste           &)5                     'HILQHVVROLGZDVWHVWKDWDUHVXEMHFWWRUHJXODWLRQDV  $SSOLFDEOH$OOZDVWHVPXVWEHSURILOHGSULRUWR
and Recovery Act                                                                                               KD]DUGRXVZDVWHVXQGHU&)53DUWVDQG3DUW GLVSRVDO,IWKHUHPHGLDODFWLRQUHVXOWVLQWKH
                                                                                                                                                                    JHQHUDWLRQRIKD]DUGRXVZDVWH VSRLOV33(HWF 
                                                                                                                                                                        WKHQDGGLWLRQDOUHTXLUHPHQWVPD\DSSO\
Resource Conservation   Standards Applicable to Generators of Hazardous Waste   &)5                     (VWDEOLVKHVVWDQGDUGVIRUJHQHUDWRUVRIKD]DUGRXVZDVWH 3RWHQWLDOO\$SSOLFDEOH,IWKHUHPHGLDODFWLRQ
and Recovery Act                                                                                                                                                        UHVXOWVLQWKHJHQHUDWLRQRIKD]DUGRXVZDVWH

Resource Conservation   Standards Applicable to Transporters of Hazardous Waste &)5                     (VWDEOLVKHVVWDQGDUGVWKDWDSSO\WRHQWLWLHVWUDQVSRUWLQJ 3RWHQWLDOO\$SSOLFDEOH,IWKHUHPHGLDODFWLRQ
and Recovery Act                                                                                               KD]DUGRXVZDVWHZLWKLQWKH86                            UHVXOWVLQWKHRIIVLWHWUDQVSRUWDWLRQRIKD]DUGRXV
                                                                                                                                                                          ZDVWH
                        Standards for Owners and Operators of Hazardous Waste   &)5                     6WDQGDUGVDQGUHTXLUHPHQWVIRUIDFLOLWLHVWKDWWUHDW     3RWHQWLDOO\$SSOLFDEOH7RWKHPDQDJHPHQWRI
                        Treatment, Storage and Disposal Facilities                                             VWRUHDQGGLVSRVHRIKD]DUGRXVZDVWH5HTXLUHPHQWV KD]DUGRXVZDVWHLIJHQHUDWHG
                                                                                                               LQFOXGH*HQHUDO)DFLOLW\6WDQGDUGV 6XESDUW% 
                                                                                                                                                                          3RWHQWLDOO\5HOHYDQWDQG$SSURSULDWH±,I
                                                                                                               3UHSDUHGQHVVDQG3UHYHQWLRQ 6XESDUW& &RQWLQJHQF\
                                                                                                                                                                          ZDVWHVZLOOEHVWRUHGRQVLWHORQJWHUPHVSHFLDOO\
                                                                                                               3ODQDQG(PHUJHQF\3URFHGXUHV 6XESDUW' 0DQLIHVW
                                                                                                                                                                          LQD&$08
                                                                                                               6\VWHP 6XESDUW( 8VHDQG0DQDJHPHQWRI
                                                                                                               &RQWDLQHUV 6XESDUW, :DVWH3LOHV 6XESDUW/ 
                                                                                                               /DQGILOOV 6XESDUW1 &RUUHFWLYH$FWLRQ0DQDJHPHQW
                                                                                                               8QLWV 6XESDUW6 DQGFRQWURORIDLUHPLVVLRQV
                                                                                                                6XESDUWV$$%%DQG&& 

                        Land Disposal Restrictions                              &)5                     ,GHQWLILHVKD]DUGRXVZDVWHVWKDWDUHUHVWULFWHGIURPODQG 3RWHQWLDOO\$SSOLFDEOH±,IWKHUHPHGLDODFWLRQ
                                                                                                               GLVSRVDODQGGHILQHVWKRVHOLPLWHGFLUFXPVWDQFHVXQGHU UHVXOWVLQWKHJHQHUDWLRQRIKD]DUGRXVZDVWHWKDW
                                                                                                               ZKLFKDQRWKHUZLVHUHVWULFWHGZDVWHPD\FRQWLQXHWREH ZLOOEHODQGGLVSRVHG RQVLWHRURIIVLWH 
                                                                                                               ODQGGLVSRVHG
Clean Water Act         National Pollutant Discharge Elimination System         &)5DQG             &RYHUVSHUPLWWLQJUHTXLUHPHQWVIRUDTXHRXVGLVFKDUJH 3RWHQWLDOO\$SSOLFDEOH±,IWKHUHPHGLDODFWLRQ
                        (NPDES)                                                                                LQWRQDYLJDEOHZDWHUVRIWKH86ZKLFKLQFOXGHVXUIDFH ZLOOUHVXOWLQWKHGLVFKDUJHRIZDWHUWRRURWKHUZLVH
                                                                                                               ZDWHUVDVZHOODVZHWODQGV                               LPSDFWQDYLJDEOHZDWHUV LQFOXGLQJZHWODQGV 

                        Section 404                                             &)5DQG&)5   5HJXODWHVWKHGLVFKDUJHRIGUHGJHGRUILOOPDWHULDOLQWR 3RWHQWLDOO\5HOHYDQWDQG$SSURSULDWH±,IWKH
                                                                                                               ZDWHUVRIWKH8QLWHG6WDWHVDQGVHWVIRUWKIDFWRUVIRU   UHPHGLDODFWLRQZLOOUHVXOWLQWKHGLVFKDUJHRIVRLO
                                                                                                               FRQVLGHULQJPLWLJDWLRQPHDVXUHVDQGSHUPLWWLQJ           RUVHGLPHQWWRRURWKHUZLVHLPSDFWQDYLJDEOH
                                                                                                                                                                                                                                 Case 5:23-cv-00059-JPB Document 6-1 Filed 02/22/23 Page 151 of 199 PageID #: 171




                                                                                                                                                                         ZDWHUV LQFOXGLQJZHWODQGV 




                                                                                                 3DJHRI
                                                                                              7DEOH
                                                                    3RWHQWLDO$FWLRQ6SHFLILF)HGHUDODQG6WDWH$5$5VDQG7%&V
                                                                                       +DQOLQ$OOLHG2OLQ6LWH
                                                                                     0RXQGVYLOOH:HVW9LUJLQLD


                              327(17,$/$5$5                                               &,7$7,21                             %5,()'(6&5,37,21                                    $5$57%&67$786
Toxic Substances        Polychlorinated Biphenyls Manufacturing, Process,        &)5                      3URYLGHVFOHDQXSPHWKRGRORJ\DQGVWDQGDUGVIRU3&%V $SSOLFDEOH7RWKHPDQDJHPHQWDQGUHPHGLDWLRQ
Control Act             Distribution in Commerce, and Use Prohibitions                                                                                                RI3&%FRQWDLQLQJZDVWHV
Occupational Safety and Occupational Health and Safety Standards                 &)5                     5HTXLUHPHQWVIRUZRUNHUVDIHW\                      $SSOLFDEOH±7RDQ\SRUWLRQVRIWKHUHPHGLDO
Health Act                                                                                                                                                            DFWLRQQRWUHODWHGWRFRQVWUXFWLRQVSHFLILFDOO\
                                                                                                                                                                      LQFOXGHVWUDLQLQJDQGPRQLWRULQJXQGHUWKH
                                                                                                                                                                      +D]DUGRXV:DVWH2SHUDWLRQVDQG(PHUJHQF\
                                                                                                                                                                      5HVSRQVHVWDQGDUG
Occupational Safety and Safety and Health Regulations for Construction           &)5                     5HTXLUHPHQWVIRUZRUNHUVDIHW\GXULQJFRQVWUXFWLRQ  $SSOLFDEOH±7RDQ\UHPHGLDODFWLRQLQYROYLQJ
Health Act                                                                                                                                                            FRQVWUXFWLRQ
67$7($&7,2163(&,),&$5$56
Waste Management        Identification and Listing of Hazardous Waste            :97LWOH6HULHV        (VWDEOLVKHVUHTXLUHPHQWVIRUSURILOLQJVROLGZDVWH      $SSOLFDEOH7RDOOZDVWHVJHQHUDWHGGXULQJWKH
                                                                                                                 VWUHDPVDQGFRQGXFWLQJKD]DUGRXVZDVWH                  UHPHGLDODFWLRQ
                                                                                                                 GHWHUPLQDWLRQV
                         Standards Applicable to Generators of Hazardous Waste   :97LWOH6HULHV        (VWDEOLVKHVVWDQGDUGVIRUJHQHUDWRUVRIKD]DUGRXVZDVWH $SSOLFDEOH±,IWKHUHPHGLDODFWLRQUHVXOWVLQWKH
                                                                                                                                                                          JHQHUDWLRQRIKD]DUGRXVZDVWH
                         Standards Applicable to Transporters of Hazardous Waste :97LWOH6HULHV        (VWDEOLVKHVVWDQGDUGVZKLFKDSSO\WRSHUVRQV           $SSOLFDEOH±,IWKHUHPHGLDODFWLRQUHVXOWVLQWKH
                                                                                                                 WUDQVSRUWLQJKD]DUGRXVZDVWHZLWKLQWKH86LIWKH       JHQHUDWLRQRIKD]DUGRXVZDVWHWKDWZLOOEH
                                                                                                                 WUDQVSRUWDWLRQUHTXLUHVDPDQLIHVWXQGHU:97LWOH WUDQVSRUWHGRIIVLWH
                                                                                                                 6HULHV
                         Standards for Owners and Operators of Hazardous Waste   :97LWOH6HULHV        6WDQGDUGVDQGUHTXLUHPHQWVIRUIDFLOLWLHVWKDWWUHDW   $SSOLFDEOH7RWKHPDQDJHPHQWRIKD]DUGRXV
                         Treatment, Storage and Disposal Facilities                                              VWRUHDQGGLVSRVHRIKD]DUGRXVZDVWH5HTXLUHPHQWV ZDVWHLIJHQHUDWHG
                                                                                                                 LQFOXGH*HQHUDO)DFLOLW\6WDQGDUGV3UHSDUHGQHVVDQG
                                                                                                                 3UHYHQWLRQ&RQWLQJHQF\3ODQDQG(PHUJHQF\
                                                                                                                 3URFHGXUHV0DQLIHVW6\VWHP8VHDQG0DQDJHPHQWRI 5HOHYDQWDQG$SSURSULDWH±,IZDVWHVZLOOEH
                                                                                                                 &RQWDLQHUV:DVWH3LOHV/DQGILOOV&RUUHFWLYH$FWLRQ VWRUHGRQVLWHORQJWHUPHVSHFLDOO\LQD&$08
                                                                                                                 0DQDJHPHQW8QLWVDQGFRQWURORIDLUHPLVVLRQV

Waste Management         Land Disposal Restrictions                              :97LWOH6HULHV       ,GHQWLILHVKD]DUGRXVZDVWHVWKDWDUHUHVWULFWHGIURPODQG $SSOLFDEOH,IWKHUHPHGLDODFWLRQUHVXOWVLQWKH
                                                                                                                 GLVSRVDODQGGHILQHVWKRVHOLPLWHGFLUFXPVWDQFHVXQGHU JHQHUDWLRQRIDKD]DUGRXVZDVWHWKDWLVWREHODQG
                                                                                                                 ZKLFKDQRWKHUZLVHUHVWULFWHGZDVWHPD\FRQWLQXHWREH GLVSRVHG
                                                                                                                 ODQGGLVSRVHG
Waste Management         Solid Waste Management Rule                             :97LWOH6HULHV           (VWDEOLVKHVUHTXLUHPHQWVIRUWKHVLWLQJERXQGLQJ        5HOHYDQWDQG$SSURSULDWH±,IZDVWHVZLOOEH
                                                                                                                 LQVWDOODWLRQHVWDEOLVKPHQWFRQVWUXFWLRQPRGLILFDWLRQ VWRUHGRQVLWHLQDODQGILOO
                                                                                                                 RSHUDWLRQDQGDEDQGRQPHQWRIDQ\IDFLOLW\WKDW
                                                                                                                 SURFHVVHVUHF\FOHVRUGLVSRVHVRIVROLGZDVWH
                                                                                                                 LQFOXGLQJLQDODQGILOO
Office of Water          National Pollutant Discharge Elimination System         :97LWOH6HULHV          (VWDEOLVKHVUHTXLUHPHQWVJRYHUQLQJWKH6WDWH1DWLRQDO $SSOLFDEOH±,IZDVWHZDWHUVZLOOEHGLVFKDUJHGWR
Resources                (NPDES) Program                                                                         'LVFKDUJH(OLPLQDWLRQ6\VWHP3URJUDPLQFOXGLQJDOLVW ZDWHUVRIWKH6WDWH LQFOXGLQJZHWODQGV GXULQJ
                                                                                                                 RISHUPLWVUHTXLUHG                                       UHPHGLDODFWLYLWLHV
                         Monitoring Well Regulations and Monitoring Well Design :97LWOH6HULHVDQG    5HTXLUHPHQWVIRUFHUWLILFDWLRQRIPRQLWRULQJZHOO         $SSOLFDEOH'XULQJZHOOLQVWDOODWLRQSUDFWLFHV
                         Standards                                                                               GULOOHUVDQGIRUWKHFRQVWUXFWLRQDEDQGRQPHQWRI
                                                                                                                 PRQLWRULQJZHOOV
                                                                                                                                                                                                                                  Case 5:23-cv-00059-JPB Document 6-1 Filed 02/22/23 Page 152 of 199 PageID #: 172




                                                                                                   3DJHRI
                                                                                                7DEOH
                                                                      3RWHQWLDO$FWLRQ6SHFLILF)HGHUDODQG6WDWH$5$5VDQG7%&V
                                                                                         +DQOLQ$OOLHG2OLQ6LWH
                                                                                       0RXQGVYLOOH:HVW9LUJLQLD


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Division of Water and     Groundwater Protection Regulations                         :97LWOH6HULHV               5XOHHVWDEOLVKLQJDVHULHVRISUDFWLFHVIRU              5HOHYDQWDQG$SSURSULDWH0D\EHFRQVLGHUHG
Waste Management                                                                                                          IDFLOLWLHVDFWLYLWLHVDVWKH\SHUWDLQWRJURXQGZDWHU     WRSURWHFWJURXQGZDWHU

Division of Air Quality                                                              :97LWOH6HULHV             5HJXODWHVDQXPEHURIDLUSROOXWLRQVRXUFHV             $SSOLFDEOH5HOHYDQWDQG$SSURSULDWH7RWKH
                                                                                                                          (VWDEOLVKHVVSHFLILFUHTXLUHPHQWVSHUWDLQLQJWR           RQVLWHJHQHUDWLRQDQGHPLVVLRQRIDPELHQWDLU
                                                                                                                          REMHFWLRQDEOHRGRUV 6HULHV IXJLWLYHSDUWLFXODWH      SROOXWDQWVGXULQJUHPHGLDODFWLYLWLHV5HTXLUHPHQWV
                                                                                                                          HPLVVLRQV 6HULHV DQGKD]DUGRXVZDVWH76')V          SHUWDLQLQJWRSHUPLWVIRURQVLWHKD]DUGRXVZDVWH
                                                                                                                           6HULHV $OVRLQFOXGHVWKH1(6+$3IRUVLWH           WUHDWPHQWDQGVLWHUHPHGLDWLRQPD\EHUHOHYDQWDQG
                                                                                                                          UHPHGLDWLRQ 6HULHV                                    DSSURSULDWH
Division of Air Quality   To Prevent and Control the Discharge of Air Pollutants     :97LWOH6HULHV$   (VWDEOLVKHVVSHFLILFUHTXLUHPHQWVSHUWDLQLQJWR           $SSOLFDEOH$SSOLFDEOHWRWKHJURXQGZDWHU
                          into the Open Air Which Causes or Contributes to an        DQG                           REMHFWLRQDEOHRGRUV 6HULHV SDUWLFXODWHDLUSROOXWLRQ WUHDWPHQWDQGVRLOYDSRUH[WUDFWLRQV\VWHP
                          Objectional Odor or Odors; To Prevent and Control                                                6HULHV FRPSOLDQFHWHVWLQJ 6HULHV$ VXOIXUR[LGHV
                          Particulate Matter Air Pollution form Manufacturing                                              6HULHV FRQVWUXFWLRQPRGLILFDWLRQUHORFDWLRQDQG
                          Processes and Associated Operations; Compliance Test                                            RSHUDWLRQRIVWDWLRQDOVRXUFHVRIDLUSROOXWDQWV 6HULHV
                          Procedures for 45CSR -- "To Prevent and Control                                                  DQGSUHYHQWLRQRIWR[LFDLUSROOXWDQWHPLVVLRQV
                          Particulate Air Pollution from Manufacturing Process                                             6HULHV 
                          Operations"; To Prevent and Control Air Pollutions from
                          the Emission of Sulfur Oxides; Permits for Construction‚
                          Modification‚ Relocation and Operation of Stationary
                          Sources of Air Pollutants‚ Notification Requirements‚
                          Admin. Updates‚ Temporary Permits‚ General Permits‚
                          Permission to Commence...; and To Prevent and Control
                          the Emissions of Toxic Air Pollutants


Department of             Transportation of Hazardous Wastes Upon the Roads and      :97LWOH6HULHV               (VWDEOLVKHVWUDQVSRUWDWLRQUHTXLUHPHQWVZKLFKDSSO\WR $SSOLFDEOH±,IWKHUHPHGLDODFWLRQUHVXOWVLQWKH
Transportation -          Highways                                                                                        SHUVRQVWUDQVSRUWLQJKD]DUGRXVZDVWHZLWKLQWKH86LI JHQHUDWLRQRIKD]DUGRXVZDVWHWKDWZLOOEH
Division of Highways                                                                                                      WKHWUDQVSRUWDWLRQUHTXLUHVDPDQLIHVWXQGHU:97LWOH WUDQVSRUWHGRIIVLWHXVLQJURDGVDQGRUKLJKZD\V
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Liability Act (CERCLA)

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                                                           7DEOH6XPPDU\RI6:08'HVFULSWLRQV,QYHVWLJDWLYH6FRSHDQG)LQGLQJVDQG&ORVXUH6WDWXV


                                                                                                                                                                                                                                                         Removed/Present/
 Unit/Area          Description                                          History                                        Area(1)                          Closure Status                                       Field Observations                          Sampling Status
B/P            Chloromethanes            Unit P contained production units, loading/unloading terminals, and         161,000 ft2       Unlined. Subject to remediation through SVE.           The building has been decommissioned; the                Decommissioned –
Hanlin         Production Area and       storage facilities. Unit A1/B is also in area. Methyl chloride,            Large unlined                                                             concrete foundation slab remains.                        Process Equipment
               Former Drum Storage       methylene chloride, chloroform, and carbon tetrachloride were                  area           Building with concrete floor. Subject to                                                                        Removed; Buildings
               Area                      produced in the area. Decommissioning included neutralization and                             remediation through SVE.                               Soil borings show elevated mercury and VOC               Removed
                                         removal.                                                                                                                                             concentrations. Residually saturated soils observed
                                                                                                                                                                                              in some places.                                          Undergoing SVE
                                         Unit B was a warehouse that was used to store drums of CMP dryer
                                         residue, CMP sludge, and mercury-containing SWMU material. Since
                                         1986, this warehouse was used to store drums of mercury-containing
                                         SWMU material. Due to the fact that SWMU B is completely
                                         surrounded by SWMU P and taking into consideration the low number
                                         of Industrial RBC exceedances (one), the lack of waste within the
                                         boundaries of the unit, and the soil vapor extraction (SVE) system in
                                         this area, SWMU B will be incorporated into SWMU P for any further
                                         consideration.
C1             Spent Lime Pond           In operation from 1957 to 1965. Closed in 1982. Received spent lime         146,000 ft2       Bottom unlined; capped with 12 in. clay overlain by    Material is uniform in character, consisting of light    Upgraded Cap
Hanlin                                   and muds from the purification of raw brine from the chlor-alkali          Approx. depth:     12 in. of topsoil. Cap was re-graded in 2007 to        gray to white sludge in a plastic state. The SWMU
                                         production area and spent lime and caustic from the chloromethanes          26 to 36 ft       drain surface water runoff.                            material is underlain with moderate yellowish-
                                         production area.                                                                                                                                     brown, very dense, gravely sand silt.
C2             Spent Lime Pond           In operation from 1965 to 1978. Received similar SWMU material as           116,000 ft2       Lower 16 ft lined with polyethylene liner (unknown     Excavated into a hillside behind Unit G and Unit         Present
Hanlin                                   C1.                                                                        Approx. depth:     thickness). Upper 4 ft constructed with native soil    C1. Depth of the unit was not confirmed. SWMU
                                                                                                                        20 ft          material (unlined). Capped with 12 in. clay overlain   material is similar in nature to that found in Unit
                                                                                                                                       by 12 in. of topsoil                                   C1, consisting primarily of grayish-white sludge.
                                                                                                                                                                                              The uppermost material is dark reddish-brown and
                                                                                                                                                                                              yellowish-brown in color.
D              Spent Lime Pond           In use from 1953 to 1957 for disposal of spent lime and muds from the       133,000 ft2       Bottom unlined; capped with 12 in. clay overlain by    Contains white, chalky sludge, similar in                Upgraded Cap
Hanlin                                   purification of raw brine from the chlor-alkali production area. Used      Approx. depth:     12 in. of topsoil. Waste was partially removed         appearance to the SWMU material in SWMU C1.
                                         five years later for disposal of hydrochloric acid.                         11 to 21 ft       during construction of the OSDF.                       The SWMU material is a low-plasticity sludge.            Covered by the OSDF
                                                                                                                                                                                              The cover consists of compacted silty clay. The
                                                                                                                                       Waste was stockpiled and then placed in the South      underlying soil consists of dark yellowish-brown
                                                                                                                                       OSDF Cell. Remaining waste is mostly covered by        silt with some gravel.
                                                                                                                                       the OSDF.
E2             North Refuse Dump         Received general plant trash and ash from 1969 to 1980. No records            94,000 ft2      Approximately 33,375 cubic yards of waste was          The unit is approximately 10 ft deep in the middle       Partially Removed
Hanlin                                   of SWMU material exist but small amounts of lab reagents and sample        10 to 24 ft deep   removed and placed in the North OSDF Cell.             and southern thirds of the unit and was at least 24 ft
                                         bottles may have been buried here. Closed by filling to grade with soil                       Remaining waste is unlined and covered with a soil     deep in the northern third. The upper 5 to 10 ft
                                         and boiler ash and placing compacted 12 in. clay layer on top.                                cap.                                                   consisted mostly of black ash. In the southern half
                                                                                                                                                                                              of the unit, the ash was underlain mostly with
                                                                                                                                                                                              construction debris. In the northern half of the unit,
                                                                                                                                                                                              the black ash was underlain by grayish-white
                                                                                                                                                                                              sludge. The black ash in Unit E2 appeared less
                                                                                                                                                                                              uniform in texture than the boiler ash in Unit M.
G              Storage Pond              Used as surge pond for storing mercury contaminated wastewater for           65,400 ft2       Lining found to be leaking prior to closure; unsure    Contains a gray cement-like SWMU material and            Present
Hanlin                                   treatment from 1971 to 1978. Prior to closure, sludges were                                   if repaired; capped with 12 in clay overlain by 12     hard yellowish-brown soil. The soil appears to be
                                         excavated, stabilized in Unit F and replaced in Unit G as fill. Unit was                      in. of topsoil.                                        partially cemented. The strength of the cement-like
                                         found to be leaking prior to closure.                                                                                                                SWMU material was variable. All of the SWMU
                                                                                                                                                                                              material observed appears to be solidified.

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                                                                                                                                                                                                                                                         Removed/Present/
 Unit/Area          Description                                           History                                       Area(1)                           Closure Status                                       Field Observations                         Sampling Status
I             Asbestos Burial Area      Two small areas used for asbestos disposal.                                 2 circular areas,   SWMU material bagged prior to disposal.                No sampling has been performed on Unit I due to         Present
Hanlin                                                                                                               one is roughly                                                            historical knowledge of area and disposal
                                                                                                                    200 square feet                                                            procedures. Delineation performed during RI/FS
                                                                                                                    and the other is                                                           activities.
                                                                                                                      roughly 400
                                                                                                                       square feet
J             Mercury Settling Basin     The Settling and Standby Ponds were used to collect mercury-                  27,400 ft2       Closed with modified RCRA cap. The remaining           Waste consists of a grey solidified material covered    Present
Hanlin                                   containing wastewaters generated in the chlor-alkali production area.                          portions of the unit are lined.                        with flyash.
                                         In service from 1977 until 1986 when leaks in liners were detected.
                                         Closure activities included stabilization with cement and fly ash. Prior
                                         to these ponds, the area was a single mercury settling pond. The
                                         sludges from this pond were stabilized and sent to Unit H.
J-West        Mercury Settling Basin     The West Inlet was used to collect mercury-containing wastewaters             37,600 ft2       Waste was removed and placed in the North OSDF         Waste consists of a grey solidified material covered    Removed
Inlet                                    generated in the chlor-alkali production area. In service from 1977                            Cell.                                                  with fly ash . 14,700 cubic yards of waste were
Hanlin                                   until 1986 when leaks in liners were detected. Closure activities                                                                                     removed and placed in the North OSDF Cell.
                                         included stabilization with cement and fly ash. Prior to these ponds,
                                         the area was a single mercury settling pond. The sludges from this
                                         pond were stabilized and sent to Unit H.
K             Raw Brine Purification     Received spent lime and muds from the purification of raw brine from          74,000 ft2       Lined; geosynthetic cap system is under                Depth of the SWMU material is greater than 12 ft        Upgraded Cap
Hanlin        Mud                        the chlor-alkali production area.                                                              construction. Unit will be capped following            but was not measured due to presence of bottom
                                                                                                                                        dewatering and consolidation of the SWMU               liner. The SWMU material is grayish to brownish-        Capping in progress
                                                                                                                                        material. Phase I consolidation and dewatering has     white. Accumulated rainwater was present in the         with intact bottom liner
                                                                                                                                        been completed, with Phase II in progress currently.   impoundment at depths of approximately 1 ft and
                                                                                                                                        A third consolidation phase may be necessary prior     was ponded primarily in the western end of the unit.
                                                                                                                                        to installation of the cover system components.        The presence of standing water suggested that the
                                                                                                                                                                                               liner was likely working properly.
O             Clarification Ponds        Used to settle solids from treated wastewater prior to discharge              27,500 ft2;      South Pond O: Synthetic liner and geotextile fabric    The sediment consisted of a very light gray sludge      Decommissioned – No
Hanlin        (North and South)          through a lined surface ditch to Hanlin’s 001 outfall (unit is active).    approximately 15    sublayer. The South Pond O is currently being used     that was discolored to brownish-orange in the upper     Longer Receiving
                                                                                                                         ft deep        as excess stormwater storage capacity.                 few inches probably due to oxidation. The sludge        Process Liquids
                                                                                                                                                                                               was very soft and was in the liquid state; lime kiln
                                                                                                                                        North Pond O: liner has been disposed of.              dust was used to amend the sludge prior to disposal
                                                                                                                                                                                               in the South OSDF Cell.
                                                                                                                                        Pond O sludges were removed and placed in the
                                                                                                                                        South OSDF Cell.
Q             Wastewater Treatment       Eight tanks installed in October 1985. Each tank holds approximately           2,460 ft2       Unlined.                                               The structures of this unit were underlain by native    Decommissioned –
Hanlin        Tanks                      10,000 gallons. All have covers. Seven of the eight tanks have been                                                                                   soil with some fly ash. The samples collected           Tanks Removed
                                         removed from the site; one tank remains.                                                                                                              consisted of native soils beneath unlined tank
                                                                                                                                                                                               impoundments where tanks have been removed. In
                                                                                                                                                                                               most areas, these soils appeared unaffected. An
                                                                                                                                                                                               approximately 1 in. thick layer of black, oily liquid
                                                                                                                                                                                               was encountered in one boring at a depth of
                                                                                                                                                                                               approximately 2 ft, as was noted in historical
                                                                                                                                                                                               borings. This was not observed during trenching
                                                                                                                                                                                               performed in 2007; however, a layer of black fly
                                                                                                                                                                                               ash was encountered and was sampled.
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                                                                                                                                                                                                                                            Removed/Present/
 Unit/Area          Description                                        History                                  Area(1)                       Closure Status                                      Field Observations                         Sampling Status
U             Lime Waste Pond           In operation prior to 1967. Unit contains lime SWMU material from      753,000 ft2   Unlined and capped with approximately 2 ft of        Has no clear surface expression. Unit was up to 18      Present
Allied                                  acetylene production. The lime was reused for acid neutralization in                 yellowish-brown silty clay.                          ft deep and consisted primarily of white to gray,
                                        the north and south plants.                                                                                                               chalky sludge. The moisture content of the sludge
                                                                                                                                                                                  varied but was always less than the liquid limit and
                                                                                                                                                                                  generally below the plastic limit. Unit also
                                                                                                                                                                                  contained a little ash. Unit was underlain by firm to
                                                                                                                                                                                  loose, olive-gray to yellowish-brown silt.
V             Waste Pond 2              Approximately 4.5 million gallons of sludge were removed and placed    108,000 ft2   Unlined and capped with approximately 2 ft of dark   Has no clear surface expression but consists of a       Decommissioned –
Allied                                  in Unit W. Only underlying native soil remains. Pond was used as a                   yellowish-brown silty clay. Waste was                flat area that slopes gently toward the Ohio River.     Pond Contents
                                        mixing basin to treat the “black water” from Unit W with                             consolidated into SWMU W in the 1980’s;              The material encountered beneath the cap was a          Consolidated into
                                        formaldehyde. The formaldehyde facilitated a reaction whereby the                    subgrade remains.                                    dark gray silt with localized traces of gravel. At a    SWMU W; Liner
                                        toluene diamine precipitated as sludge. The unreacted formaldehyde                                                                        depth of around 10 ft, this dark soil reverted to the   Removed; Area
                                        was pumped from the unit and treated.                                                                                                     yellowish-brown silt that was observed beneath          Backfilled with Soil
                                                                                                                                                                                  SWMU U. One sample of the dark gray soil from
                                                                                                                                                                                  the north end, near SWMU S, registered 100 ppm
                                                                                                                                                                                  on the PID when the probe was held directly over
                                                                                                                                                                                  the sample as the sampling spoon was opened. No
                                                                                                                                                                                  organic vapors were detected in the breathing zone.
                                                                                                                                                                                  No organic vapors were detected in material taken
                                                                                                                                                                                  from the middle or southern end.

W             Waste Pond 3              Former holding pond for toluene diamine (TDA) SWMU material.           91,300 ft2    EPDM lined.                                          Rises about 25 ft above surrounding land. Waste is      Upgraded Cap
Allied                                                                                                                                                                            stabilized and hard. Test pits were excavated prior
                                                                                                                             Capped with clay and a geosynthetic cap system.      to cap installation and revealed a striated solid       Capped with intact
                                                                                                                                                                                  formation with water freely flowing from fracture       bottom liner
                                                                                                                                                                                  apertures. The waste has a “rotten fish” odor.
                                                                                                                                                                                  Hydraulic studies were conducted in 2005 and
                                                                                                                                                                                  2006, indicating no hydraulic connection between
                                                                                                                                                                                  the unit and the underlying aquifer. A geosynthetic
                                                                                                                                                                                  and soil cap was installed in 2006.

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Notes:
Areas calculated using ArcView software.
                                                                                                                                                                                                                                                                 Case 5:23-cv-00059-JPB Document 6-1 Filed 02/22/23 Page 157 of 199 PageID #: 177
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                               APPENDIX A

                      WVDEP Letter of Concurrence
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   Office of Environmental Remediation                                  Harold D. Ward, Cabinet Secretary
   131A Peninsula Street                                                                     dep.wv.gov
   Wheeling, WV 26003
   (304) 238-1220

                                               May 6, 2021

 Ms. Linda Dietz, Acting Director
 Superfund Emergency and Management Division (SEMD)
 US EPA Region 3
 1650 Arch Street, 3SD00
 Philadelphia, PA 19103-2029

 RE:     State Concurrence with the Record of Decision (ROD), May 2021
         Hanlin-Allied-Olin Superfund Site – Operable Unit 1
         Moundsville, Marshall County, West Virginia
         EPA Identification No. WV024185373

 Dear Ms. Dietz:

          This letter is to officially express that the State of West Virginia, Department of
 Environmental Protection (WVDEP), Office of Environmental Remediation (OER) has reviewed
 and is in concurrence with the ROD dated May 2021 for the Hanlin-Allied-Olin Superfund Site
 (site), Operable Unit 1, located in Moundsville, Marshall County, West Virginia.

         WVDEP OER has participated in the investigation as well as the evaluation and selection
 of the remedies proposed for the site. WVDEP OER looks forward to the implementation of the
 selected final and interim remedies, which we believe will be protective both to human health
 and the environment, as well as provide for cost-effective remediation of the site.

                                                        Sincerely,



                                                        Casey Korbini
                                                        Deputy Director for Remediation Programs
                                                        Division of Land Restoration


 ec:     Lisa Denmark, Remedial Project Manager, U.S. EPA
 ec:     Jason McDougal, Program Manager, OER
 ec:     William Huggins Jr., Project Manager, OER


                                     Promoting a healthy environment.
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                EXHIBIT B
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                    REMEDIAL DESIGN/REMEDIAL ACTION

            MOUNDSVILLE SUPERFUND SITE STATEMENT OF WORK
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                                     1.      INTRODUCTION

 1.1       Purpose of SOW. This Statement of Work (“SOW”) sets forth the procedures and
           requirements for implementing the Work.

 1.2       Structure of the SOW
       x   Section 2 (Community Involvement) sets forth EPA’s and Settling Defendants’
           responsibilities for community involvement.
       x   Section 3 (Coordination and Supervision) contains the provisions for selecting the
           Supervising Contractor and Project Coordinators regarding the Work.
       x   Section 4 (Remedial Design) sets forth the process for developing the Remedial Design,
           which includes the submission of specified primary deliverables.
       x   Section 5 (Remedial Action) sets forth requirements regarding the completion of the
           Remedial Action, including primary deliverables related to completion of the Remedial
           Action.
       x   Section 6 (Reporting) sets forth Settling Defendants’ reporting obligations.
       x   Section 7 (Deliverables) describes the contents of the supporting deliverables and the
           general requirements regarding Settling Defendants’ submission of, and EPA’s review of,
           approval of, comment on, and/or modification of, the deliverables.
       x   Section 8 (Schedules) sets forth the schedule for submitting the primary deliverables,
           specifies the supporting deliverables that must accompany each primary deliverable, and
           sets forth the schedule of milestones regarding the completion of the Remedial Action.
       x   Section 0 (State Participation) addresses State participation.
       x   Section 10 (References) provides a list of references, including URLs.

 1.3       The Scope of the Remedy includes the actions described in Section 4.0 of the Record of
           Decision, including an interim remedial approach for South Plant alluvial groundwater
           and a final remedy for Shallow Soils, the former Mercury Cell Building area,
           and Hanlin Area sewers at the Site. The major components include the following.

       x   The final remedy for shallow soils is a combination of stabilization of Operations Area
           soils, excavation of floodplain wet soils, and cover of general floodplain soils.
           Institutional Controls will be developed and maintained pursuant to Section 12.1.4 of the
           ROD. Additional soils generated during Site maintenance or redevelopment will be
           managed to attain risk-based objectives consistent with a Soil Management Plan (SMP)
           using similar approaches to those included in the Soil Management Activity Work Plan –
           Honeywell International Controlled Property, Revision 3 (Moundsville Power, LLC,
           August 2016).

       x   The final remedy for the former Mercury Cell Building is concrete capping pursuant to
           section 12.4.2 of the ROD. Institutional Controls will be developed and maintained
           pursuant to Section 12.1.4 of the ROD. The SMP described above will be applied.




                                                   3
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       x   The final remedy for the Sewers is grouting with partial excavation as necessary.
           Institutional Controls will be developed and maintained pursuant to Section 12.1.4 of the
           ROD.

       x   The interim remedy for South Plant alluvial groundwater is upgraded groundwater
           extraction and treatment (with continued soil vapor extraction). This interim remedy
           includes a step-wise technology evaluation process to achieve a total mercury
           concentration of 0.14 micrograms per liter at the end-of-pipe and a total mercury
           concentration of 0.012 micrograms per liter at the physical boundary of a mixing zone
           within 5 years and 3 months of the lodging of the Consent Decree (the period during
           which this step-wise process is undertaken is referred to as the compliance period in the
           ROD). The end-of-pipe compliance point will be temporarily measured at an alternative
           compliance point through samples taken at the Stilling Pond. As set forth in the ROD, the
           compliance period will include a pilot study evaluation of whether the water quality
           standard can be met consistently for the upgraded groundwater extraction and treatment
           system discharge. If the pilot study confirms that the water quality standard of 0.14
           micrograms per liter at the end-of-pipe and the 0.012 micrograms per liter at the
           boundary of the mixing zone can be attained during the compliance period1, the use of a
           mixing zone will be incorporated into the Final Remedial Design. The mixing zone
           period shall not exceed 5 years after Completion of Construction, and the compliance
           period and the mixing zone period together shall not exceed 10 years and 3 months from
           the date of the lodging of the Consent Decree, except if the mixing zone period is
           extended by EPA, in consultation with WVDEP, in writing. To the degree that the
           compliance period may exceed 5 years and 3 months, the mixing zone period will equally
           reduce to ensure that the total period does not exceed 10 years and 3 months. Depending
           upon several factors, including but not limited to, the status of the remedial action at
           OU2, the success of the enhanced treatment measures, technical feasibility, and any
           unforeseen circumstances, Honeywell may request an extension of the use of a mixing
           zone following the expiration of the initial mixing zone period. EPA, in consultation
           with WVDEP, will make the unilateral decision whether to grant the request and, in its
           discretion, select the duration of the extension. If EPA denies Honeywell’s request to
           extend the initial mixing zone period at the expiration of the interim remedial action’s
           implementation period of 10 years and 3 months or grants a shorter extension than
           requested by Honeywell, no stipulated penalty provision pursuant to the Consent Decree
           or other penalties will apply to end of pipe exceedances of the performance standard, and
           Honeywell shall not be deemed in violation of the Consent Decree for such exceedances.

 1.4       The terms used in this SOW that are defined in CERCLA, in regulations promulgated
           under CERCLA, or in the Consent Decree (“Decree”), have the meanings assigned to
           them in CERCLA, in such regulations, or in the Decree, except that the term “Paragraph”


 1
   If it is determined that the water quality standard of 0.14 micrograms per liter at the end-of-pipe and the 0.012
 micrograms per liter at the boundary of the mixing zone cannot be attained during the compliance period, EPA, in
 consultation with WVDEP, will decide whether to issue a new ROD or ROD amendment consistent with the
 statutory requirements of CERCLA Section 121.



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       or “¶” means a paragraph of the SOW, and the term “Section” means a section of the
       SOW, unless otherwise stated.

                         2.       COMMUNITY INVOLVEMENT

 2.1   As requested by EPA, Settling Defendants shall conduct community involvement
       activities under EPA’s oversight as provided for in, and in accordance with this Section.
       Such activities must include designation of a Community Involvement Coordinator (“CI
       Coordinator”) and implementation of a technical assistance plan.

 2.2   Community Involvement Responsibilities

       (a)    EPA has the lead responsibility for developing and implementing community
              involvement activities at the Site. Previously during the Remedial Investigation
              and Feasibility Study (“RI/FS”) phase, EPA developed a Community Involvement
              Plan (“CIP”) for the Site. In accordance with 40 C.F.R. § 300.435(c), EPA shall
              review the existing CIP and determine whether it should be revised to describe
              further public involvement activities during the Work that are not already
              addressed or provided for in the existing CIP and/or any Technical Assistance
              Plan (“TAP”).

       (b)    Settling Defendants’ CI Coordinator. As requested by EPA, Settling
              Defendants shall, within 15 days, designate and notify EPA of Settling
              Defendants’ CI Coordinator (Settling Defendants’ CI Coordinator). Settling
              Defendants may hire a contractor for this purpose. Settling Defendants’ notice
              must include the name, title, and qualifications of the Settling Defendants’ CI
              Coordinator. Settling Defendants’ CI Coordinator shall coordinate his/her
              activities with EPA’s CI Coordinator, provide support regarding EPA’s
              community involvement activities, and, as requested by EPA’s CI Coordinator,
              provide draft responses to the public’s inquiries including requests for information
              or data about the Site. The Settling Defendants’ CI Coordinator has the
              responsibility to ensure that when they communicate with the public, the Settling
              Defendants protect any “Personally Identifiable Information” (“PII”) (e.g. sample
              results from residential properties) in accordance with “EPA Policy 2151.0:
              Privacy Policy.”

       (c)    As requested by EPA, Settling Defendants shall participate in community
              involvement activities, including participation in: public meetings that may be
              held or sponsored by EPA to explain activities at or relating to the Site (with
              interpreters present for community members with limited English proficiency).
              Settling Defendants’ support of EPA’s community involvement activities may
              include providing online access to initial submissions and updates of deliverables
              to: (1) any Community Advisory Groups, (2) any Technical Assistance Grant
              (“TAG”) recipients and their advisors, and (3) other entities to provide them with
              a reasonable opportunity for review and comment. EPA may describe in its CIP
              Settling Defendants’ responsibilities for community involvement activities. All
              community involvement activities conducted by Settling Defendants at EPA’s


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              request are subject to EPA’s oversight. Upon EPA’s request, Settling Defendants
              shall establish, as early as is feasible, a community information repository at or
              near the Site, as provided in the CIP, to house one copy of the administrative
              record.

       (d)    Information for the Community. As requested by EPA, Settling Defendants
              shall develop and provide to EPA information about the design and
              implementation of the remedy including: (1) any validated data from monitoring
              of impacts to communities as provided in the Community Impact Mitigation Plan
              under ¶ 7.7(f); (2) results from unvalidated sampling as provided under
              ¶ 7.7(e)(7); (3) a copy of the Community Impacts Mitigation Plan required under
              ¶ 7.7(f); (4) schedules prepared under Section 8; (5) dates that Settling Defendants
              completed each task listed in the schedules; and (6) digital photographs of the
              Work being performed, together with descriptions of the Work depicted in each
              photograph, the purpose of the Work, the equipment being used, and the location
              of the Work. The EPA Project Coordinator may use this information for
              communication to the public via EPA’s website, social media, or local and mass
              media. The information provided to EPA should be suitable for sharing with the
              public and the education levels of the community as indicated in EPA’s
              environmental justice mapping tool “EJ Screen”; see
              https://www.epa.gov/ejscreen for further information. Translations should be in
              the dominant language(s) of community members with limited English
              proficiency.

 2.3   Settling Defendants’ Responsibilities for Technical Assistance

       (a)    At EPA’s request, Settling Defendants shall arrange for a qualified community
              group to receive the services of a technical advisor(s) who can: (1) help group
              members understand Site cleanup issues (specifically, to interpret and comment
              on Site-related documents developed under this SOW); and (2) share this
              information with others in the community. The technical advisor(s) will be
              independent from the Settling Defendants. Settling Defendants’ assistance will be
              limited to $50,000, except as provided in ¶ 2.3(d)(3), and will end when EPA
              issues the Certification of Work Completion under ¶ 5.10. Settling Defendants
              shall implement this requirement under a Technical Assistance Plan (“TAP”).

       (b)    At EPA’s request, Settling Defendants shall cooperate with EPA in soliciting
              interest from community groups regarding a TAP at the Site. If more than one
              community group expresses an interest in a TAP, Settling Defendants shall
              cooperate with EPA in encouraging the groups to submit a single, joint
              application for a TAP.

       (c)    At EPA’s request, Settling Defendants shall, within 30 days, submit a proposed
              TAP for EPA approval. The TAP must describe the Settling Defendants’ plans for
              the qualified community group to receive independent technical assistance. The
              TAP must include the following elements:



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             (1)   For Settling Defendants to arrange for publication of a notice in local
                   media that they have received a Letter of Intent (“LOI”) to submit an
                   application for a TAP. The notice should explain how other interested
                   groups may also try to combine efforts with the LOI group or submit their
                   own applications, by a reasonable specified deadline;

             (2)   For Settling Defendants to review the application(s) received and
                   determine the eligibility of the community group(s). The proposed TAP
                   must include eligibility criteria as follows:

                   (i)    A community group is eligible if it is: (a) comprised of people who
                          are affected by the release or threatened release at the Site; and
                          (b) able to demonstrate its ability to adequately and responsibly
                          manage TAP-related obligations.

                   (ii)   A community group is ineligible if it is: (a) a potentially
                          responsible party (PRP) at the Site, represents such a PRP, or
                          receives money or services from a PRP (other than through the
                          TAP); (b) affiliated with a national organization; (c) an academic
                          institution; (d) a political subdivision; (e) a tribal government; (f) a
                          group established or presently sustained by any of the above
                          ineligible entities; or (g) a group in which any of the above
                          ineligible entities is represented;

             (3)   For Settling Defendants to notify EPA of their determination on eligibility
                   of the applicant group(s) to ensure that the determination is consistent with
                   the SOW before notifying the group(s);

             (4)   If more than one community group submits a timely application, for
                   Settling Defendants to review each application and evaluate each
                   application based on the following elements:

                   (i)    The extent to which the group is representative of those persons
                          affected by the Site; and

                   (ii)   The effectiveness of the group’s proposed system for managing
                          TAP-related responsibilities, including its plans for working with
                          its technical advisor and for sharing Site-related information with
                          other members of the community.

             (5)   For Settling Defendants to document their evaluation of, and their
                   selection of, a qualified community group, and to brief EPA regarding
                   their evaluation process and choice. EPA may review Settling Defendants’
                   evaluation process to determine whether the process satisfactorily follows
                   the criteria in ¶ 2.3(c)(4). TAP assistance may be awarded to only one
                   qualified group at a time;




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             (6)   For Settling Defendants to notify all applicant(s) about Settling
                   Defendants’ decision;

             (7)   For Settling Defendants to designate a person (TAP Coordinator) to be
                   their primary contact with the selected community group;

             (8)   A description of Settling Defendants’ plans to implement the requirements
                   of ¶ 2.3(d) (Agreement with Selected Community Group); and

             (9)   For Settling Defendants to submit quarterly progress reports regarding the
                   implementation of the TAP.

       (d)   Agreement with Selected Community Group

             (1)   Settling Defendants shall negotiate an agreement with the selected
                   community group that specifies the duties of Settling Defendants and the
                   community group. The agreement must specify the activities that may be
                   reimbursed under the TAP and the activities that may not be reimbursed
                   under the TAP. The list of allowable activities must be consistent with
                   40 C.F.R. § 35.4070 (e.g., obtaining the services of an advisor to help the
                   group understand the nature of the environmental and public health
                   hazards at the Site and the various stages of the response action, and
                   communicating Site information to others in the community). The list of
                   non-allowable activities must be consistent with 40 C.F.R. § 35.4075 (e.g.,
                   activities related to litigation or political lobbying).

             (2)   The agreement must provide that Settling Defendants’ review of the
                   Community Group’s recommended choice for Technical Advisor will be
                   limited, consistent with 40 C.F.R. §§ 35.4190 and 35.4195, to criteria such
                   as whether the advisor has relevant knowledge, academic training, and
                   relevant experience as well as the ability to translate technical information
                   into terms the community can understand.

             (3)   The agreement must provide that the Community Group is eligible for
                   additional TAP assistance (not to exceed an additional $50,000), if it can
                   demonstrate that it has effectively managed its TAP responsibilities to
                   date, and that at least three of the following 10 factors are satisfied:

                   (i)     EPA expects that more than eight years (beginning with the
                           initiation of the RI/FS) will pass before construction completion
                           will be achieved;

                   (ii)    EPA requires treatability studies or evaluation of new and
                           innovative technologies;

                   (iii)   EPA reopens the Record of Decision;




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                    (iv)     The public health assessment (or related activities) for the Site
                             indicates the need for further health investigations and/or health-
                             related activities;

                    (v)      After Settling Defendants’ selection of the Community Group for
                             the TAP, EPA designates additional operable units at the Site;

                    (vi)     EPA issues an Explanation of Significant Differences for the
                             Record of Decision;

                    (vii)    After Settling Defendants’ selection of the Community Group, a
                             legislative or regulatory change results in significant new Site
                             information;

                    (viii)   Significant public concern about the Site exists, as evidenced, e.g.,
                             by relatively large turnout at meetings, the need for multiple
                             meetings, the need for numerous copies of documents to inform
                             community members, etc.;

                    (ix)     Any other factor that, in EPA’s judgment, indicates that the Site is
                             unusually complex; or

                    (x)      An RI/FS costing at least $2 million was performed at the Site.

             (4)    Settling Defendants are entitled to retain any unobligated TAP funds upon
                    EPA’s Certification of Work Completion under ¶ 5.10.

             (5)    Settling Defendants shall submit a draft of the proposed agreement to EPA
                    for its comments.

                    3.        COORDINATION AND SUPERVISION

 3.1   Project Coordinators

       (a)   Settling Defendants’ Project Coordinator must have sufficient technical expertise
             to coordinate the Work. Settling Defendants’ Project Coordinator may not be an
             attorney representing any Settling Defendant in this matter and may not act as the
             Supervising Contractor. Settling Defendants’ Project Coordinator may assign
             other representatives, including other contractors, to assist in coordinating the
             Work.

       (b)   EPA shall designate and notify the Settling Defendants of EPA’s Project
             Coordinator and Alternate Project Coordinators. EPA may designate other
             representatives, which may include its employees, contractors, and/or consultants,
             to oversee the Work. EPA’s Project Coordinator/Alternate Project Coordinator
             will have the same authority as a remedial project manager and/or an on-scene
             coordinator, as described in the National Oil and Hazardous Substances Pollution
             Contingency Plan (“NCP”). This includes the authority, after consultation with


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              the State’s Office of Environmental Remediation Project Manager or Program
              Manager, to halt the Work and/or to conduct or direct any necessary response
              action when it is determined that conditions at the Site constitute an emergency or
              may present an immediate threat to public health or welfare or the environment
              due to a release or threatened release of Waste Material.

       (c)    The State has notified EPA and Settling Defendants that it has designated William
              Huggins as the Project Coordinator and Jason McDougal as the Alternate Project
              Coordinator. The State may designate other representatives, including its
              employees, contractors and/or consultants to oversee the Work. For any meetings
              and inspections in which EPA’s Project Coordinator participates, the State’s
              Project Coordinator also may participate. Settling Defendants shall notify the
              State reasonably in advance of any such meetings or inspections.

       (d)    Settling Defendants’ Project Coordinators shall communicate with EPA’s and the
              State’s Project Coordinators at least monthly.

 3.2   Supervising Contractor. Settling Defendants’ proposed Supervising Contractor must
       have sufficient technical expertise to supervise the Work and a quality assurance system
       that complies with the most recent version of Quality Systems for Environmental Data
       and Technology Programs -- Requirements with Guidance for Use (American National
       Standard), ANSI/ASQC E4 (Feb. 2014).

 3.3   Procedures for Disapproval/Notice to Proceed

       (a)    Settling Defendants shall designate, and notify EPA, within 10 days after the
              Effective Date, of the name[s], title[s], contact information, and qualifications of
              the Settling Defendants’ proposed Project Coordinator and Supervising
              Contractor, whose qualifications shall be subject to EPA’s review for verification
              based on objective assessment criteria (e.g., experience, capacity, technical
              expertise) and do not have a conflict of interest with respect to the project.

       (b)    EPA shall issue notices of disapproval and/or authorizations to proceed regarding
              any proposed Project Coordinator and Supervising Contractor, as applicable. If
              EPA issues a notice of disapproval, Settling Defendants shall, within 30 days,
              submit to EPA a list of supplemental proposed Project Coordinators and/or
              Supervising Contractors, as applicable, including a description of the
              qualifications of each. Settling Defendants may select any coordinator/contractor
              covered by an authorization to proceed and shall, within 21 days, notify EPA of
              Settling Defendants’ selection.

       (c)    EPA may disapprove the proposed Project Coordinator, the Supervising
              Contractor, or both, based on objective assessment criteria (e.g., experience,
              capacity, technical expertise), if they have a conflict of interest regarding the
              project, or any combination of these factors.

       (d)    Settling Defendants may change their Project Coordinator and/or Supervising
              Contractor, or both, by following the procedures of ¶¶ 3.3(a) and 3.3(b).

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                               4.       REMEDIAL DESIGN

 4.1   Remedial Design Work Plan (“RDWP”). Settling Defendants shall submit an RDWP
       for EPA approval. The RDWP must include:

       (a)    Plans for implementing all Remedial Design activities identified in this SOW, in
              the RDWP, or required by EPA to be conducted to develop the Remedial Design;

       (b)    A description of the overall management strategy for performing the Remedial
              Design, including a proposal for phasing of design and construction, if applicable;

       (c)    A description of the proposed general approach to contracting, construction,
              operation, maintenance, and monitoring of the Remedial Action as necessary to
              implement the Work;

       (d)    A description of the responsibility and authority of all organizations and key
              personnel involved with the development of the Remedial Design;

       (e)    Descriptions of any areas requiring clarification and/or anticipated problems (e.g.,
              data gaps);

       (f)    Description of any proposed pre-design investigation; if necessary

       (g)    Description of any proposed treatability study;

       (h)    Descriptions of any applicable permitting requirements and other regulatory
              requirements;

       (i)    Description of plans for obtaining access in connection with the Work, such as
              property acquisition, property leases, and/or easements; and

       (j)    The following supporting deliverables described in ¶ 7.7 (Supporting
              Deliverables): Health and Safety Plan and Emergency Response Plan.

 4.2   Institutional Controls Implementation and Assurance Plan (“ICIAP”). Settling
       Defendants shall submit a proposed ICIAP for EPA approval. The ICIAP should describe
       plans to implement, maintain, monitor, and enforce the Institutional Controls (“ICs”) at
       the Site. The ICIAP shall include plans to commence implementing ICs as early as is
       feasible, including before EPA approval of the 100% design under ¶ 4.7. The ICIAP also
       should include procedures for effective and comprehensive review of implemented ICs,
       procedures for the solicitation of input from affected communities regarding the
       implementation of ICs, procedures to periodically review and determine if the ICs are
       having their intended effect, and if not, procedures for the development, approval and
       implementation of alternative, more effective ICs. Settling Defendants shall develop the
       ICIAP in accordance with Institutional Controls: A Guide to Planning, Implementing,
       Maintaining, and Enforcing Institutional Controls at Contaminated Sites, OSWER
       9355.0-89, EPA/540/R-09/001 (Dec. 2012), and Institutional Controls: A Guide to
       Preparing Institutional Controls Implementation and Assurance Plans at Contaminated


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       Sites, OSWER 9200.0-77, EPA/540/R-09/02 (Dec. 2012). Settling Defendants also shall
       consider including in the ICIAP the establishment of effective Long-Term Stewardship
       procedures including those described in EPA Memorandum: Advanced Monitoring
       Technologies and Approaches to Support Long-Term Stewardship (July 20, 2018). The
       ICIAP must include the following additional requirements:

       (a)    Locations of recorded real property interests (e.g., easements, liens) and resource
              interests in the property that may affect ICs (e.g., surface, mineral, and water
              rights) including accurate mapping and geographic information system (GIS)
              coordinates of such interests; and

       (b)    Legal descriptions and survey maps that are prepared according to current
              American Land Title Association (“ALTA”) Survey guidelines and certified by a
              licensed surveyor.

 4.3   Settling Defendants shall communicate regularly with EPA to discuss design issues as
       necessary, as directed or determined by EPA.

 4.4   Treatability Study (“TS”).

       (a)    Settling Defendants shall perform a TS for the purpose of evaluating effectiveness
              of groundwater treatment options.

       (b)    Settling Defendants shall submit a TS Work Plan (“TSWP”) for EPA approval.
              Settling Defendants shall prepare the TSWP in accordance with EPA’s Guide for
              Conducting Treatability Studies under CERCLA, Final (Oct. 1992), as
              supplemented for Remedial Design by the Remedial Design/Remedial Action
              Handbook, EPA 540/R-95/059 (June 1995).

       (c)    Following completion of the TS, Settling Defendants shall submit a TS
              Evaluation Report for EPA comment.

       (d)    EPA may require Settling Defendants to supplement the TS Evaluation Report
              and/or to perform additional treatability studies.

 4.5   Initial (50%) Remedial Design. Settling Defendants shall submit an Initial (50%)
       Remedial Design for EPA’s comment. The Initial Remedial Design must include:

       (a)    A design criteria report, as described in the Remedial Design/Remedial Action
              Handbook, EPA 540/R-95/059 (June 1995);

       (b)    Preliminary drawings and specifications;

       (c)    Descriptions of permit requirements, if applicable;

       (d)    Preliminary Operation and Maintenance (“O&M”) Plan and O&M Manual;




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       (e)    A description of how the Remedial Action will be implemented in a manner that
              minimizes environmental impacts in accordance with EPA’s Principles for
              Greener Cleanups (Aug. 2009);

       (f)    A description of monitoring and control measures to protect human health and the
              environment, such as air monitoring, and measures to reduce and manage traffic,
              noise, odors, and dust, during the Remedial Action in accordance with the
              Community Involvement Handbook pp. 53-66 (text box on p. 55) to minimize
              community impacts;

       (g)    Any proposed revisions to the Remedial Action Schedule that is set forth in
              ¶ Error! Reference source not found. (Remedial Action Schedule); and

       (h)    Updates of all supporting deliverables required to accompany the RDWP and the
              following additional supporting deliverables described in ¶ 7.7 (Supporting
              Deliverables): Field Sampling Plan; Quality Assurance Project Plan; Site Wide
              Monitoring Plan; Community Impacts Mitigation Plan, Construction Quality
              Assurance/Quality Control Plan; Transportation and Off-Site Disposal Plan; and
              O&M Plan.

 4.6   Pre-Final (95%) Remedial Design. Settling Defendants shall submit the Pre-final (95%)
       Remedial Design for EPA’s comment. The Pre-final Remedial Design must be a
       continuation and expansion of the previous design submittal and must address EPA’s
       comments regarding the Initial Remedial Design. The Pre-final Remedial Design will
       serve as the approved Final (100%) Remedial Design if EPA approves the Pre-final
       Remedial Design without comments. The Pre-final Remedial Design must include:

       (a)    A complete set of construction drawings and specifications that are: (1) certified
              by a registered professional engineer; (2) suitable for procurement; and (3) follow
              the Construction Specifications Institute’s MasterFormat 2020;

       (b)    A survey and engineering drawings showing existing Site features, such as
              elements, property borders, easements, and Site conditions;

       (c)    Pre-Final versions of the same elements and deliverables as are required for the
              Initial Remedial Design;

       (d)    A specification for photographic documentation of the Remedial Action; and

       (e)    Updates of all supporting deliverables required to accompany the Initial (50%)
              Remedial Design.

 4.7   Final (100%) Remedial Design. Settling Defendants shall submit the Final (100%)
       Remedial Design for EPA approval. The Final Remedial Design must address EPA’s
       comments on the Pre-final Remedial Design and must include final versions of all Pre-
       final Remedial Design deliverables.




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                               5.       REMEDIAL ACTION

 5.1   Remedial Action Work Plan (“RAWP”). Settling Defendants shall submit a RAWP for
       EPA approval that includes:

       (a)    A proposed Remedial Action Construction Schedule in Gantt chart format, or
              equivalent;

       (b)    An updated health and safety plan that covers activities during the Remedial
              Action; and

       (c)    Plans for satisfying permitting requirements, if any, including obtaining permits
              for off-site activity and for satisfying substantive requirements of permits for on-
              site activity.

 5.2   Independent Quality Assurance Team (“IQAT”). Settling Defendants shall notify
       EPA of Settling Defendants’ designated IQAT. The IQAT must be independent of, and
       cannot include the Remedial Action Constructor. Settling Defendants may hire a third
       party for this purpose. Settling Defendants’ notice must include the names, titles, contact
       information, and qualifications of the members of the IQAT. The IQAT will have the
       responsibility to determine whether Work is of expected quality and conforms to
       applicable plans and specifications. The IQAT will have the responsibilities as described
       in ¶ 2.1.3 of the Guidance on EPA Oversight of Remedial Designs and Remedial Actions
       Performed by Potentially Responsible Parties, EPA/540/G-90/001 (Apr. 1990).

 5.3   Meetings and Inspections

       (a)    Preconstruction Conference. Settling Defendants shall hold a preconstruction
              conference with EPA and the State and others as directed or approved by EPA
              and as described in the Remedial Design/Remedial Action Handbook, EPA 540/R-
              95/059 (June 1995). Settling Defendants shall prepare minutes of the conference
              and shall distribute the minutes to all Parties.

       (b)    Periodic Communications. During the construction portion of the Remedial
              Action (Remedial Action Construction), Settling Defendants shall communicate
              weekly with EPA and the State, and others as directed or determined by EPA, to
              discuss construction issues. Settling Defendants shall distribute an agenda and list
              of attendees to all Parties prior to each meeting or telephone call. Settling
              Defendants shall prepare minutes of the meetings or calls and shall distribute the
              minutes to all Parties.

       (c)    Inspections

              (1)     EPA or its representative shall conduct periodic inspections of or have an
                      on-site presence during the Work. At EPA’s request, the Supervising
                      Contractor or other designee shall accompany EPA or its representative
                      during inspections. The State, after consultation with EPA, may conduct
                      periodic inspections of or have an on-site presence during the Work.


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             (2)    Settling Defendants shall provide personal protective equipment needed
                    for EPA and State personnel and any oversight officials to perform their
                    oversight duties.

             (3)    Upon notification by EPA of any deficiencies in the Remedial Action
                    Construction, Settling Defendants shall take all necessary steps to correct
                    the deficiencies and/or bring the Remedial Action Construction into
                    compliance with the approved Final Remedial Design, any approved
                    design changes, and/or the approved RAWP. If applicable, Settling
                    Defendants shall comply with any schedule provided by EPA in its notice
                    of deficiency.

 5.4   Permits

       (a)   As provided in CERCLA § 121(e), and Section 300.400(e) of the NCP, no permit
             is required for any portion of the Work conducted entirely on-site (i.e., within the
             areal extent of contamination or in very close proximity to the contamination and
             necessary for implementation of the Work). Where any portion of the Work that is
             not on-site requires a federal or state permit or approval, Settling Defendants shall
             submit timely and complete applications and take all other actions necessary to
             obtain all such permits or approvals.

       (b)   Settling Defendants may seek relief under the provisions of Section XI (Force
             Majeure) of the Decree for any delay in the performance of the Work resulting
             from a failure to obtain, or a delay in obtaining, any permit or approval referenced
             in ¶ 5.4(a) and required for the Work, provided that they have submitted timely
             and complete applications and taken all other actions necessary to obtain all such
             permits or approvals.

       (c)   Nothing in the Decree or this SOW constitutes a permit issued under any federal
             or state statute or regulation.

 5.5   Emergency Response and Reporting

       (a)   Emergency Action. If any event occurs during performance of the Work that
             causes or threatens to cause a release of Waste Material on, at, or from the Site
             and that either constitutes an emergency situation or that may present an
             immediate threat to public health or welfare or the environment, Settling
             Defendants shall: (1) immediately take all appropriate action to prevent, abate, or
             minimize such release or threat of release; (2) immediately notify the authorized
             EPA officer (as specified in ¶ 5.5(c)) orally; and (3) take such actions in
             consultation with the authorized EPA officer and in accordance with all
             applicable provisions of the Health and Safety Plan, the Emergency Response
             Plan, and any other deliverable approved by EPA under the SOW.

       (b)   Release Reporting. Upon the occurrence of any event during performance of the
             Work that Settling Defendants are required to report under CERCLA § 103 or
             Section 304 of the Emergency Planning and Community Right-to-Know Act

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             (“EPCRA”), Settling Defendants shall immediately notify the authorized EPA
             officer orally.

       (c)   The “authorized EPA officer” for purposes of immediate oral notifications and
             consultations under ¶ 5.5(a) and ¶ 5.5(b) is the EPA Project Coordinator, the EPA
             Alternate Project Coordinator (if the EPA Project Coordinator is unavailable), or
             the EPA Emergency Response Unit, Region 3 at 800-438-2474 (if neither EPA
             Project Coordinator is available).

       (d)   For any event covered by ¶ 5.5(a) and ¶ 5.5(b), Settling Defendants shall:
             (1) within 14 days after the onset of such event, submit a report to EPA describing
             the actions or events that occurred and the measures taken, and to be taken, in
             response thereto; and (2) within 30 days after the conclusion of such event, submit
             a report to EPA describing all actions taken in response to such event.

       (e)   The reporting requirements under ¶ 5.5 are in addition to the reporting required by
             CERCLA § 103 or EPCRA § 304.

 5.6   Off-Site Shipments

       (a)   Settling Defendants may ship hazardous substances, pollutants, and contaminants
             from the Site to an off-Site facility only if they comply with CERCLA
             § 121(d)(3), and 40 C.F.R. § 300.440. Settling Defendants will be deemed to be in
             compliance with CERCLA § 121(d)(3) and 40 C.F.R. § 300.440 regarding a
             shipment if Settling Defendants obtain a prior determination from EPA that the
             proposed receiving facility for such shipment is acceptable under the criteria of
             40 C.F.R. § 300.440(b).

       (b)   Settling Defendants may ship Waste Material from the Site to an out-of-state
             waste management facility only if, prior to any shipment, they provide notice to
             the appropriate state environmental official in the receiving facility’s state and to
             the EPA Project Coordinator. This notice requirement will not apply to any
             off-Site shipments when the total quantity of all such shipments does not exceed
             10 cubic yards. The notice must include the following information, if available:
             (1) the name and location of the receiving facility; (2) the type and quantity of
             Waste Material to be shipped; (3) the schedule for the shipment; and (4) the
             method of transportation. Settling Defendants also shall notify the state
             environmental official referenced above and the EPA Project Coordinator of any
             major changes in the shipment plan, such as a decision to ship the Waste Material
             to a different out-of-state facility. Settling Defendants shall provide the notice
             after the award of the contract for Remedial Action construction and before the
             Waste Material is shipped.

       (c)   Settling Defendants may ship Investigation Derived Waste (IDW) from the Site to
             an off-Site facility only if they comply with CERCLA § 121(d)(3), 40 C.F.R.
             § 300.440, EPA’s Guide to Management of Investigation Derived Waste, OSWER
             9345.3-03FS (Jan. 1992), and any IDW-specific requirements contained in the


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             Record of Decision. Wastes shipped off-Site to a laboratory for characterization,
             and RCRA hazardous wastes that meet the requirements for an exemption from
             RCRA under 40 C.F.R. § 261.4(e) shipped off-site for treatability studies, are not
             subject to 40 C.F.R. § 300.440.

 5.7   Remedial Action Construction Completion

       (a)   For purposes of this ¶ 5.7, “Remedial Action Construction” comprises, for any
             Remedial Action that involves the construction and operation of a system to
             achieve Performance Standards (for example, groundwater or surface water
             restoration remedies), the construction of such system and the performance of all
             activities necessary for the system to function properly and as designed.

       (b)   Inspection of Constructed Remedy. Settling Defendants shall schedule an
             inspection to review the construction and operation of the system and to review
             whether the system is functioning properly and as designed. The inspection must
             be attended by Settling Defendants, EPA and/or their representatives, and the
             State and/or their representatives. A reinspection must be conducted if requested
             by EPA or the State.

       (c)   Shakedown Period. There shall be a shakedown period of up to one year for
             EPA to review whether the remedy is functioning properly and performing as
             designed. Settling Defendants shall provide such information as EPA requests for
             such review.

       (d)   Remedial Action Report. Following the shakedown period, Settling Defendants
             shall submit a “Remedial Action Report” requesting EPA’s determination that
             Remedial Action Construction has been completed. The Remedial Action Report
             must: (1) include statements by a registered professional engineer and by Settling
             Defendants’ Project Coordinator that the construction of the system is complete
             and that the system is functioning properly and as designed; (2) include a
             demonstration, and supporting documentation, that construction of the system is
             complete and that the system is functioning properly and as designed; (3) include
             as-built drawings signed and stamped by a registered professional engineer; (4) be
             prepared in accordance with Chapter 2 (Remedial Action Completion) of EPA’s
             Close Out Procedures for NPL Sites guidance (May 2011), as supplemented by
             Guidance for Management of Superfund Remedies in Post Construction, OLEM
             9200.3-105 (Feb. 2017); and (5) be certified in accordance with ¶ 7.5
             (Certification).

       (e)   If EPA determines that Remedial Action Construction is not complete, EPA shall
             so notify Settling Defendants. EPA’s notice must include a description of, and
             schedule for, the activities that Settling Defendants must perform to complete
             Remedial Action Construction. EPA’s notice may include a schedule for
             completion of such activities or may require Settling Defendants to submit a
             proposed schedule for EPA approval. Settling Defendants shall perform all
             activities described in the EPA notice in accordance with the schedule.


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        (f)    If EPA determines, based on the initial or any subsequent Remedial Action
               Report, that Remedial Action Construction is complete, EPA shall so notify
               Settling Defendants.

 5.8    Certification of Remedial Action Completion

        (a)    Monitoring Report. Settling Defendants shall submit a Monitoring Report to
               EPA requesting EPA’s Certification of Remedial Action Completion. The report
               must: (1) include certifications by a registered professional engineer and by
               Settling Defendants’ Project Coordinator that the Remedial Action is complete;
               (2) be prepared in accordance with Chapter 2 (Remedial Action Completion) of
               EPA’s Close Out Procedures for NPL Sites guidance (May 2011), as
               supplemented by Guidance for Management of Superfund Remedies in Post
               Construction, OLEM 9200.3-105 (Feb. 2017); (3) contain monitoring data to
               demonstrate that Performance Standards have been achieved; and (4) be certified
               in accordance with ¶ 7.5 (Certification).

        (b)    If EPA concludes that the Remedial Action is not Complete, EPA shall so notify
               Settling Defendants. EPA’s notice must include a description of any deficiencies.
               EPA’s notice may include a schedule for addressing such deficiencies or may
               require Settling Defendants to submit a schedule for EPA approval. Settling
               Defendants shall perform all activities described in the notice in accordance with
               the schedule.

        (c)    If EPA concludes, based on the initial or any subsequent Monitoring Report
               requesting Certification of Remedial Action Completion, that the Remedial
               Action is Complete, EPA shall so certify to Settling Defendants. This certification
               will constitute the Certification of Remedial Action Completion for purposes of
               the Decree, including Section XIV of the Decree (Covenants by Plaintiffs).
               Certification of Remedial Action Completion will not affect Settling Defendants’
               remaining obligations under the Decree.

 5.9    Periodic Review Support Plan (“PRSP”). Settling Defendants shall submit the PRSP
        for EPA approval. The PRSP addresses the studies and investigations that Settling
        Defendants shall conduct to support EPA’s reviews of whether the Remedial Action is
        protective of human health and the environment in accordance with CERCLA § 121(c)
        (also known as “Five-year Reviews”). Settling Defendants shall develop the plan in
        accordance with Comprehensive Five-year Review Guidance, OSWER 9355.7-03B-P
        (June 2001), and any other relevant five-year review guidances.

 5.10   Certification of Work Completion

        (a)    Work Completion Inspection. Settling Defendants shall schedule an inspection
               for the purpose of obtaining EPA’s Certification of Work Completion. The
               inspection must be attended by Settling Defendants and EPA and/or their
               representatives.



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       (b)    Work Completion Report. Following the inspection, Settling Defendants shall
              submit a report to EPA requesting EPA’s Certification of Work Completion. The
              report must: (1) include certifications by a registered professional engineer and by
              Settling Defendants’ Project Coordinator that the Work, including all O&M
              activities, is complete; and (2) be certified in accordance with ¶ 7.5
              (Certification). If the Monitoring Report submitted under ¶ 5.8(a) includes all
              elements required under this ¶ 5.10(b), then the Monitoring Report suffices to
              satisfy all requirements under this ¶ 5.10(b).

       (c)    If EPA concludes that the Work is not complete, EPA shall so notify Settling
              Defendants. EPA’s notice must include a description of the activities that Settling
              Defendants must perform to complete the Work. EPA’s notice must include
              specifications and a schedule for such activities or must require Settling
              Defendants to submit specifications and a schedule for EPA approval. Settling
              Defendants shall perform all activities described in the notice or in the EPA-
              approved specifications and schedule.

       (d)    If EPA concludes, based on the initial or any subsequent report requesting
              Certification of Work Completion, that the Work is complete, EPA shall so certify
              in writing to Settling Defendants. Issuance of the Certification of Work
              Completion does not affect the following continuing obligations: (1) activities
              under the Periodic Review Support Plan; (2) obligations under Sections VI
              (Property Requirements), and XVII (Records) of the Decree; (3) Institutional
              Controls obligations as provided in the ICIAP; (4) reimbursement of EPA’s
              Future Response Costs under Section IX (Payments for Response Costs) of the
              Decree.

                                    6.      REPORTING

 6.1   Progress Reports. Commencing with the month following lodging of the Decree and
       until EPA approves the Remedial Action Construction Completion, Settling Defendants
       shall submit progress reports to EPA on a monthly basis, or as otherwise requested by
       EPA. The reports must cover all activities that took place during the prior reporting
       period, including:

       (a)    The actions that have been taken toward achieving compliance with the Decree;

       (b)    A summary of all results of sampling, tests, and all other data received or
              generated by Settling Defendants;

       (c)    A description of all deliverables that Settling Defendants submitted to EPA;

       (d)    A description of all activities relating to Remedial Action Construction that are
              scheduled for the next six weeks;

       (e)    An updated Remedial Action Construction Schedule, together with information
              regarding percentage of completion, delays encountered or anticipated that may



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              affect the future schedule for implementation of the Work, and a description of
              efforts made to mitigate those delays or anticipated delays;

       (f)    A description of any modifications to the work plans or other schedules that
              Settling Defendants have proposed or that have been approved by EPA; and

       (g)    A description of all activities undertaken in support of the Community
              Involvement Plan (“CIP”) during the reporting period and those to be undertaken
              in the next six weeks.

 6.2   Notice of Progress Report Schedule Changes. If the schedule for any activity described
       in the Progress Reports, including activities required to be described under ¶ 6.1(d),
       changes, Settling Defendants shall notify EPA of such change at least seven days before
       performance of the activity.

                                  7.      DELIVERABLES

 7.1   Applicability. Settling Defendants shall submit deliverables for EPA approval or for
       EPA comment as specified in the SOW. If neither is specified, the deliverable does not
       require EPA’s approval or comment. Paragraphs 7.2 (In Writing) through 7.4 (Technical
       Specifications) apply to all deliverables. Paragraph 7.5 (Certification) applies to any
       deliverable that is required to be certified. Paragraph 7.6 (Approval of Deliverables)
       applies to any deliverable that is required to be submitted for EPA approval.

 7.2   In Writing. As provided in ¶ 72 of the Decree, all deliverables under this SOW must be
       in writing unless otherwise specified.

 7.3   General Requirements for Deliverables. All deliverables must be submitted by the
       deadlines in the Remedial Design Schedule or Remedial Action Schedule, as applicable.
       Settling Defendants shall submit all deliverables to EPA in electronic form. Technical
       specifications for sampling and monitoring data and spatial data are addressed in ¶ 7.4.
       All other deliverables shall be submitted to EPA in the electronic form specified by the
       EPA Project Coordinator. If any deliverable includes maps, drawings, or other exhibits
       that are larger than 8.5” by 11”, Settling Defendants shall also provide EPA with paper
       copies of such exhibits.

 7.4   Technical Specifications

       (a)    Sampling and monitoring data should be submitted in standard regional Electronic
              Data Deliverable (“EDD”) format. The Settling Defendants should follow
              guidance outlined in the EPA Region 3 website
              https://www.epa.gov/superfund/region-3-superfund-electronic-data-submission.
              Note that EPA Region 3’s website links to a developer’s site to download the
              Electronic Data Processor, which currently states that EPA Region 3 is in the
              process of finalizing the preferred EDD format; until the EPA Region 3 format is
              finalized, the Settling Defendants should follow the guidance outlined in the EPA
              Region 2 website at https://www.epa.gov/superfund/region-2-superfund-
              electronic-data-submission. At a minimum, all electronic data deliverables are to

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                  be submitted to EPA, and made available to the State upon request, in the Staged
                  Electronic Data Deliverable (SEDD) 2a, 2b or SEDD 3 format2. The Settling
                  Defendants are responsible for ensuring the laboratory can generate a compliant
                  SEDD file. Other delivery methods may be allowed if electronic direct
                  submission presents a significant burden or as technology changes.

         (b)      Spatial data, including spatially-referenced data and geospatial data, should be
                  submitted: (1) in the ESRI File Geodatabase format; and (2) as unprojected
                  geographic coordinates in decimal degree format using North American Datum
                  1983 (“NAD83”) or World Geodetic System 1984 (WGS84) as the datum. If
                  applicable, submissions should include the collection method(s). Projected
                  coordinates may optionally be included but must be documented. Spatial data
                  should be accompanied by metadata, and such metadata should be compliant with
                  the Federal Geographic Data Committee (“FGDC”) Content Standard for Digital
                  Geospatial Metadata and its EPA profile, the EPA Geospatial Metadata Technical
                  Specification. An add-on metadata editor for ESRI software, the EPA Metadata
                  Editor (“EME”), complies with these FGDC and EPA metadata requirements and
                  is available at https://edg.epa.gov/EME/.

         (c)      Each file must include an attribute name for each site unit or sub-unit submitted.
                  Consult https://www.epa.gov/geospatial/geospatial-policies-and-standards for any
                  further available guidance on attribute identification and naming.

         (d)      Spatial data submitted by Settling Defendants does not, and is not intended to,
                  define the boundaries of the Site.

 7.5     Certification. All deliverables that require compliance with this paragraph must be
         signed by the Settling Defendants’ Project Coordinator, or other responsible official of
         Settling Defendants, and must contain the following statement:

                  I certify under penalty of perjury that this document and all attachments
                  were prepared under my direction or supervision in accordance with a
                  system designed to assure that qualified personnel properly gather and
                  evaluate the information submitted. Based on my inquiry of the person or
                  persons who manage the system, or those persons directly responsible for
                  gathering the information, the information submitted is, to the best of my
                  knowledge and belief, true, accurate, and complete. I have no personal
                  knowledge that the information submitted is other than true, accurate, and
                  complete. I am aware that there are significant penalties for submitting
                  false information, including the possibility of fine and imprisonment for
                  knowing violations.




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  For more information on Staged Electronic Data Deliverables, refer to https://www.epa.gov/clp/staged-electronic-
 data-deliverable-sedd.



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 7.6   Approval of Deliverables

       (a)    Initial Submissions

              (1)     After review of any deliverable that is required to be submitted for EPA
                      approval under the Decree or the SOW, EPA shall: (i) approve, in whole
                      or in part, the submission; (ii) approve the submission upon specified
                      conditions; (iii) disapprove, in whole or in part, the submission; or (iv) any
                      combination of the foregoing.

              (2)     EPA also may modify the initial submission to cure deficiencies in the
                      submission if: (i) EPA determines that disapproving the submission and
                      awaiting a resubmission would cause substantial disruption to the Work;
                      or (ii) previous submission(s) have been disapproved due to material
                      defects and the deficiencies in the initial submission under consideration
                      indicate a bad faith lack of effort to submit an acceptable deliverable.

       (b)    Resubmissions. Upon receipt of a notice of disapproval under ¶ 7.6(a) (Initial
              Submissions), or if required by a notice of approval upon specified conditions
              under ¶ 7.6(a), Settling Defendants shall, within 30 days or such longer time as
              specified by EPA in such notice, correct the deficiencies and resubmit the
              deliverable for approval. After review of the resubmitted deliverable, EPA may:
              (1) approve, in whole or in part, the resubmission; (2) approve the resubmission
              upon specified conditions; (3) modify the resubmission; (4) disapprove, in whole
              or in part, the resubmission, requiring Settling Defendants to correct the
              deficiencies; or (5) any combination of the foregoing.

       (c)    Implementation. Upon approval, approval upon conditions, or modification by
              EPA under ¶ 7.6(a) (Initial Submissions) or ¶ 7.6(b) (Resubmissions), of any
              deliverable, or any portion thereof: (1) such deliverable, or portion thereof, will be
              incorporated into and enforceable under the Decree; and (2) Settling Defendants
              shall take any action required by such deliverable, or portion thereof. The
              implementation of any non-deficient portion of a deliverable submitted or
              resubmitted under ¶ 7.6(a) or ¶ 7.6(b) does not relieve Settling Defendants of any
              liability for stipulated penalties under Section XIII (Stipulated Penalties) of the
              Decree.

       (d)    If: (1) an initially submitted deliverable contains a material defect and the
              conditions are met for modifying the deliverable under ¶ 7.6(a)(2); or (2) a
              resubmitted deliverable contains a material defect; then the material defect
              constitutes a lack of compliance for purposes of this Paragraph.

 7.7   Supporting Deliverables. Settling Defendants shall submit each of the following
       supporting deliverables for EPA approval, except as specifically provided. Settling
       Defendants shall develop the deliverables in accordance with all applicable regulations,
       guidances, and policies (see Section 10 (References)). Settling Defendants shall update



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       each of these supporting deliverables as necessary or appropriate during the course of the
       Work, and/or as requested by EPA.

       (a)    Health and Safety Plan (“HASP”). The HASP describes all activities to be
              performed to protect on site personnel and area residents from physical, chemical,
              and all other hazards posed by the Work. Settling Defendants shall develop the
              HASP in accordance with EPA’s Emergency Responder Health and Safety
              Manual and Occupational Safety and Health Administration (“OSHA”)
              requirements under 29 C.F.R. §§ 1910 and 1926. The HASP should cover
              Remedial Design activities and should be, as appropriate, updated to cover
              activities during the Remedial Action and updated to cover activities after
              Remedial Action completion. EPA does not approve the HASP but will review it
              to ensure that all necessary elements are included and that the plan provides for
              the protection of human health and the environment.

       (b)    Emergency Response Plan (“ERP”). The ERP must describe procedures to be
              used in the event of an accident or emergency at the Site (for example, power
              outages, water impoundment failure, treatment plant failure, slope failure, etc.).
              The ERP must include:

              (1)     Name of the person or entity responsible for responding in the event of an
                      emergency incident;

              (2)     Plan and date(s) for meeting(s) with the local community, including local,
                      State, and federal agencies involved in the cleanup, as well as local
                      emergency squads and hospitals;

              (3)     Spill Prevention, Control, and Countermeasures (“SPCC”) Plan (if
                      applicable), consistent with the regulations under 40 C.F.R. part 112,
                      describing measures to prevent, and contingency plans for, spills and
                      discharges;

              (4)     Notification activities in accordance with ¶ 5.5(b) (Release Reporting) in
                      the event of a release of hazardous substances requiring reporting under
                      CERCLA § 103 or EPCRA § 304; and

              (5)     A description of all necessary actions to ensure compliance with ¶ 5.5 of
                      the SOW in the event of an occurrence during the performance of the
                      Work that causes or threatens a release of Waste Material from the Site
                      that constitutes an emergency or may present an immediate threat to
                      public health or welfare or the environment.

       (c)    Field Sampling Plan (“FSP”). The FSP addresses all sample collection
              activities. The FSP must be written so that a field sampling team unfamiliar with
              the project would be able to gather the samples and field information required.
              Settling Defendants shall develop the FSP in accordance with Guidance for
              Conducting Remedial Investigations and Feasibility Studies, EPA/540/G 89/004
              (Oct. 1988).

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       (d)   Quality Assurance Project Plan (“QAPP”). The QAPP must include a detailed
             explanation of Settling Defendants’ quality assurance, quality control, and chain
             of custody procedures for all treatability, design, compliance, and monitoring
             samples. Settling Defendants shall develop the QAPP in accordance with EPA
             Directive CIO 2105.1 (Environmental Information Quality Policy, 2021), the
             most recent version of Quality Management Systems for Environmental
             Information and Technology Programs – Requirements with Guidance for Use,
             ASQ/ANSI E-4 (Feb. 2014, and Guidance for Quality Assurance Project Plans,
             EPA QA/G-5, EPA Office of Environmental Information (Dec. 2002). Settling
             Defendants shall collect, produce, and evaluate all environmental information at
             the Site in accordance with the approved QAPP.

       (e)   Site Wide Monitoring Plan (“SWMP”). The purpose of the SWMP is to obtain
             baseline information regarding the extent of contamination in affected media at
             the Site; to obtain information, through short- and long- term monitoring, about
             the movement of and changes in contamination throughout the Site, before and
             during implementation of the Remedial Action; to obtain information regarding
             contamination levels to determine whether Performance Standards are achieved;
             and to obtain information to determine whether to perform additional actions,
             including further Site monitoring. The SWMP must include:

             (1)    Description of the environmental media to be monitored;

             (2)    Description of the data collection parameters, including existing and
                    proposed monitoring devices and locations, schedule and frequency of
                    monitoring, analytical parameters to be monitored, and analytical methods
                    employed;

             (3)    Description of how performance data will be analyzed, interpreted, and
                    reported, and/or other Site-related requirements;

             (4)    Description of verification sampling procedures;

             (5)    Description of deliverables that will be generated in connection with
                    monitoring, including sampling schedules, laboratory records, monitoring
                    reports, and monthly and annual reports to EPA and State agencies;

             (6)    Description of proposed additional monitoring and data collection actions
                    (such as increases in frequency of monitoring, and/or installation of
                    additional monitoring devices in the affected areas) in the event that
                    results from monitoring devices indicate changed conditions (such as
                    higher than expected concentrations of the contaminants of concern or
                    groundwater contaminant plume movement);

             (7)    A plan to promptly provide to EPA any unvalidated sampling data from
                    Community Areas as defined in ¶ 7.7(f) affected by the remedy that
                    exceed removal management levels or three times remedial cleanup levels,
                    whichever is lower; and

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             (8)    A plan to expedite sampling and analysis in Community Areas as defined
                    in ¶ 7.7(f) affected by the remedy (particularly in situations where EPA
                    determines that unvalidated sampling data indicates substantial
                    exceedances of cleanup standards), including procedures for expedited
                    analysis, validation, and communication of sampling results to affected
                    communities.

       (f)   Community Impact Mitigation Plan (“CIMP”). The CIMP describes all
             activities including any to address concerns of disadvantaged communities to be
             performed: (1) to reduce and manage the impacts from remedy implementation
             (e.g., air emissions, traffic, noise, odor, temporary or permanent relocation) to
             residential areas, schools, playgrounds, healthcare facilities, or recreational or
             impacted public areas (“Community Areas”) from and during remedy
             implementation, (2) to conduct monitoring in Community Areas of impacts from
             remedy implementation, (3) to expeditiously communicate validated remedy
             implementation monitoring data, (4) to make adjustments during remedy
             implementation in order to further reduce and manage impacts from remedy
             implementation to affected Community Areas, (5) to expeditiously restore
             community resources damaged during remediation such as roads and culverts, and
             (6) to mitigate the economic effects that the Remedial Action will have on the
             community by structuring remediation contracts to allow more local business
             participation where practicable. The CIMP should contain information about
             impacts to Community Areas that is sufficient to assist EPA’s Project Coordinator
             in performing the evaluations recommended under the Superfund Community
             Involvement Handbook, OLEM 9230.0-51 (March 2020), pp. 53-56.

       (g)   Construction Quality Assurance Plan (“CQAP”) and Construction Quality
             Control Plan (“CQCP”). The purpose of the CQAP is to describe planned and
             systemic activities that provide confidence that the Remedial Action construction
             will satisfy all plans, specifications, and related requirements, including quality
             objectives. The purpose of the CQCP is to describe the activities to verify that
             Remedial Action construction has satisfied all plans, specifications, and related
             requirements, including quality objectives. The CQAP/CQCP (“CQA/CP”) must:

             (1)    Identify, and describe the responsibilities of, the organizations and
                    personnel implementing the CQA/CP;

             (2)    Describe the Performance Standards required to be met to achieve
                    Completion of the Remedial Action;

             (3)    Describe the activities to be performed: (i) to provide confidence that
                    Performance Standards will be met; and (ii) to determine whether
                    Performance Standards have been met;

             (4)    Describe verification activities, such as inspections, sampling, testing,
                    monitoring, and production controls, under the CQA/CP;



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             (5)   Describe industry standards and technical specifications used in
                   implementing the CQA/CP;

             (6)   Describe procedures for tracking construction deficiencies from
                   identification through corrective action;

             (7)   Describe procedures for documenting all CQA/CP activities; and

             (8)   Describe procedures for retention of documents and for final storage of
                   documents.

       (h)   Transportation and Off-Site Disposal Plan (“TODP”). The TODP describes
             plans to ensure compliance with ¶ 5.6 (Off-Site Shipments). The TODP must
             include:

             (1)   Proposed times and routes for off-site shipment of Waste Material;

             (2)   Identification of communities, including underserved communities
                   referred to in Executive Order 14008, § 222(b) (Feb. 1, 2021), affected by
                   shipment of Waste Material; and

             (3)   Description of plans to minimize impacts (e.g., noise, traffic, dust, odors)
                   on affected communities.

       (i)   O&M Plan. The O&M Plan describes the requirements for inspecting, operating,
             and maintaining the Remedial Action. Settling Defendants shall develop the
             O&M Plan in accordance with Guidance for Management of Superfund Remedies
             in Post Construction, OLEM 9200.3-105 (Feb. 2017). The O&M Plan must
             include the following additional requirements:

             (1)   Description of Performance Standards required to be met to implement the
                   Record of Decision;

             (2)   Description of activities to be performed: (i) to provide confidence that
                   Performance Standards will be met; and (ii) to determine whether
                   Performance Standards have been met;

             (3)   O&M Reporting. Description of records and reports that will be
                   generated during O&M, such as daily operating logs, laboratory records,
                   records of operating costs, reports regarding emergencies, personnel and
                   maintenance records, monitoring reports, and monthly and annual reports
                   to EPA and State agencies;

             (4)   Description of corrective action in case of systems failure, including:
                   (i) alternative procedures to prevent the release or threatened release of
                   Waste Material which may endanger public health and the environment or
                   may cause a failure to achieve Performance Standards; (ii) analysis of
                   vulnerability and additional resource requirements should a failure occur;


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                     (iii) notification and reporting requirements should O&M systems fail or
                     be in danger of imminent failure; and (iv) community notification
                     requirements; and

              (5)    Description of corrective action to be implemented in the event that
                     Performance Standards are not achieved; and a schedule for implementing
                     these corrective actions.

       (j)    O&M Manual. The O&M Manual serves as a guide to the purpose and function
              of the equipment and systems that make up the remedy. Settling Defendants shall
              develop the O&M Manual in accordance with Guidance for Management of
              Superfund Remedies in Post Construction, OLEM 9200.3-105 (Feb. 2017) and
              shall submit to EPA 14 days prior to Final Inspection.

                                  8.       SCHEDULES

 8.1   Applicability and Revisions. All deliverables and tasks required under this SOW must
       be submitted or completed by the deadlines or within the time durations listed in the
       Remedial Design and Remedial Action Schedules set forth below. Settling Defendants
       may submit proposed revised Remedial Design Schedules or Remedial Action Schedules
       for EPA approval. Upon EPA’s approval, the revised Remedial Design and/or Remedial
       Action Schedules supersede the Remedial Design and Remedial Action Schedules set
       forth below, and any previously-approved Remedial Design and/or Remedial Action
       Schedules.




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 8.2   Remedial Design Schedule

       (a)      For Final Remedial Elements
        Description of
                                    ¶ Ref.      Deadline
        Deliverable, Task
   1    TAP                         2.3(c)      30 days after EPA request
        Designate TAP
   2                               2.3(c)(7)    30 days after EPA request
        Coordinator
                                                60 days after EPA’s Authorization to Proceed
   3    RDWP                          4.1
                                                regarding Supervising Contractor (¶ 3.3(c))
                                                60 days after EPA Authorization to Proceed
   4    ICIAP                         4.2
                                                regarding Supervising Contractor (¶ 3.3(c))
        Treatability Study Work                 60 days after Approval of Remedial Design
   5                                4.4(b)
        Plan                                    Work Plan
        Treatability Study                      60 days after receipt of treatability study data
   6                                4.4(c)
        Evaluation Report                       results
        Initial (50%) Remedial        4.5       45 days after submission of Treatability Study
   7
        Design                                  Evaluation Report
        Pre-final (95%) Remedial                45 days after EPA comments on
   8                                  4.6
        Design                                  Initial Remedial Design
        Final (100%) Remedial                   30 days after EPA comments on Pre-
   9                                  4.7
        Design                                  final Remedial Design




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        (b)     For Interim Remedial Elements


         Description of
                                        ¶ Ref.     Deadline
         Deliverable, Task
   1     Data Gap Assessment                       60 days after CD Lodging
         Submit Desktop                            60 days after EPA approves Data Gap
   2
         Engineering Evaluation                    Assessment
         Bench-Scale Treatability                  30 days after EPA Approves Desktop
   3                                    4.4(b)
         Workplan                                  Engineering Evaluation
         Bench-Scale Treatability                  180 days after Bench-Scale Treatability Work
   4                                    4.4(c)
         Study                                     Plan approval
         Field-Scale Pilot                         60 days after approval of Bench-Scale
   5
         Workplan                                  Treatability Study
                                                   12 months after Field-Scale Pilot Workplan
   6     Field-Scale Pilot Study
                                                   approval
                                                   60 days after Field-Scale Pilot Study
   7     RDWP
                                                   Approval
         Initial (50%) Remedial
   8                                      4.5      45 days after approval of RDWP
         Design
         Pre-Final (95%)                           45 days after EPA comments on
   9                                      4.6
         Remedial Design                           Initial Remedial Design
         Final (100%) Remedial                     30 days after EPA comments on Pre-
   10                                     4.7
         Design                                    final Remedial Design

 Note 1: EPA shall review the deliverables above and notify the Settling Defendants whether each
 deliverable is approved within 30 days after its respective submittal. If the deliverable is not
 approved within 30 days, subsequent deadlines shall be extended by the time required for EPA
 approval in-excess of 30 days.
 Note 2: As discussed in Section 1.3, if the field-scale pilot study confirms that the water quality
 standard of 0.14 micrograms per liter at the end-of-pipe and the 0.012 micrograms per liter at the
 boundary of the mixing zone can be attained during the compliance period, the use of a mixing
 zone will be incorporated into the Final Remedial Design. The mixing zone period shall not
 exceed 5 years after Completion of Construction, and the compliance period and the mixing zone
 period together shall not exceed 10 years and 3 months from the date of the lodging of the
 Consent Decree, except if the mixing zone period is extended.




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 8.3    Remedial Action Schedule

 (a)    For Final Remedial Elements
         Description of
                                        ¶ Ref.    Deadline
         Deliverable / Task
                                                  60 days after EPA Notice of
         Award Remedial Action
   1                                              Authorization to Proceed with Remedial
         contract
                                                  Action
                                                  45 days after EPA Notice of
   2     RAWP                             5.1     Authorization to Proceed with Remedial
                                                  Action
                                                  30 days after EPA notice of authorization
   3     Designate IQAT                   5.2
                                                  to proceed with Remedial Action
   4     Pre-Construction Conference     5.3(a)   14 days after Approval of RAWP
   5     Start of Construction                    30 days after Approval of RAWP
   6     Completion of Construction               Per RA schedule developed in RD
         Inspection of Constructed
   7                                     5.7(b)   30 days after completion of construction
         Remedy
         Commence to Implement
   8                                      4.2     60 days after completion of construction
         ICIAP
                                                  60 days after inspection of construction
   9     Remedial Action Report          5.7(d)
                                                  remedy
   10    Monitoring Report               5.8(a)   Per 5.8(a)
   11    Work Completion Report         5.10(b)   Per 5.10(b)
                                                  Five years after Start of Remedial Action
   12    Periodic Review Support Plan     5.9
                                                  Construction




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        (b)     For Interim Remedial Elements
         Description of
                                            ¶ Ref.     Deadline
         Deliverable / Task
                                                       60 days after EPA Notice of
         Award Remedial Action
   1                                                   Authorization to Proceed with Remedial
         contract
                                                       Action
   2     RAWP                                  5.1     45 days after RA contract awarded
                                                       30 days after EPA notice of authorization
   3     Designate IQAT                        5.2
                                                       to proceed with Remedial Action
   4     Pre-Construction Conference         5.3(a)    30 days after Approval of RAWP
   5     Start of Construction                         30 days after Approval of RAWP
   6     Completion of Construction                    Per RA schedule developed in RD
         Inspection of Constructed
   7                                         5.7(b)    30 days after completion of construction
         Remedy
                                                         60 days after inspection of construction
   8     Remedial Action Report              5.7(d)
                                                         remedy
   9      Monitoring Report                    5.8(a)    Per 5.8(a)
   10     Work Completion Report              5.10(b) Per 5.10(b)
                                                         Five years after Start of Remedial Action
   11     Periodic Review Support Plan          5.9
                                                         Construction
 Note 1: EPA shall review the deliverables above and notify the Settling Defendants whether each
 deliverable is approved within 30 days after its respective submittal. If the deliverable is not
 approved within 30 days, subsequent deadlines shall be extended by the time required for EPA
 approval in excess of 30 days.
 Note 2: As discussed in Section 1.3, if the field-scale pilot study confirms that the water quality
 standard of 0.14 micrograms per liter at the end-of-pipe and the 0.012 micrograms per liter at the
 boundary of the mixing zone can be attained during the compliance period, the use of a mixing
 zone will be incorporated into the Final Remedial Design. The mixing zone period shall not
 exceed 5 years after Completion of Construction, and the compliance period and the mixing zone
 period together shall not exceed 10 years and 3 months from the date of the lodging of the
 Consent Decree, except if the mixing zone period is extended.

                               9.      STATE PARTICIPATION

 9.1    Copies. Settling Defendants shall, at any time they send a deliverable to EPA, send a
        copy of such deliverable to the State. EPA shall, at any time it sends a notice,
        authorization, approval, disapproval, or certification to Settling Defendants, send a copy
        of such document to the State.

 9.2    Review and Comment. The State will have a reasonable opportunity for review and
        comment prior to:

        (a)     Any EPA notice to proceed under ¶ 3.3 (Procedures for Disapproval/Notice to
                Proceed);




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        (b)    Any EPA approval or disapproval under ¶ 7.6 (Approval of Deliverables) of any
               deliverables that are required to be submitted for EPA approval; and

        (c)    Any approval or disapproval of the Construction Phase under ¶ 5.7 (Remedial
               Action Construction Completion), any disapproval of, or Certification of
               Remedial Action Completion under ¶ 5.8 (Certification of Remedial Action
               Completion), and any disapproval of, or Certification of Work Completion under
               ¶ 5.10 (Certification of Work Completion).

                                   10.      REFERENCES

 10.1   The following regulations and guidance documents, among others, apply to the Work.
        Any item for which a specific URL is not provided below is available on one of the three
        EPA web pages listed in ¶ 10.2:

        (a)    A Compendium of Superfund Field Operations Methods, OSWER 9355.0-14,
               EPA/540/P-87/001a (Aug. 1987).

        (b)    CERCLA Compliance with Other Laws Manual, Part I: Interim Final,
               OSWER 9234.1-01, EPA/540/G-89/006 (Aug. 1988).

        (c)    Guidance for Conducting Remedial Investigations and Feasibility Studies,
               OSWER 9355.3-01, EPA/540/G-89/004 (Oct. 1988).

        (d)    CERCLA Compliance with Other Laws Manual, Part II, OSWER 9234.1-02,
               EPA/540/G-89/009 (Aug. 1989).

        (e)    Guidance on EPA Oversight of Remedial Designs and Remedial Actions
               Performed by Potentially Responsible Parties, OSWER 9355.5-01,
               EPA/540/G90/001 (Apr.1990).

        (f)    Guidance on Expediting Remedial Design and Remedial Actions,
               OSWER 9355.5-02, EPA/540/G-90/006 (Aug. 1990).

        (g)    Guide to Management of Investigation-Derived Wastes, OSWER 9345.3-03FS
               (Jan. 1992).

        (h)    Permits and Permit Equivalency Processes for CERCLA On-Site Response
               Actions, OSWER 9355.7-03 (Feb. 1992).

        (i)    Guidance for Conducting Treatability Studies under CERCLA, OSWER 9380.3-
               10, EPA/540/R-92/071A (Nov. 1992).

        (j)    National Oil and Hazardous Substances Pollution Contingency Plan; Final Rule,
               40 C.F.R. part 300 (Oct. 1994).

        (k)    Guidance for Scoping the Remedial Design, OSWER 9355.0-43, EPA/540/R-
               95/025 (Mar. 1995).


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       (l)   Remedial Design/Remedial Action Handbook, OSWER 9355.0-04B, EPA/540/R-
             95/059 (June 1995).

       (m)   EPA Guidance for Data Quality Assessment, Practical Methods for Data
             Analysis, QA/G-9, EPA/600/R-96/084 (July 2000).

       (n)   Comprehensive Five-year Review Guidance, OSWER 9355.7-03B-P,
             EPA/540-R-01-007 (June 2001).

       (o)   Guidance for Quality Assurance Project Plans, EPA QA/G-5, EPA Office of
             Environmental Information (Dec. 2002) https://www.epa.gov/quality/guidance-
             quality-assurance-project-plans-epa-qag-5.

       (p)   Institutional Controls: Third-Party Beneficiary Rights in Proprietary Controls,
             OECA (Apr. 2004).

       (q)   EPA Guidance on Systematic Planning Using the Data Quality Objectives
             Process, QA/G-4, EPA/240/B-06/001 (Feb. 2006).

       (r)   EPA Requirements for Quality Management Plans, QA/R-2, EPA/240/B-01/002
             (Mar. 2001, reissued May 2006).

       (s)   EPA National Geospatial Data Policy, CIO Policy Transmittal 05-002
             (Aug. 2005), https://www.epa.gov/geospatial/epa-national-geospatial-data-policy.

       (t)   Summary of Key Existing EPA CERCLA Policies for Groundwater Restoration,
             OSWER 9283.1-33 (June 2009).

       (u)   Principles for Greener Cleanups (Aug. 2009),
             https://www.epa.gov/greenercleanups/epa-principles-greener-cleanups.

       (v)   Providing Communities with Opportunities for Independent Technical Assistance
             in Superfund Settlements, Interim (Sep. 2009).]

       (w)   Close Out Procedures for National Priorities List Sites, OSWER 9320.2-22
             (May 2011).

       (x)   Groundwater Road Map: Recommended Process for Restoring Contaminated
             Groundwater at Superfund Sites, OSWER 9283.1-34 (July 2011).

       (y)   Recommended Evaluation of Institutional Controls: Supplement to the
             “Comprehensive Five-Year Review Guidance,” OSWER 9355.7-18 (Sep. 2011).

       (z)   Plan EJ 2014: Legal Tools, EPA Office of General Counsel (Dec. 2011),
             https://www.epa.gov/environmentaljustice/plan-ej-2014-legal-tools.




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       (aa)   Construction Specifications Institute’s MasterFormat 2020, available from the
              Construction Specifications Institute,
              https://www.csiresources.org/standards/masterformat.

       (bb)   Updated Superfund Response and Settlement Approach for Sites Using the
              Superfund Alternative Approach, OSWER 9200.2-125 (Sep. 2012)

       (cc)   Institutional Controls: A Guide to Planning, Implementing, Maintaining, and
              Enforcing Institutional Controls at Contaminated Sites, OSWER 9355.0-89,
              EPA/540/R-09/001 (Dec. 2012), https://semspub.epa.gov/work/HQ/175446.pdf.

       (dd)   Institutional Controls: A Guide to Preparing Institutional Controls Implementation
              and Assurance Plans at Contaminated Sites, OSWER 9200.0-77, EPA/540/R-
              09/02 (Dec. 2012), https://semspub.epa.gov/work/HQ/175449.pdf.

       (ee)   EPA’s Emergency Responder Health and Safety Manual, OSWER 9285.3-12
              (July 2005 and updates), https://www.epaosc.org/_HealthSafetyManual/manual-
              index.htm.

       (ff)   Broader Application of Remedial Design and Remedial Action Pilot Project
              Lessons Learned, OSWER 9200.2-129 (Feb. 2013).

       (gg)   Guidance for Evaluating Completion of Groundwater Restoration Remedial
              Actions, OSWER 9355.0-129 (Nov. 2013).

       (hh)   Groundwater Remedy Completion Strategy: Moving Forward with the End in
              Mind, OSWER 9200.2-144 (May 2014).

       (ii)   Quality Management Systems for Environmental Information and Technology
              Programs -- Requirements with Guidance for Use, ASQ/ANSI E-4 (February
              2014), available at https://webstore.ansi.org/.

       (jj)   Guidance for Management of Superfund Remedies in Post Construction, OLEM
              9200.3-105 (Feb. 2017), https://www.epa.gov/superfund/superfund-post-
              construction-completion.

       (kk)   Advanced Monitoring Technologies and Approaches to Support Long-Term
              Stewardship (July 20, 2018), https://www.epa.gov/enforcement/use-advanced-
              monitoring-technologies-and-approaches-support-long-term-stewardship.

       (ll)   Superfund Community Involvement Handbook, OLEM 9230.0-51 (March 2020).
              More information on Superfund community involvement is available on the
              Agency’s Superfund Community Involvement Tools and Resources web page at
              https://www.epa.gov/superfund/superfund-community-involvement-tools-and-
              resources.




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        (mm) EPA directive CIO 2105.1 (Environmental Information Quality Policy, 2021),
             https://www.epa.gov/sites/production/files/2021-
             04/documents/environmental_information_quality_policy.pdf.

        (nn)   The 2016 version: Five-Year Review Recommended Template, OLEM Directive
               9200.0-89, With Transmittal Memorandum

        (oo)   EPA, 1991. Risk Assessment Guidance for Superfund, Volume I, Part C: Risk
               Evaluation of Remedial Alternatives. Publication 9285.7-01C.

 10.2   A more complete list may be found on the following EPA web pages:

        (a)    Laws, Policy, and Guidance at https://www.epa.gov/superfund/superfund-policy-
               guidance-and-laws;

        (b)    Search Superfund Documents at https://www.epa.gov/superfund/search-
               superfund-documents; and

        (c)     Test Methods Collections at: https://www.epa.gov/measurements/collections-
                methods.
 For any regulation or guidance referenced in the Decree or SOW, the reference will be read to
 include any subsequent modification, amendment, or replacement of such regulation or guidance.
 Such modifications, amendments, or replacements apply to the Work only after Settling
 Defendants receive notification from EPA of the modification, amendment, or replacement.




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                EXHIBIT C
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                                                                                                                                                                                                                                               Groundwater Treatment Plant


                                                                                                                                                                                         Stilling Pond


                                                                                                                                                                                                                                 HANLIN
                                                                                                                                                                                                                                                   North Cell OSDF


                                                                                                                                                                                            Outfall 001
\\aro-01\prj1$\M\Mound\RI_FS\GA200457_ROD_Figures_USEPA\_GIS\MXD\Fig_01-02_SitePropLinesHanlin-Allied-Olin Site Layout.mxd; LWellborn; 10/6/2020




                                                                                                                                                                                                  South Cell OSDF




                                                                                                                                                                                                                                       1,000       500         0                   1,000 Feet
                                                                                                                                                               Area Boundary

                                                                                                                                                                                                                                                         Site Areas
                                                                                                                                                                                                                                                   Hanlin-Allied-Olin Site
                                                                                                                                                                                                                                                  Moundsville, West Virginia

                                                                                                                                                   Notes:
                                                                                                                                                   1. Olin Area sold to Caiman Eastern (Williams Partners) in 2011.
                                                                                                                                                   2. Aerial Source: ESRI, USDA FSA NAIP2016, July 2016.                                                                                        Figure
                                                                                                                                                                                                           Source: Esri, Maxar, GeoEye, Earthstar Geographics, CNES/Airbus DS, USDA, USGS, AeroGRID, IGN,
                                                                                                                                                                                                           and the GIS User Community
                                                                                                                                                                                                                                  Kennesaw, GA                      October 2020                  
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               EXHIBIT D
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                         LIST OF DEFENDANTS


    1) HONEYWELL INTERNATIONAL INC.

    2) OLIN CORPORATION
